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                              No. 2023-1805


                       United States Court of Appeals
                           for the Federal Circuit


              UNITED THERAPEUTICS CORPORATION,

                                              Appellant,

                                     v.

                  LIQUIDIA TECHNOLOGIES, INC.,

                                               Appellee.


        Appeal from the United States Patent and Trademark Office,
          Patent Trial and Appeal Board in No. IPR2021-00406


  APPELLEE’S REPLY BRIEF IN SUPPORT OF ITS MOTION TO
       EXPEDITE BRIEFING AND ORAL ARGUMENT



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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 23-1805
   Short Case Caption 8QLWHG7KHUDSHXWLFV&RUSRUDWLRQY/LTXLGLD7HFKQRORJLHV,QF
   Filing Party/Entity Liquidia Technologies, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        06/02/2023
  Date: _________________                   Signature:    /s/ Sanya Sukduang

                                            Name:         Sanya Sukduang
               Case: 23-1805          Document: 13      Page: 3       Filed: 06/02/2023



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫ ܆‬None/Not Applicable

Liquidia Technologies, Inc.                                           Liquidia Corporation




                                  ‫܆‬      Additional pages attached
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FORM 9. Certificate of Interest                                                Form 9 (p. 3)
                                                                                March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable              ‫܆‬     Additional pages attached

Sanya Sukduang, Cooley LLP Erik B. Milch, Cooley LLP Ivor R. Elrifi, Cooley LLP


Jonathan Davies, Cooley LLP Deepa Kannappan, Cooley LLP




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                       ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable              ‫܆‬     Additional pages attached
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 I.   LIQUIDIA’S PRODUCT IS SUPERIOR AND UTC’S PRODUCT IS
      INADEQUATE TO MEET PATIENT NEED

      Liquidia was the first to formulate a dry powder inhaler version of treprostinil,

to much patient and practitioner acclaim. See Ex. 13 (district court trial transcript

excerpts), 711:12-20, 717:25-718:25, 722:10-19;            Ex. 14 (Given its size, the

pulmonary arterial hypertension patient community is well-informed on the

availability of new treatments for their disease and are advocating for access to

YUTREPIATM to “‘live’ a quality life[,]” because they “have very few [drugs] and

not every one works for every patient.”); Ex. 15 (Patient testimonial putting the issue

into perspective in terms of the number of expected deaths due to pulmonary arterial

hypertension (“PAH”) that may occur during the pendency of the appeals, stating

“There are approximately 40,000 people in the U.S. with PAH. The average three-

year death rate of this disease is 21%. This means that in the three years that Yutrepia

will have been caught up in litigation, 8,400 people will die from PAH.”); Ex. 16 (a

nurse and PH Support Group Leader treating PH patients for over 20 years wants

access to YUTREPIATM for her patients “as the more treatment options available,

the more it brings HOPE to these patients that are dealing with this horrible

disease.”). Contrary to UTC’s contention, these communications from PAH patients

and caregivers demonstrate the strong public interest in obtaining access to

YUTREPIATM because of the drug’s ability to improve patient treatment, quality of

life, and convenience over existing therapies.


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      YUTREPIATM is convenient to use, patient adherence to a regiment of dosing

several times a day went up significantly, and YUTREPIATM’s formulation itself

was more effective at treating pulmonary hypertension. See, e.g., Ex. 17 (INSPIRE

Trial Poster) (clinically meaningful physical and emotional improvements in Quality

of Life (QoL) were seen when assessing in patients who either started on

YUTREPIATM (naive) or transitioned from Tyvaso®,); Ex. 18 at *9, Nicholas S.

Hill et al., INSPIRE: Safety and tolerability of inhaled Yutrepia (treprostinil) in

pulmonary arterial hypertension (PAH), 12 PULMONARY CIRCULATION

e12119 (2022) (“The favorable safety profile and patient preference ratings as well

as the exploratory efficacy analyses suggest that the profile of Yutrepia represents

an important advance in inhaled prostacyclin therapy for patients with PAH either

in the setting of transitioning from current nebulized prostacyclin therapy or the

initiation of therapy. The administration of Yutrepia with an easy-to-use dry-powder

inhaler offers clinicians an inhaled PAH therapy that may be preferred by many

patients based on its added convenience and potential to facilitate a more active

lifestyle.”).) Liquidia received FDA approval (tentative over pending litigation) for

YUTREPIATM on November 5, 2021, and was the first dry powder formulation of

treprostinil to get FDA approval.

      While Liquidia was working to get YUTREPIATM approved, UTC was busy

suing Liquidia (filing suit in summer 2020 (see ECF No. 10, Exs. 9-10)) and racing



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to develop its own product, which it launched as Tyvaso DPI (i.e., dry powder

inhaler). UTC received FDA approval for its DPI product May 2022—27 months

after Liquidia filed its NDA, 23 months after UTC filed suit against Liquidia, and 6

months after Liquidia received FDA approval.

      Since Tyvaso DPI’s market launch in June 2022, UTC has had supply chain

issues. Ex. 19 at 1 (In the first quarter of 2023, “there was a draw down of Tyvaso

nebulizer inventory, but not a draw up of Tyvaso DPI due to manufacturing

constraints . . . . [UTC] do[es]n’t expect to see a stock up of DPI until more

meaningful capacity comes online late this year or early 2024.”). YUTREPIATM

exists as an alternative but is unable to launch.

II.   ONE ATTORNEY’S CONFLICTS ARE NOT ENOUGH FOR UTC TO
      DEMONSTRATE PREJUDICE

      UTC’s opposition appears to stem from scheduling conflicts of its “principal”

counsel (ECF No. 7 at 1), issues it could have raised when Liquidia contacted UTC’s

counsel regarding an expedited motion schedule. At that time, Liquidia indicated

that it was “open to a discussion.”        See Ex. 20 (05/11/2023 Email from D.

Kannappan). Correspondence was exchanged between the parties, but it wasn’t until

7 days later that UTC indicated it would oppose. Id. (5/17/2023 Email from W.

Jackson). Even during the time-period the parties were discussing an expedited

schedule, UTC identified no prejudice or conflict. Id. Indeed, Liquidia offered to




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cooperate with UTC on deadlines that would work for their team, but UTC simply

said no. Id.

       UTC now relies on scheduling conflicts for its principal counsel, Douglas

Carsten, as a basis to oppose Liquidia’s motion. ECF No. 7 at 1; ECF No. 12 at 14-

15. But there are at least three other lawyers—all partners—who are “Counsel for

Appellant” that appear on UTC’s opposition including William Jackson, the partner

that communicated with Liquidia on this motion (see Ex. 20). See also ECF No. 7

at 1-2. No conflicts have been cited for any of these attorneys. There are also

additional UTC lawyers on the same email thread regarding this motion (see Ex. 20),

as well as dozens of other lawyers that have worked on this case across three law

firms: two firms appearing in this appeal, and one firm that worked on the underlying

’793 IPR (Foley & Lardner). In sum, UTC is not represented by one attorney. Mr.

Carsten should feel free to take vacation, but his conflicts alone cannot constitute

sufficient prejudice to UTC to deny this motion.

III.   LIQUIDIA HAS BEEN DILIGENT AND TOOK REASONABLE TIME
       TO TRY TO COME TO AN AGREEMENT WITH UTC BEFORE
       FILING THIS MOTION

       UTC faults Liquidia for not filing this motion “immediately after docketing”

(ECF No. 12 at 1), but conveniently leaves out that (1) the parties had oral argument

on the same ’793 patent within a week of the notice of docketing (ECF No. 1,

04/26/2023 Notice of Docketing; United Therapeutics Corp. v. Liquidia Techs., Inc.,



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Case Nos. 22-2217, 23-1021, Oral Arg. (May 3, 2023), available at

https://cafc.uscourts.gov/home/oral-argument/listen-to-oral-arguments/),           and

(2) Liquidia reached out to UTC the week after that argument, engaging in a good

faith, seven day, back and forth with UTC to resolve the issue without need for an

opposed and briefed motion (see Ex. 20). As stated in Liquidia’s opening brief,

Liquidia filed this motion three business days after UTC indicated its intent to

oppose.

IV.   THE TIMING OF THIS APPEAL IS DRIVEN BY UTC’S DECISIONS
      AND TRIBUNAL DECISIONS FLOWING THEREFROM

      Additionally, UTC’s allegation that “the timing of this appeal is driven by

Liquidia’s strategic decisions, not by UTC’s actions” is deliberately misleading.

ECF No. 12 at 2. Below is the full context of how this case reached appeal at this

time, as opposed to earlier, with each of UTC’s actions (and consequences thereof)

bolded.

      On July 22, 2020, UTC added the ’793 patent to the district court case after

the case had already been pending. See ECF No. 10, Ex. 10. Liquidia answered by

asserting invalidity of the ʼ793 patent as a counterclaim. See Ex. 21 at ¶¶36-43.

However, on August 26, 2020, UTC filed a motion to dismiss Liquidia’s ʼ793

patent invalidity counterclaim based on assignor estoppel.              Ex. 22.    On

November 3, 2020, the district court denied UTC’s motion to dismiss but

indicated that assignor estoppel could be raised at a later stage of the case. Ex. 23.


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      Based on UTC’s litigation strategy, Liquidia turned to the PTAB as a forum

to assess invalidity, since assignor estoppel cannot be raised in an IPR proceeding.

Arista Networks, Inc. v. Cisco Sys., Inc., 908 F.3d 792, 804 (Fed. Cir. 2018)

(“[A]ssignor estoppel has no place in IPR proceedings.”). Liquidia prepared its IPR

petition within two months, during COVID and over the holidays, and filed its ’793

IPR Petition on January 7, 2021, more than 6 months before Liquidia’s statutory

deadline to do so. See Ex. 24 (’793 IPR Pet.) at 4.

      And Liquidia was right to do so: UTC continued to assert assignor estoppel

all the way through pre-trial briefing, including it in its pre-trial statement of law

(see Ex. 25 at ¶¶136-140, 145), only to “abandon[] those arguments” (ECF No.

12 at 2) mid-trial with no notice to Liquidia other than to close its affirmative case

at trial without addressing the issue.

      While UTC contends here that Liquidia should have presented its obviousness

arguments before the district court (ECF No. 12 at 2, 7, 8), UTC pursued IPR

estoppel in the district court proceeding. Expecting the ʼ793 Final Written Decision

(“FWD”) before the district court’s decision, UTC contended in the Pre-Trial

Order that IPR estoppel would apply to the ’793 patent before issuance of the

’793 FWD. Ex. 25 at ¶146. During the pretrial conference, the district court

indicated that it would wait for the PTAB decision and apply IPR estoppel even if

Liquidia raised obviousness of the ʼ793 patent at trial. Ex. 26 (Pretrial Conference



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Transcript) at 10-11 (“I have zero interest in racing the PTAB to a decision here. . .

. [Y]ou [Liquidia] can put your case on. There’s no guarantee that I will actually

decide it. But, and to the extent you have, of course, non, you know, 112 or defenses

or something else, you can obviously put them on because the PTAB won’t decide

because they’re not barred and PTAB won’t rule on those.”).) Following the district

court’s guidance, Liquidia pursued only written description and enablement

invalidity theories with respect to the ’793 patent at trial to avoid wasting the district

court’s and parties’ time on obviousness arguments that the district court would

eventually preclude due to IPR estoppel. 35 U.S.C. § 315(e)(2).1

      Thus, far from the timing of this appeal being driven by Liquidia’s strategic

decisions, the IPR and subsequent appeal was driven by UTC’s decision to assert the

’793 patent after the district court case had started, to assert assignor estoppel

through trial (only to abandon it at trial), and to assert IPR estoppel before the ’793

FWD had even issued. Now, despite invalidating the claims of the ʼ793 patent at

the PTAB, Liquidia faces an inequitable outcome precipitated by UTC’s threat of an

unfounded assignor estoppel defense—an order staying final FDA approval of

YUTREPIATM until 2027, when the belatedly issued and already invalidated ’793

patent claims expire. ECF No. 10, Ex. 5 at ¶ 4.



1
 The district court applied IPR estoppel to the ʼ901 patent, indicating estoppel
applies to both successful and unsuccessful IPRs. Ex. 27 at 1-2.

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V.    THIS APPEAL IS NOT ROUTINE

      Liquidia is not facing the same circumstance that “all losing Hatch-Waxman

defendants face[.]” ECF No. 12 at 1. The ’793 patent has been invalidated in a

different tribunal, so the validity issues do not rise and fall with the infringement

issues in one forum (the district court), which is usually the case with Hatch-

Waxman litigation. Liquidia is in the extraordinary, and uncommon, situation of

being enjoined from obtaining final FDA approval solely based on a patent that has

been invalidated. See Fed. Cir. R. 27, Practice Notes (Motion to Expedite “is

appropriate where the normal briefing and disposition schedule may adversely affect

one of the parties, as in appeals involving preliminary or permanent injunctions . . .

.”). Because of the unique nature of this appeal, and its impact on Liquidia’s FDA

approval, expedition is warranted.

VI.   CIRCUMSTANCES HAVE CHANGED                           SINCE      EXPEDITION
      REQUESTS IN RELATED APPEALS

      UTC acknowledges that Liquidia filed a motion to expedite the district court

and ’901 appeals (which were consolidated at the time). See ECF No. 12 at 1. In

opposing Liquidia’s motion there, UTC actually argued that expedition did not make

sense there because the ’793 IPR was still making its way through the PTAB and to

this Court. Ex. 28 (Case No. 22-2217, ECF No. 14) at 3 (“Obviousness will come

up, if at all, only in a potential future appeal from the PTAB’s final written decision

on the ’793 Patent—which no party can even bring until the PTAB acts on UT’s


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 rehearing request.”). Now that the PTAB’s ʼ793 FWD is on appeal here, UTC still

 does not want to seek expedited resolution, and instead maintain the status quo,

 which includes keeping YUTREPIATM off the market. And while UTC contends

 Liquidia did not expedite briefing in appeal No. 22-2217, Liquidia did, in fact, file

 its opening brief on 10/21/2022, twenty-five days before the original 11/15/2022

 due date.

VII.   EXPEDITION IS WARRANTED HERE

       The invalid ʼ793 patent is the sole basis enjoining an FDA-approved product

 from launching for what will be well over a year without expedition. Now, the

 parties are at the last appeal—the delay of which has caused the above incongruous

 policy outcome. Liquidia seeks to shorten the schedule by just 60 days (as UTC

 itself computed, see Ex. 20) to offset this effect. Liquidia’s motion is primarily based

 on how much longer it took for the PTAB’s ’793 FWD to become appealable here

 (delayed from July 19, 2022 to February 2, 2023), because of UTC’s decision to

 unsuccessfully request rehearing and Precedential Opinion Panel (“POP”) review.

 The Federal Circuit has expressed significant frustration over the PTAB’s delay in

 deciding such rehearing requests. See, e.g., Ex. 29, Transcription of Oral Argument,

 BTG Int’l Ltd. v. Amneal Pharms. LLC, No. 2019-1147 (Fed. Cir. Mar. 14, 2019) at

 32:23-33:8 (“The Board issued all three IPRs in the final written decision in January

 of 2018. . . . I can think of [no] good reason the Board lollygagged and took 10 full



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months before it issued its—the [re]hearing decisions in December of 2018.”),

34:22-35:1 (“Wouldn’t that seem to significantly undermine Congress’ goal to have

an expeditious and fully resolved IPR proceeding within the PTO to avoid

unnecessary duplicative district court litigation?”).

       As for the merits of the PTAB’s rehearing decision, UTC conveniently wants

the Court to ignore that the PTAB reaffirmed its original decision. See ECF No. 10,

Ex. 3; cf. ECF No. 12 at 8, 10-11. The context is substantive, thus Liquidia did not

provide detail in its Motion, but as this Court will see in the parties’ full merits

briefing, the PTAB twice rejected UTC’s argument that two abstracts presented to

thousands of conference attendees, published in well-known journals that were

indexed and catalogued in libraries worldwide, and cited by others in the field, were

not publicly available. The PTAB’s rehearing decision did nothing but strengthen

the factual underpinnings leading to the PTAB’s decision that the two abstracts

qualify as prior art.

       While the law allows UTC to continue to exhaust all possible avenues or

reconsideration, rehearing and appeals, this Court has the discretion to curtail that

extended period of time by expediting briefing. Liquidia respectfully asks the Court

to do so here. The fact remains that the ’793 patent has been invalid since July 19,

2022, and is still invalid now. Liquidia asks this Court to use the system levers

within its control to minimize the harmful policy effects of an invalid patent keeping



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a life-saving drug off the market: Liquidia asks that the Court grant its motion to

expedite.



Dated: June 2, 2023                   Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      The foregoing filing complies with the type-volume limitation of Federal Rule

of Appellate Procedure 27(d) and 32(a) and has been prepared using a

proportionally-spaced typeface and includes 2,495 words.



Dated: June 2, 2023                          /s/ Sanya Sukduang
                                             Sanya Sukduang
                                             Cooley LLP

                                             Counsel for Appellee
                                             Liquidia Technologies, Inc.




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                             LIST OF EXHIBITS2

     Ex. 1       Liquidia Techs., Inc. v. United Therapeutics Corp., IPR2021-
                 00406, Paper 78, Final Written Decision (P.T.A.B. Jul. 19, 2022)

     Ex. 2       Liquidia Techs., Inc. v. United Therapeutics Corp., IPR2021-
                 00406, Paper 81, POP Review Denial (P.T.A.B. Oct. 26, 2022)

     Ex. 3       Liquidia Techs., Inc. v. United Therapeutics Corp., IPR2021-
                 00406, Paper 82, Rehearing Denial (P.T.A.B. Feb. 2, 2023)

     Ex. 4       United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
                 ECF No. 433, Trial Opinion (D. Del. Aug. 31, 2022)

     Ex. 5       United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
                 ECF No. 436, Final Judgment (D. Del. Sept. 9, 2022)

     Ex. 6       Tentative Approval Letter for New Drug Application No. 213005
                 (Nov. 5, 2021)

     Ex. 7       Liquidia Techs., Inc. v. United Therapeutics Corp., IPR2020-
                 00770, Paper 45, Final Written Decision (P.T.A.B. Oct. 8, 2021)

     Ex. 8       United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
                 ECF No. 278, Stipulation of Partial Judgment of Non-
                 Infringement and Order (D. Del. Jan. 3, 2022)

     Ex. 9       United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
                 ECF No. 1, Complaint (D. Del. June 4, 2020)

     Ex. 10      United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
                 ECF No. 16, First Amended Complaint (D. Del. July 22, 2020)

     Ex. 11      United Therapeutics Corp. v. Liquidia Techs., Inc., Nos. 22-2217,
                 23-1021, ECF No. 21, Liquidia’s Opening Brief (Fed. Cir. Oct.
                 21, 2022)



2
 Exhibits 1-12 were filed with Liquidia’s Motion to Expedite Briefing and Oral
Argument (ECF No. 10).
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Ex. 12     United Therapeutics Corp. v. Liquidia Techs., Inc., No. 22-
           2217,23-1021, ECF No. 32, Liquidia’s Reply Brief (Fed. Cir.
           Feb. 1, 2023)

Ex. 13     United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
           ECF No. 404, Bench Trial Transcript, Vol. III (D. Del. March 30,
           2022) (excerpted)

Ex. 14     Patient Testimonial on YUTREPIATM, dated Sep. 8, 2022, filed
           in United Therapeutics Corp. v. Liquidia Techs., Inc. (D. Del.),
           No. 20-755, ECF No. 439, Ex. Y

Ex. 15     Patient Testimonial on YUTREPIATM, dated Sep. 9, 2022, filed
           in United Therapeutics Corp. v. Liquidia Techs., Inc. (D. Del.),
           No. 20-755, ECF No. 439, Ex. Q

Ex. 16     Medical Provider (Registered Nurse) Testimonial on
           YUTREPIATM, dated Sep. 8, 2022, filed in United Therapeutics
           Corp. v. Liquidia Techs., Inc. (D. Del.), No. 20-755, ECF No.
           439, Ex. Z

Ex. 17     Quality of Life (QoL) in Patients Receiving an Inhaled Dry
           Powder Treprostinil (LIQ861) in the INSPIRE Study Trial Poster,
           filed in United Therapeutics Corp. v. Liquidia Techs., Inc. (D.
           Del.), No. 20-755, ECF No. 439, Ex. P

Ex. 18     Nicholas S. Hill et al., INSPIRE: Safety and tolerability of
           inhaled Yutrepia (treprostinil) in pulmonary arterial
           hypertension (PAH), 12 PULMONARY CIRCULATION
           e12119 (2022), filed in United Therapeutics Corp. v. Liquidia
           Techs., Inc. (D. Del.), No. 20-755, ECF No. 439, Ex. O

Ex. 19     Morgan Stanley Research Report, United Therapeutics Corp.,
           Takeaways from management meeting (May 25, 2023)

Ex. 20     May 2023 email correspondence between counsel

Ex. 21     United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
           ECF No. 23, Defendant Liquidia Technologies Inc.’s Answer to
           First Amended Complaint and Counterclaims (D. Del. Aug. 5,
           2020)
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Ex. 22     United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
           ECF No. 29, Plaintiff United Therapeutics Corporation’s
           Opening Brief in Support of its Motion to Dismiss Defendant’s
           Counterclaims (D. Del. Aug. 26, 2020)

Ex. 23     United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
           ECF No. 45, Memorandum Order (D. Del. Nov. 3, 2020)

Ex. 24     Liquidia Technologies, Inc. v. United Therapeutics Corp.,
           IPR2021-00406, Paper 2, Petition for Inter Partes Review
           (P.T.A.B. Jan. 7, 2021)

Ex. 25     United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
           ECF No. 365, Plaintiff United Therapeutics Corporation’s
           Statement of Contested Issues of Law (D. Del. Mar. 18, 2022)
           (excerpted)

Ex. 26     United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
           ECF No. 367, Pretrial Conference (D. Del. Mar. 4, 2022)
           (excerpted)

Ex. 27     United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-755,
           ECF No. 335, Order on Motions in Limine (D. Del. Mar. 4, 2022)

Ex. 28     United Therapeutics Corp. v. Liquidia Techs., Inc., Nos. 22-2217,
           23-1021, ECF No. 14, United Therapeutics Corp.’s Opposition to
           Liquidia’s Motion to Expedite Briefing and Oral Argument (Fed.
           Cir. Oct. 4, 2022)

Ex. 29     Transcription of Oral Argument, BTG Int’l Ltd. v. Amneal
           Pharms. LLC, No. 2019-1147 (Fed. Cir. Mar. 14, 2019)
           (excerpted)
Case: 23-1805   Document: 13   Page: 20   Filed: 06/02/2023




            EXHIBIT 13
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 1                   IN THE UNITED STATES DISTRICT COURT

 2                      FOR THE DISTRICT OF DELAWARE

 3

 4   UNITED THERAPEUTICS CORPORATION, )
                                      )
 5                    Plaintiff,      )
                                      ) C.A. No. 20-755-RGA-JLH
 6   v.                               )
                                      ) Volume III
 7   LIQUIDIA TECHNOLOGIES, INC.,     )
                                      )
 8                    Defendant.      )

 9
                                            J. Caleb Boggs Courthouse
10                                          844 North King Street
                                            Wilmington, Delaware
11
                                            Wednesday, March 30, 2022
12                                          8:30 a.m.
                                            Bench Trial
13

14   BEFORE:   THE HONORABLE RICHARD G. ANDREWS, U.S.D.C.J.

15   APPEARANCES:

16

17                   MORRIS NICHOLS ARSHT & TUNNELL LLP
                     BY: JACK B. BLUMENFELD, ESQUIRE
18                   BY: MICHAEL J. FLYNN, ESQUIRE
                     BY: SARAH E. SIMONETTI, ESQUIRE
19
                                -and-
20
                     GOODWIN PROCTER LLP
21                   BY: WILLIAM C. JACKSON, ESQUIRE
                     BY: HUIYA WU, ESQUIRE
22                   BY: IAN B. BROOKS, ESQUIRE
                     BY: JOEL BROUSSARD, ESQUIRE
23                   BY: HARRISON GUNN, ESQUIRE
                     BY: ERIC LEVI, ESQUIRE
24

25                              - and -
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                                                                                621


            1   APPEARANCES CONTINUED:

            2

            3                   McDERMOTT WILL & EMERY LLP
                                BY: DOUGLAS H. CARSTEN, ESQUIRE
            4                   BY: ADAM W. BURROWBRIDGE, ESQUIRE
                                BY: KATHERINE PAPPAS, ESQUIRE
            5                   BY: TIMOTHY M. DUNKER, ESQUIRE
                                BY: ART P. DYKHUIS, ESQUIRE
            6                   BY: AMY MAHAN, ESQUIRE
                                BY: JOSHUA REVILLA, ESQUIRE
            7                   BY: JIAXIAO ZHANG, ESQUIRE

            8                                          For the Plaintiffs

            9

           10                   SHAW   KELLER LLP
                                BY:    KAREN E. KELLER, ESQUIRE
           11                   BY:    NATHAN R. HOESCHEN, ESQUIRE
                                BY:    EMILY DiBENEDETTO, ESQUIRE
           12
                                             -and-
           13
                                COOLEY LLP
           14                   BY: SANYA SUKDUANG, ESQUIRE
                                BY: ADAM M. PIVOVAR, ESQUIRE
           15                   BY: BRITTANY CAZAKOFF, ESQUIRE
                                BY: DOUGLAS W. CHEEK, ESQUIRE
           16                   BY: JONATHAN R. DAVIES, ESQUIRE
                                BY: IVOR ELRIFI, ESQUIRE
           17                   BY: DEEPA KANNAPPAN, ESQUIRE
                                BY: LAUREN KRICKL, ESQUIRE
           18                   BY: ERIK B. MILCH, ESQUIRE
                                BY: KYUNG TAECK MINN, ESQUIRE
           19
08:07:47                                               For the Defendants
08:07:47 20
08:07:47                               ***   PROCEEDINGS    ***
08:29:49 21


08:29:50 22                     DEPUTY CLERK:    All rise.    Court is now in

08:29:51 23     session.   The Honorable Richard G. Andrews presiding.

08:29:56 24                     THE COURT:    All right.     Good morning, please be

08:29:58 25     seated.
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                                                                                   711
                                            Hill - Cross

10:44:05   1   efficacy data to support the approval of Liquidia's product;

10:44:08   2   right?

10:44:09   3   A.       Yes.

10:44:10   4   Q.       And you agree that TYVASO and Liquidia and LIQ861

10:44:15   5   involve the same molecule; right?

10:44:17   6   A.       They do.

10:44:18   7   Q.       And you would agree with me that you would be

10:44:19   8   surprised if LIQ 861 was significantly different than TYVASO

10:44:24   9   for the reduction of pulmonary arterial pressure and

10:44:27 10    pulmonary vascular resistance; correct?

10:44:30 11    A.       I would expect them to be quite similar, yeah.

10:44:32 12    Q.       And you would agree -- and you would agree that you

10:44:36 13    would be surprise by any differences because the molecules

10:44:39 14    are the same; right?

10:44:40 15    A.       Well, the formulation is quite different.              And TYVASO

10:44:48 16    was liquid.     The LIQ861 is a dry-powder, and exactly how

10:44:55 17    they behave might be different.         This is why this INSPIRE

10:45:00 18    study was done, to establish, especially for the FDA, that

10:45:06 19    there was safety and tolerability of this different

10:45:08 20    formulation.

10:45:09 21    Q.       Would you agree with me that you would be surprised

10:45:11 22    -- strike that.

10:45:12 23                    You agree with me that you would be surprised by

10:45:15 24    any differences because the molecules of TYVASO and LIQ are

10:45:20 25    the same; right?
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                                                                             716
                                         Gonda - Direct

10:50:05   1   Q.     Can we bring up DDX 5.1, please.         Is this a

10:50:08   2   demonstrative you prepared?

10:50:09   3   A.     Yes, it is.

10:50:10   4   Q.     So can you just describe what, generally, this

10:50:13   5   demonstrative shows?

10:50:14   6   A.     So, this demonstrative shows the four fundamental

10:50:20   7   types of inhaled devices and formulations.          So the first one

10:50:27   8   is a nebulizer, which is a device that they take

10:50:33   9   formulations of the typically water which are placed in the

10:50:37 10    nebulizer, and the power to form the aerosol comes from

10:50:40 11    compressed air from a compressed air cylinder composition

10:50:46 12    similar to the one on the top.      And that energy is used to

10:50:50 13    disperse the liquid into fine droplets and push the aerosol

10:50:55 14    out of the device into the mouthpiece from which the patient

10:50:58 15    is inhaling.

10:51:01 16    Q.     And with respect to the nebulizer and the liquid

10:51:05 17    formulation on the top left, does TYVASO use a nebulizer?

10:51:09 18    A.     Yes, TYVASO uses a nebulizer.

10:51:13 19    Q.     On the top right, you have pressurized metered dose

10:51:17 20    inhaler.   What kind of -- can you describe how a pressurized

10:51:20 21    metered dose inhaler works?

10:51:22 22    A.     Sure.    So the energy to get the aerosol out of the

10:51:28 23    device and disperse it into small particles comes from the

10:51:32 24    compressed air which comes liquified inside the cartridge

10:51:36 25    that goes into the device and then the patient actuates this
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                                                                                717
                                           Gonda - Direct

10:51:41   1   device.    The compressed air will push the dose out of the

10:51:45   2   device, and it will also disperse the energy, disperse it

10:51:50   3   into small droplets that will be inhaled by the patient.

10:51:53   4   Q.        What type of formulation is used within a pressurized

10:51:57   5   metered-dose inhaler.

10:51:58   6   A.        It's a liquid.

10:51:59   7   Q.        Okay.   And is the, like, a typical asthma inhaler an

10:52:03   8   example of when a pressurized metered-dose inhaler would be?

10:52:07   9   A.        Yes, a typical asthma inhaler would be a typical

10:52:11 10    device.

10:52:11 11    Q.        On the bottom left side, have you a soft mist

10:52:14 12    inhaler.    Could you describe how that soft mist inhaler

10:52:16 13    works.

10:52:17 14    A.        Yes, I can.   So the energy for that device comes

10:52:22 15    typically from a compressed spring, and when the patient

10:52:27 16    actuates the device, the spring will expand to push a liquid

10:52:31 17    typically against a water solution of the drug.             So through

10:52:35 18    some form orifice which will form the fine droplets, and the

10:52:39 19    energy of that will also push the aerosol out of the device

10:52:42 20    and then the patient will inhale the aerosol.

10:52:45 21    Q.        And what type of formulation is used within a soft

10:52:49 22    mist inhaler?

10:52:50 23    A.        It is typically an aqueous solution.         It's a liquid

10:52:54 24    of the drug in water.

10:52:57 25    Q.        And then the last device on the right-hand side, I
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10:53:00   1   know we've talked about that earlier, but in the case, what

10:53:03   2   is a dry-powder inhaler and how does that work?

10:53:06   3   A.     So, a dry-powder inhaler is quite different in at

10:53:11   4   least two respects from the other inhalers.             It uses a

10:53:16   5   dry-powder formulation.          It doesn't use the liquids.        And

10:53:19   6   also the energy to get the dose out of the inhaler and

10:53:24   7   disperse it into small particles that would be suitable for

10:53:28   8   inhalation comes from the patient's ability to -- from the

10:53:30   9   energy of the patients, the muscles in the lungs to create

10:53:35 10    the air flow that will then get the dose out of the device

10:53:39 11    and disperse into particles of small size.

10:53:42 12    Q.     And again, what type of formulation was used in the

10:53:45 13    dry-powder inhaler?

10:53:46 14    A.     It's a dry-powder formulation.

10:53:49 15    Q.     Could you use a liquid in a dry-powder formulation?

10:53:52 16                    Excuse me.   Can you use a liquid formulation in

10:53:54 17    a dry-powder inhaler?

10:53:55 18    A.     No, you could not.

10:53:57 19    Q.     Could you use a powder formulation in a nebulizer?

10:54:00 20    A.     No, you could not.

10:54:03 21    Q.     Would it be fair to say that the dry-powder inhaler

10:54:06 22    is the only inhalation device that uses a patient's own

10:54:11 23    power to bring the drug into the body?

10:54:14 24    A.     As far as I know, it's the only device of that

10:54:20 25    nature, yes.
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10:54:20   1   Q.     Are you aware of any papers that discuss the energy

10:54:26   2   needed by a patient in order to use a dry-powder inhaler?

10:54:30   3   A.     Yes, I am.

10:54:32   4   Q.     Could we turn to DTX 268, please.           And is this one of

10:54:39   5   the publications you considered?

10:54:40   6   A.     Yes, it is.

10:54:42   7   Q.     And what's the title of the publication?

10:54:43   8   A.     It's called Medical Aerosol Inhalers:             Past, present

10:54:47   9   and future.

10:54:48 10    Q.     Okay.     And who is the author?

10:54:50 11    A.     It's A. R. Clark.

10:54:52 12    Q.     And is he is one of UT's expert in his this case?

10:54:55 13    A.     Yes, I believe he is.

10:54:57 14    Q.     And when was this paper published?

10:54:59 15    A.     It was published in 1995.

10:55:02 16                    MR. SUKDUANG:    Your Honor I'd like to enter DTX

10:55:04 17    268 into evidence.

10:55:05 18                    MR. CARSTEN:     No objection, Your Honor.

10:55:06 19                    THE COURT:   Admitted without objection.

10:55:07 20                    (DTX Exhibit No. 268 was admitted into

10:55:08 21    evidence.)

10:55:08 22    BY MR. SUKDUANG:

10:55:08 23    Q.     Could we -- could you turn to Page 12 of 19 for me.

10:55:11 24    And there's a paragraph that begins paradoxically.

10:55:15 25                    Did you consider this paragraph?
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                                                                             720
                                         Gonda - Direct

10:55:17   1   A.     Yes.

10:55:17   2   Q.     And what does this passage state?

10:55:20   3   A.     This was a very profound statement that the world

10:55:24   4   follows.   And it says in 1995, all currently available DPIs

10:55:29   5   utilize the energy in the patient's inspiration as the power

10:55:32   6   source for aerosol generation.      Therefore, their delivery

10:55:36   7   and dispersion performance and, hence, the dose which they

10:55:40   8   deliver to the lung is affected by a patient's ability to

10:55:43   9   inhale at a suitably high flow rate.

10:55:46 10    Q.     What does "inspiration" mean in the context of

10:55:50 11    dry-powder inhalers?

10:55:51 12    A.     Well, as I mentioned, in dry-powder inhalers, it's

10:55:55 13    the patient's inspiration is the inhalation through the

10:56:00 14    dry-powder inhaler.    It's the ability to have adequate

10:56:03 15    inspiration for it at any specific volume that is required

10:56:07 16    for dry-powder inhalers.

10:56:09 17    Q.     So, in laymen's terms what is this -- what is the

10:56:12 18    Clark paper telling persons of ordinary skill in the art to

10:56:16 19    do with respect to dry-powder inhalers?

10:56:19 20    A.     Well, it says that you have to pick the device that

10:56:23 21    your target population of patients, in this case, pulmonary

10:56:27 22    arterial hypertension patients, a device and test it whether

10:56:30 23    the patients can use it, how can they use it, and whether

10:56:33 24    it's going to be the right combination of the patient's

10:56:36 25    disease with the device and the formulation to get the
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10:56:40   1   adequate dose and the adequate particle size distribution.

10:56:45   2                    Sorry.   If you can't follow me.       Just --

10:56:48   3   Q.        She'll let you know.      She's fantastic.       If she can't

10:56:50   4   get you, she'll -- she'll tell you, Dr. Gonda.

10:56:54   5                    So let's turn to the drugs -- the drug that's

10:56:57   6   involved in this case, Treprostinil.           Are you aware that

10:56:59   7   Treprostinil is used in Liquidia's LIQ861 product?

10:57:03   8   A.        Yes, I am.

10:57:05   9   Q.        Are there any inhaled Treprostinil products in the

10:57:08 10    market?     Inhaled Treprostinil products --

10:57:11 11    A.        Yes.

10:57:11 12    Q.        -- in the market?

10:57:12 13                     And what is that?

10:57:12 14    A.        It's TYVASO.

10:57:14 15    Q.        And who markets TYVASO?

10:57:16 16    A.        United Therapeutics.

10:57:20 17    Q.        Today, are there any dry-powder formulations of

10:57:23 18    Treprostinil on the market?

10:57:25 19    A.        No.

10:57:27 20    Q.        Are you are you aware of any companies that are

10:57:29 21    develop developing dry-powder inhalers?

10:57:31 22    A.        Yes, I am.

10:57:34 23    Q.        And what are those companies?

10:57:35 24    A.        They are Mannkind and Liquidia, Mannkind and

10:57:39 25    Liquidia.
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10:57:39   1   Q.     With respect to Mannkind, how do they make their

10:57:43   2   dry-powder formulation of Treprostinil?

10:57:45   3   A.     So, MannKind takes Treprostinil and they use the

10:57:51   4   proprietary technology -- in fact, two proprietary

10:57:54   5   technologies.    They use the Technosphere, which a propriety

10:57:59   6   technology, to make particles suitable for inhalation.           And

10:58:04   7   then they use the proprietary inhaler called Dreamboat which

10:58:08   8   they combine together to form the product of Treprostinil

10:58:13   9   dry-powder inhaler.

10:58:15 10    Q.     Does Liquidia use a proprietary process to make their

10:58:19 11    dry-powder formulation?

10:58:20 12    A.     Yes.     Liquidia uses a proprietary process which is

10:58:25 13    called PRINT, and in the process, they take Treprostinil.

10:58:29 14    They take a particular type of salt, Treprostinil salt.

10:58:33 15    They dissolve the salt.         They form the solution of that salt

10:58:38 16    with other materials.      Then they power that solution into

10:58:43 17    the PRINT technology equipment.         They evaporate the solution

10:58:46 18    to form the small particles, and then they dry the particles

10:58:50 19    and store them in appropriate conditions.

10:58:54 20    Q.     Do you understand that Liquidia filed a new drug

10:58:56 21    application for their Liquidia LIQ861 product?

10:59:00 22    A.     Yes, I do.

10:59:01 23    Q.     Have you seen a press release relating to that?

10:59:04 24    A.     Yes, I have.

10:59:05 25    Q.     Can we bring up DTX 369, please.
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                                                                     889


 1                   I hereby certify the foregoing is a true and

 2   accurate transcript from my stenographic notes in the

 3   proceeding.          /s/ Heather M. Triozzi
                          Certified Merit and Real-Time Reporter
 4                        U.S. District Court

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            EXHIBIT 14
                     Case: 23-1805        Document: 13        Page: 33      Filed: 06/02/2023
From:ShirleyCraig<Phnomore@att.net>
Sent:Thursday,September8,20221:47PM
To:ScottMoomaw<Scott.Moomaw@liquidia.com>;ShirleyCraig<Phnomore@att.net>
Subject:Yutrepia

EXTERNALMESSAGE

TOWHOMTHISMAYCONCERN:

My name is Shirley Craig: I was diagnosed with Primary Pulmonary Hypertension secondary to Eisenmenger's
Syndrome December 1990. There were NO medications at that time to treat it so I lived on oxygen for the next 18
years until I was able to receive a heart/lung transplant.

 But after nine years, I entered a study and the medication really helped to get me to transplant. I was put on other
medications along the way as they were developed. It was scary knowing there was not much out there to help me--
and there still aren't compared to many diseases even today.

So, having a known medication-- Yutrepia--a dry powder inhaled Treprostinil that is simple, approved, and easy to
use (made by Liquidia) needs to be made available to patients now.

‘PHers’ need every medication to be able to 'live' a quality life. We have very few and not every one works for every
patient.

Respectfully,
Shirley J Craig
phnomore@att.net
832-418-1405

Houston PH Support Group Leader




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            EXHIBIT 15
                    Case: 23-1805          Document: 13         Page: 35       Filed: 06/02/2023




From: Melly Meadows <mellymeadows@aol.com>
Sent: Friday, September 9, 2022 1:28 AM
To: Scott Moomaw <Scott.Moomaw@liquidia.com>
Subject: Yutrepia for PAH

EXTERNAL MESSAGE


To Whom it may Concern,

I have Pulmonary Arterial Hypertension. I live in fear of the unknown and the harsh reality that I have a disease that
has a deadly prognosis. I don’t want to die! I want to be alive and yet I am afraid of suffocating slowly. Pause for a
moment please and really think about this … I don’t know when my breath will end.

Pulmonary Arterial Hypertension (PAH) is a disease that you can not imagine how it must feel. You can’t image what
it is like to feel like you can’t breathe! This disease is not as well understood as breast cancer or even lupus (which I
also have). This diagnosis and disease process are literally like sucking the air out of a room and leaving the patient
with no escape.

I was first diagnosed with PAH in November of 2006. I was newly married and wanted to have children. However,
when I was diagnosed with Pulmonary Arterial Hypertension, I was told that most people with this diagnosis only live
about five years. That meant I would never be a mother. I would never have a child. For five years, I stopped living
and I waited to die. Every day I wondered what my death was going to be like and how intense the suffering and pain
would be. Newer drugs and treatments were coming on the market and after five years, I was still alive! I realized
then that I had just lost five years of life because I feared death. I had to learn how to live again and how to face life
with courage. And that is what I am doing. My story is on YouTube: “Ballerina with Lupus”.

There is a new drug that is proven to help treat PAH, called Yutrepia. It is more portable than the other drugs that
are similar, and the dosing of the medication is more predictable and easier to adjust. However, this drug treatment
is being pushed to the sideline because of patent litigation. This means that lawyers are fighting over what drug is
made available and when, to people like me with a deadly disease.

Let me put this into perspective. The new drug, Yutrepia, is more convenient than the other “like” drugs and it has
the potential to treat people with PAH as well as other lung diseases. There are approximately 40,000 people in the
U.S. with PAH. The average three‐year death rate of this disease is 21%. This means that in the three years that
Yutrepia will have been caught up in litigation, 8,400 people will die from PAH. That is over eight thousand individual
people who have a story like mine who will never have been given the option or the choice of a life‐changing
medication because of bureaucracy. I respect patent laws and intellectual property. However, when it comes down
to basic life and death of people with a fatal disease, shouldn’t the right to have ALL treatment options be made
available? And shouldn’t quality of life and healthCARE take precedence over petty litigation?

On behalf of the people with PAH, our families, and our future, I implore that you please grant approval of the drug
Yutrepia. We, the patients, need treatment options because this gives us hope!

Most Sincerely,
Melly Meadows McCutcheon




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            EXHIBIT 16
                      Case: 23-1805            Document: 13          Page: 37        Filed: 06/02/2023

From:TraceyConsidine<Tracey.Considine@sphp.com>
Sent:Thursday,September8,20223:07PM
To:ScottMoomaw<Scott.Moomaw@liquidia.com>
Subject:Yutrepia

   You don't often get email from tracey.considine@sphp.com. Learn why this is important

EXTERNALMESSAGE

Hi,mynameisTraceyConsidine.IamanRegisteredNurseintheAlbany,NewYorkTriͲcityareathathasbeentreating
ptswithPHforover20years.IalsothePHSupportGroupLeaderinmyarea,andNurseLiaisonforpatients.Iwould
appreciateYutrepiagettingapproved,andbeavailableforpatients,asthemoretreatmentoptionsavailable,themoreit
bringsHOPEtothesepatientsthataredealingwiththishorribledisease.
ThankYou,
TraceyConsidine

ConfidentialityNotice:
ThiseͲmail,includinganyattachmentsisthepropertyofTrinityHealthandisintendedforthesoleuseoftheintended
recipient(s).Itmaycontaininformationthatisprivilegedandconfidential.Anyunauthorizedreview,use,disclosure,or
distributionisprohibited.Ifyouarenottheintendedrecipient,pleasedeletethismessage,andreplytothesender
regardingtheerrorinaseparateemail.




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            EXHIBIT 17
      LIQ861
                                                                                                                                                                                                                                                                       RS00 Model 8
    Dry-Powder
    Formulation
                                                                                  Quality of Life (QoL) in PAH Patients Receiving an Inhaled                                                                                                                            Dry-Powder
                                                                                   Dry Powder Treprostinil (LIQ861) in the INSPIRE Study                                                                                                                                  Inhaler
  LIQ861 particles                                                                                                                                                                                                                                                  Compact, disposable
 are 1.3 μm in size                                                                                             Martha Kingmana and Savan Patelb
                                                                                                                                                                                                                                                                     inhaler previously
                                                                      aUniversity       of Texas Southwestern Medical Center at Dallas, Dallas, TX; bLiquidia Technologies, Morrisville, NC.




                                                                                                                                                                                                                                                                                                                             Case: 23-1805
 with trefoil shape                                                                                                                                                                                                                                                 approved by the FDA
                                                                                                                                                                                                                                                                         and EMEA

Background1,3                                                                 INSPIRE Study Design1,2                                                                  Results1
• Health-related QoL is severely impaired in patients with PAH,               • The INSPIRE trial was a Phase 3, open-label, multicenter trial
  with better quality-of-life outcomes reported for patients                    (LTI-ϯϬϭͿƚŚĂƚĞŶƌŽůůĞĚƉĂƚŝĞŶƚƐǁŝƚŚW,шϭϴǇĞĂƌƐŽĨĂŐĞǁŚŽ
                                                                                                                                                                                                     All Domains From MLWHFQ Improved at Month 4
                                                                                                                                                                                                       Clinically meaningful improvement is defined as a >5 point reduction
  administered therapies that improve functional outcomes,                      transitioned to LIQ861 from nebulized treprostinil or added
  such as exercise capacity1                                                    >/YϴϲϭƚŽчϮŶŽŶ-prostacyclin oral therapies                                           Transitions (n=49)
• Liquidia has developed LIQ861, a dry-powder formulation                     • The MLWHFQ was administered at baseline, 2 months, and 4                                              Emotional Dimension                                Physical Dimension                                     Total Scorea
  of treprostinil utilizing PRINT® Technology, designed to                      months during the trial                                                                     10                                                20                                                40
  enhance deep-lung delivery and enable QID delivery of                                                                                                                                                                                                                         35




                                                                                                                                                                                                                                                                                                                             Document: 13
  doses in 2 breaths per capsule via a convenient, palm-sized                        Treatment Phase for Primary Endpoint Was Followed by                                                                                     15                                                30           35.3
                                                                                             Evaluation for Safety and Tolerability                                                      7.4                                               15.2                                 25
  dry-powder inhaler (DPI). PRINT® Technology produces drug
  particles that are precise in size, shape, and composition1                 Subjects Overview         • WHO Group I (PAH) NYHA Class II, III, and IV;                       5                                               10                                                20                             23.9
                                                                                                          EшϭϬϬ                                                                                              5                                               10.2               15
                                                                                                        • Divided into 2 groups                                                                                                 5                                               10
Minnesota Living With Heart Failure® Questionnaire3                                                                                                                                                                                                                              5
• The MLHFQ is a HRQoL questionnaire widely used by patients                  Prostanoid-Naïve          • Initiate LIQ861 26.5 μg capsule strength dose                       0                                                 0                                                0
                                                                              (PCY-Naïve)
  with HF. The MLHFQ is an instrument used                                    ч2 non-PCY oral           • Increase in 26.5 μg increments weekly to tolerance                          Baseline       Month 4                            Baseline       Month 4                            Baseline       Month 4
  to investigate HRQoL and evaluate patients’ daily lives                     PAH Rx                      and symptom relief                                                             CFB=-2.4, P<0.001                                  CFB=-5, P<0.001                                 CFB=-11.4, P<0.001
  and well-being, which cannot be obtained directly from                                                • Initiate with comparable dose of LIQ861
  clinical endpoints
                                                                              Transitions From
                                                                              Tyvaso®
                                                                                                                                                                       PCY-Naïve (n=53)
                                                                                                        • Titrate in 26.5 μg incremental doses to tolerance




                                                                                                                                                                                                                                                                                                                             Page: 39
• The MLHFQ contains questions to determine how heart failure                 Stable doses ш3 mo.         and symptom relief                                                          Emotional Dimension                                Physical Dimension                                     Total Scorea
                                                                                                                                                                             10                                               20                                                40
  affects patients’ well-being and other standard physical and                Primary Objective         • Incidence of AEs and SAEs                                                                                                                                             35
  social functions. The total score of the MLHFQ comprises                                                                                                                                                                                 17.4                                              36.6
                                                                                                                       Transitions     PCYY Naïve       Overalll                          8.2                                 15                                                30
  scores provided from two dimensions, physical and emotional                 Demographics and
                                                                              Baseline Characteristics                   (n=55)         (n=66)         (n=121)                                                                                                                  25                             27.5
• Patients respond to the MLHFQ on a scale from 0 (No) to                                                                                                                                                                                                    13.3
                                                                                                                                                                               5                                              10                                                20
  5 (Very Much) whether heart failure prevented them from                              Sex               Female        47 (85.5%)     52 (78.8%) 99 (81.8%)                                                  5.3
                                                                                                                                                                                                                                                                                15
  living as they wanted during the past 4 weeks across a range                     Age (years)         Mean ± SD        53 ± 14.1      55 ± 14.6      54 ± 14.3                                                                 5                                               10
  of situations                                                                                                                                                                                                                                                                  5




                                                                                                                                                                                                                                                                                                                             Filed: 06/02/2023
                                                                                  BMI (kg/m²)          Mean ± SD       30.07 ± 7.9 29.31 ± 7.8 29.66 ± 7.8
• The 21 situations surveyed include:                                                                                                                                          0                                                0                                                0
                                                                               NYHA Functional           Class II      43 (78.2%)     37 (56.1%) 80 (66.1%)
       ௅ Causing swelling in your ankles or legs                                                                                                                                       Baseline       Month 4                           Baseline       Month 4                            Baseline       Month 4
                                                                               Class at Screening        Class III     12 (21.8%)     29 (43.9%) 41 (33.9%)                              CFB=-2.9, P<0.001                                 CFB=-4.1, P=0.003                                 CFB=-9.1, P<0.001
       ௅ Making you sit or lie down to rest during the day
       ௅ Making your relating to or doing things with your friends               PAH Duration
                                                                                                       Mean ± SD        7.25 ± 5.1     4.71 ± 5.1    5.87 ± 5.2
         or family difficult                                                       (years)                                                                              • By month 4 (N=104), there was a clinically                          Conclusions1
• Scan the QR code below to view the MLHFQ                                                             PDE5i alone      8 (14.5%)     12 (18.2%) 20 (16.5%)               meaningful improvementa in the total MLWHFQ
                                                                                                       PGI2 alone       6 (10.9%)          -     6 (10.9%)                score for all patients from baseline. Overall, the                                        Clinical Implication
                                                                                                        ERA alone       5 (9.1%)       3 (4.5%)   8 (6.6%)                mean score of 36.0 at baseline decreased to 25.8
 ©1986 Regents of the University of Minnesota, All rights                         PAH Therapy
 reserved. Do not copy or reproduce without permission.                           at Screening
                                                                                                        sGC alone           -           2 (3%)     2 (3%)               • At month 4 (N=104), both physical and emotional                            Treatment with LIQ861 may help
 LIVING WITH HEART FAILURE® is a registered trademark of                                                                                                                  dimension scores decreased from 16.2 to 11.8 and                        improve HRQoL, which has been shown
 the Regents of the University of Minnesota.                                                          ERA + PDE5i      35 (63.6%)     46 (69.7%) 81 (66.9%)               7.8 to 5.2, respectively. Improvements were seen
                                                                                                       ERA + sGC        1 (1.8%)       3 (4.5%)   4 (3.3%)                in both the Transition and Naïve patient groups
                                                                                                                                                                                                                                                      to be impaired in PAH patients.
                                          aClinicallymeaningful improvement is defined as a >5 point reduction.
                                          1. Liquidia Technologies. Data on file. 2. Investigation of the Safety and Pharmacology of Dry Powder Inhalation of Treprostinil (INSPIRE). ClinicalTrials.gov. Accessed May 6, 2022. https://clinicaltrials.gov/ct2/show/NCT03399604. 3. Rector TS, Kubo SH, Cohn JN. Patients'
                                          Self-Assessment of Their Congestive Heart Failure: Content, Reliability and Validity of a New Measure, the Minnesota Living With Heart Failure Questionnaire. Heart Failure 1987;3:198-209
                                          AE, adverse event; BMI, body mass index; CFB, change from baseline; EMEA, European Medicines Evolution Agency; ERA, endothelin-1 receptor antagonist; FDA, Food and Drug Administration; HF, heart failure; HRQoL, health-related quality of life; MLWHFQ, Minnesota
                                          Living With Heart Failure Questionnaire; NYHA, New York Heart Association; PAH, pulmonary arterial hypertension; PCY naïve, prostanoid naïve; PDE5i, phosphodiesterase 5 inhibitor; PGI2, prostaglandin; PK, pharmacokinetic; QID, 4 times daily; Rx, prescription; SAE,
                                          serious adverse event; SD, standard deviation; sGC, soluble guanylate cyclase. © 2022 Liquidia Technologies, Inc. Tyvaso® is a registered trademark of United Therapeutics Corp.
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RESEARCH ARTICLE




INSPIRE: Safety and tolerability of inhaled Yutrepia
(treprostinil) in pulmonary arterial hypertension (PAH)

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                  4                   1               5

Savan Patel7 | Ashley Galloway7                                   | Todd M. Bull5 | the INSPIRE study
investigators

1
Tufts Medical Center, Boston,
Massachusetts, USA                                  Abstract
2
 Arizona Pulmonary Specialists, Ltd,                The INSPIRE trial was a Phase 3, open‐label, multicenter trial (LTI‐301) that
Phoenix, Arizona, USA                               enrolled patients with pulmonary arterial hypertension (PAH) ≥ 18 years of
3
Weill Cornell Medicine, Houston
                                                    age who transitioned to Yutrepia from nebulized treprostinil (Transition) or
Methodist Lung Center, Houston
Methodist, Houston, Texas, USA                      added Yutrepia to prostacyclin naïve patients on ≤2 nonprostacyclin oral
4
 The Ohio State University, Columbus,               therapies. The objectives of the trial were to evaluate the safety and tolerability
Ohio, USA                                           of Yutrepia (dry‐powder formulation of treprostinil) in patients with PAH. The
5
 Anschutz Medical Campus, University of             primary safety measures were the incidence of adverse events (AEs) and
Colorado Denver, Aurora, Colorado, USA
6
                                                    serious AEs. Exploratory efficacy measures were also assessed during the trial.
Mayo Clinic, Rochester, Minnesota, USA
7                                                   Transition patients initiated Yutrepia at a dose comparable to their nebulized
Liquidia Technologies, Morrisville,
North Carolina, USA                                 treprostinil dose while prostacyclin naïve patients received 26.5‐mcg QID;
                                                    up‐titration in 26.5‐mcg increments was permitted for both groups. A total of
Correspondence
Nicholas S. Hill, Tufts Medical Center,
                                                    121 patients were enrolled, of which 29 patients discontinued from the trial,
Pulmonary Division, 800 Washington St,              with the most common reason being AEs. Eighty percent of the Transition
Suite 257, Boston, MA 02111, USA.                   group and 96% of the prostacyclin naïve group titrated to a dose ≥79.5 mcg
Email: nhill@tuftsmedicalcenter.org
                                                    QID at Day 360, respectively, with one patient achieving a dose of 212‐mcg
Funding information                                 QID. The most common AEs were cough, headache, upper respiratory tract
Liquidia Technologies INC.                          infection, dyspnea, dizziness, throat irritation, diarrhea, chest discomfort,
                                                    fatigue, and nasopharyngitis. Most of these events were considered treatment‐
                                                    related though mild to moderate in severity and expected for prostacyclin
                                                    therapy administered by inhalation. In an evaluation of exploratory efficacy
                                                    measures, patients remained stable or improved over the 1 year of treatment.
                                                    Yutrepia was found to be a convenient, safe, and well‐tolerated inhaled
                                                    prostacyclin treatment option for PAH patients.

                                                    KEYWORDS
                                                    combination therapy, dry‐powder inhaler, prostacyclin, pulmonary arterial hypertension,
                                                    treprostinil



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INTRODUCTION                                                     treprostinil or were receiving no more than two approved
                                                                 background oral PAH therapies. Patients enrolled in the
Prostacyclin therapy has long been considered a mainstay         INSPIRE trial were allowed to roll over into an open‐
for the treatment of mid‐ and late‐stage PAH by virtue of        label safety extension trial at varying times, (LTI‐302)
its vasodilatory, antiproliferative, antithrombotic, and anti‐   between 8 and 18 months after enrolling into the LTI‐301
inflammatory effects.1–3 Currently, approved prostacyclins       trial. This publication reports outcomes through the end
can be delivered by the intravenous,4,5 subcutaneous,4           of the INSPIRE Phase 3 study with a mean treatment
inhaled,6,7 or oral8 routes. However, many patients fail to      duration of approximately 1 year.
receive optimal prostacyclin therapy to help them achieve
and maintain low‐risk status.9–11 Only 34.1% of patients
enrolled in the REVEAL Registry™ received a prostacyclin         MET H OD S
analog,12 and only 56% of patients with a PAH‐related
death were treated with intravenous prostacyclin before          Study design
death.9
     Clinical challenges associated with up‐titration, side      The INSPIRE study was a Phase 3, open‐label,
effects, and the risks associated with different routes of       multicenter trial (https://clinicaltrials.gov/ct2/show/
administration are factors that limit the use of prostacyclin    NCT03399604; NCT03399604) conducted to support
therapy.13–18 The inhaled route offers an advantage of direct    the New Drug Application submission for Yutrepia
delivery into the airways and nearby tissues and cells           under Section 505(b)(2) of the Federal Food, Drug,
thereby increasing local drug concentrations and minimiz-        and Cosmetic Act. The study protocol was approved
ing systemic toxicity.19–22 However, inhaled prostacyclins       by the institutional review board or ethics committee
are subject to dosing errors due to variations in breathing      at each participating site. Liquidia Technologies
patterns, have up‐titration ceilings that may limit efficacy,    performed data collection, management, and analysis
and require frequent administration using multiple breaths       according to a prespecified statistical analysis plan.
delivered by cumbersome devices, all of which impose a           Additional details about the study design can be
significant burden on patients and may contribute to             found in the Supporting Information.
treatment nonadherence or discontinuation.23
     Yutrepia is a novel, inhaled, dry‐powder formulation
of treprostinil designed using the proprietary PRINT®            Study eligibility
technology that enables the development of drug particles
that are precise and uniform in size (1.5 microns), shape        Eligible patients were ≥18 years of age, World Health
(trefoil), and composition (Supporting Information:              Organization (WHO) Group 1 PAH classified and receiving
Figure S1). Particles are engineered to achieve optimal          stable doses for ≥3 months of nebulized treprostinil
aerosolization and deposition in the lungs. Yutrepia is          (Transition) or two or fewer nonprostacyclin oral therapies
dosed four times daily (QID), delivering treprostinil doses      (Prostacyclin naïve). Additional inclusion criteria were
in 2 breaths per capsule via a convenient, dry‐powder            New York Heart Association (NYHA) Functional Class
inhaler, the Plastiape RS00 Model 8 device (Supporting           (FC) II–IV, 6‐min walk distance (6MWD) ≥ 150 m, forced
Information: Figure S2). A Phase 1 trial (LTI‐102)               expiratory volume in 1 s (FEV1) ≥ 60%, and FEV1/forced
demonstrated that 79.5 mcg dose of Yutrepia resulted in          vital capacity ratio ≥60%. Key exclusion criteria were WHO
similar systemic exposure to treprostinil as seen with nine      Groups 2–5 pulmonary hypertension or Group 1 porto-
breaths of treprostinil inhalation solution.24 The absorp-       pulmonary hypertension or PAH associated with schisto-
tion of Yutrepia is rapid, with a median Tmax of 0.18 to         somiasis; current treatment with an oral or intravenous
0.31 h across all dose levels studied (LTI‐101). Treprostinil    prostacyclin analog or agonist; hemodynamically signifi-
plasma concentrations dropped below the limit of                 cant left‐sided heart disease; and recent initiation of a new
quantification in cohorts with doses up to 75 mcg by             PAH therapy. All patients provided written informed
3.5 h postdose, and by 6 h postdose in higher dose cohorts       consent. For full Inclusion and Exclusion Criteria, please
(up to 150 mcg).25                                               see Supporting Information.
     The present Phase 3 trial (Investigation of the Safety
and Pharmacology of Dry Powder Inhalation of Trepros-
tinil [INSPIRE], LTI‐301) was performed in consultation          Study procedures
with the Federal Drug Administration to evaluate the
safety and tolerability of Yutrepia in PAH patients who          Patients in both groups were trained on the proper use of
were transitioned from a stable dose of nebulized                the RS00 Model 8 dry‐powder inhaler device (Plastiape
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S.p.A.) and received their first dose of Yutrepia at the       RESULTS
baseline visit. The initial dose for Transition patients was
comparable to their prescribed dose of nebulized               Patients
treprostinil; 85% of patients had been prescribed nine
or more breaths of nebulized treprostinil (Supporting          Of the 146 patients screened, 121 were enrolled, including
Information: Table S1). Prostacyclin naïve patients            55 in the Transition group and 66 in the prostacyclin naïve
initiated Yutrepia at 26.5 mcg QID. Up‐titration in            group (Supporting Information: Figure S3). The most
26.5‐mcg weekly increments to a maximum of 212 mcg             common reasons for screen failures were due to stopping
QID in both groups was allowed.                                of enrollment due to achieving enrollment goal, not
    Scheduled visits occurred at screening, baseline (Day      meeting PFT criteria, or use of unallowed PAH medica-
1), Week 2, Month 1, Month 2, Month 4, Month 8, and            tion. The Month 12 visit was completed by 69 patients
Month 12. Adverse events (AEs) and serious adverse             (29 Transition and 40 prostacyclin naïve) with another 25
events (SAEs) were recorded throughout the treatment           patients reaching 12 months in the open‐label extension
period, with continued assessment every 4 months               trial LTI‐302 (whose data are not included in the INSPIRE
beginning at Month 6 until study termination. Among            trial analyses). Twenty‐nine patients discontinued from
patients who discontinued study participation, follow‐up       the trial (9 Transition and 20 prostacyclin naïve) with the
visits occurred 4 months following the last dose of            most common reason being AEs (13 patients). This
Yutrepia or until all AEs resolved or stabilized.              discontinuation rate of 24% is favorable, considering
                                                               discontinuation rates of another inhaled treprostinil study
                                                               (41%) and of inhaled iloprost (43%).27,28
Outcome measures                                                   Most patients were female, white, and non‐Hispanic
                                                               with a mean age of 54.2 years (Table 1). Approximately,
The primary safety measures evaluated the incidence of         two‐thirds of the patients were in NYHA FC II with the
AEs and SAEs during the trial. Additional safety               rest in NYHA FC III. A higher percentage of patients in
measures evaluated included the incidence of drug/             the prostacyclin naïve group was NYHA FC III (43.9%)
device‐related AEs, clinical laboratory results, physical      compared with 21.8% of patients in the Transition group.
exam findings, and vital signs. Exploratory efficacy           The mean duration of disease was 4.6 years for prostacy-
measures assessed during the trial included changes            clin naïve and 7.2 years for the Transition. Most patients
from baseline in 6MWD, NYHA FC, N‐terminal pro‐B‐              were receiving background PAH medications with a
type natriuretic peptide (NT‐proBNP) levels, Minnesota         majority of patients in the Transition and prostacyclin
Living with Heart Failure Questionnaire (MLHFQ)                naïve groups receiving a combination of endothelin
score, and risk assessment based on 6MWD, FC, and              receptor antagonist and phosphodiesterase 5 inhibitor or
NT‐proBNP.26 An additional exploratory endpoint for            soluble guanylate cyclase agonists (Table 1).
Transition only was patient‐reported satisfaction with
the Yutrepia inhaler device compared to the nebulized
treprostinil inhalation system.                                Exposure

                                                               The initial Yutrepia treprostinil dose for the Transition
Statistical analysis                                           group was based on the nebulized treprostinil dose before
                                                               study enrollment and ranged from 26.5 to 106 mcg QID.
A target of 130 patients was planned to be enrolled to         The starting dose was 26.5 mcg QID for patients in the
ensure that at least 100 patients completed 2 months of        prostacyclin naïve group. Dose increases were permitted
therapy for assessment of safety endpoints. The primary        in 26.5‐mcg increments weekly to symptom relief in both
safety measure analysis summarized the frequency,              cohorts. A total of 43 (78%) Transition group patients up‐
severity, and relatedness of all AEs and SAEs. The study       titrated from their starting dose. At Day 60, 78% of the
was not designed or powered to evaluate a specific             Transition group achieved a dose ≥79.5 mcg QID and
efficacy‐related hypothesis. Change from baseline in           71% of patients in the prostacyclin naïve group up
6MWD, NYHA FC, NT‐proBNP, MLHFQ total and                      titrated to ≥79.5 mcg QID. For those patients on study at
dimension scores, and PAH risk score was summarized            Day 360 this dose, this was achieved by 80% of the
for each group at visits where these tests were                Transition group and 96% of the prostacyclin naïve
performed. Satisfaction with the Yutrepia device was           group. The distribution of doses in the Transition and
also summarized.                                               prostacyclin naïve groups is shown in Figure 1.
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TABLE 1            Baseline demographic and clinical characteristics: Safety populationa
                                                                    Transitions                       Prostacyclin                    Overall
                                                                    (n = 55)                          naïve (n = 66)                  (N = 121)
    Sex, n (%)
      Female                                                          47 (85.5)                        52 (78.8)                       99 (81.8)
      Male                                                             8 (14.5)                        14 (21.2)                       22 (18.2)
    Race, n (%)
      American Indian or Alaska Native                                 1 (1.8)                           2 (3.0)                         3 (2.5)
      Asian                                                            3 (5.5)                           3 (4.5)                         6 (5.0)
      Black                                                           11 (20.0)                          4 (6.1)                       15 (12.4)
      White                                                           40 (72.7)                        56 (84.8)                       96 (79.3)
      Other                                                            0 (0.0)                           1 (1.5)                         1 (0.8)
    Ethnicity, n (%)
      Hispanic                                                        10 (18.2)                        10 (15.2)                       20 (16.5)
      Non‐Hispanic                                                    45 (81.8)                        56 (84.8)                      101 (83.5)
    Age (years)
      Mean (SD)                                                     53.3 (14.1)                       55.0 (14.6)                     54.2 (14.3)
    BMI (kg/m2)
      Mean (SD)                                                     29.5 (7.5)                        29.3 (7.8)                      29.4 (7.6)
    NYHA Functional Class, n (%)
      II                                                              43 (78.2)                        37 (56.1)                       80 (66.1)
      III                                                             12 (21.8)                        29 (43.9)                       41 (33.9)
    PAH duration (years)
      Mean (SD)                                                      7.2 (5.1)                         4.6 (5.1)                       5.8 (5.2)
      Median                                                         5.7                               2.2                             4.4
    Oral PAH Therapy at screening, n (%)
      None                                                             5 (9.1)                           0                               5 (4.1)
      One (ERA, PDE‐5i, or sGC)                                       13 (23.6)                        17 (25.8)                       30 (24.8)
      Two (ERA + PDE‐5i, or sGC)                                      37 (67.3)                        49 (74.2)                       86 (71.1)
Abbreviations: BMI, body mass index; ERA, endothelin receptor antagonist; NYHA, New York Heart Association; PAH, pulmonary arterial hypertension;
PDE5i, phosphodiesterase 5 inhibitor; PGI2, prostacyclin; SD, standard deviation; sGC, soluble guanylate cyclase.
a
    The safety population included all patients who received at least 1 dose of Yutrepia.




Safety endpoints                                                                    study, with 11 (9.1%) of these patient events considered
                                                                                    related to treatment. Overall, 21 (17.4%) patients experienced
Overall, 99.2% of patients experienced at least 1 AE, and                           SAEs. Twenty‐eight SAEs resulted in hospitalization
79.3% experienced at least 1 AE related to treatment                                due to accidents, comorbidities, and viral infections (e.g.,
(Table 2). Most patients reported mild (n = 34; 28.1%) or                           COVID‐19). None of the SAEs were considered treatment‐
moderate (n = 58; 47.9%) AEs, with 28 (23.1%) patients                              related by the medical monitor. No SAEs lead to death in
having experienced severe AEs. A higher percentage of                               this study.
prostacyclin naïve than Transition patients experienced a                               The most common AEs considered to be related to
treatment‐related AE (84.8% vs. 72.7%), and an AE that                              Yutrepia and reported in ≥10% of patients are shown in
was considered moderate or severe (81.8% vs. 58.1%).                                Table 3. With few exceptions, AEs were mild or moderate
Fifteen (12.4%) patients experienced AEs that resulted in                           in severity in both patient groups. Four patients
the withdrawal of Yutrepia or discontinuation from the                              experienced a severe treatment‐related AE during the
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F I G U R E 1 Mean Yutrepia dose. All patients in the Transition group initiated Yutrepia at a dose comparable to their nebulized
treprostinil dose. All patients in the prostacyclin naïve group initiated Yutrepia at 26.5 mcg QID. Naïve, prostacyclin naïve.




TABLE 2            Overall summary of TEAEsa: Safety populationb
                                                                                       Transitions                  Prostacyclin     Overall
                                                                                       (n = 55)                     Naïve (n = 66)   (N = 121)
    TEAE, n (%)
      Any                                                                              54 (98.2)                    66 (100)         120 (99.2)
      Any treatment‐related                                                            40 (72.7)                    56 (84.8)         96 (79.3)
      Any resulting in study drug withdrawal or study                                   4 (7.3)                     11 (16.7)         15 (12.4)
        discontinuation
      Treatment‐related resulting in study drug withdrawal or                           3 (5.5)                      8 (12.1)         11 (9.1)
         study discontinuation
    Any TEAE by maximum severity, n (%)
      Mild                                                                             22 (40.0)                    12 (18.2)         34 (28.1)
      Moderate                                                                         24 (43.6)                    34 (51.5)         58 (48.0)
      Severe                                                                            8 (14.5)                    20 (30.3)         28 (23.1)
    Treatment‐related TEAE by maximum severity, n (%)
      Mild                                                                             30 (54.5)                    28 (42.4)         58 (47.9)
      Moderate                                                                          9 (16.4)                    25 (37.9)         34 (28.1)
      Severe                                                                            1 (1.8)                      3 (4.5)           4 (3.3)
    SAE, n (%)
      Any                                                                               6 (10.9)                    15 (22.7)         21 (17.4)
      Treatment‐related assessed by medical monitor                                     0 (0.0)                      0 (0.0)           0 (0.0)
      SAE resulting in death, n (%)                                                     0 (0.0)                      0 (0.0)           0 (0.0)
Abbreviations: SAE, serious adverse event; TEAE, treatment‐emergent adverse event.
a
    Treatment‐related TEAEs were those considered as at least possibly related to study drug by the Investigator.
b
    The safety population included all patients who received at least 1 dose of Yutrepia.
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TABLE 3            Treatment‐Emergent Adverse Eventsa reported for ≥10% of all patients: Safety population
                             Transitions (n = 55)                        Prostacyclin naïve (n = 66)          Overall (N = 121)
                                            No. and severity of                         No. and severity of               No. and severity of
                             No. (%)        events                       No. (%)        events                No. (%)     events
                             patients       Mild      Mod       Sev.     patients       Mild    Mod    Sev.   patients    Mild     Mod      Sev.
    Cough                    23 (41.8)      20        3         0        41 (62.1)      31      10     0      64 (52.9)   51       13       0
    Headache                 18 (32.7)      14        4         0        23 (34.8)      15      6      2      41 (33.9)   29       10       2
    Upper respiratory        10 (18.2)        9       1         0        18 (27.3)      13      5      0      28 (23.1)   22        6       0
      tract infection
    Dyspnea                  13 (23.6)        5       7         1        10 (15.2)          5   4      1      23 (19.0)   10       11       2
    Dizziness                10 (18.2)        9       1         0        13 (19.7)      11      2      0      23 (19.0)   20        3       0
    Throat irritation          8 (14.5)       8       0         0        14 (21.2)      13      1      0      22 (18.2)   21        1       0
    Diarrhea                   7 (12.7)       5       2         0        15 (22.7)          9   6      0      22 (18.2)   14        8       0
    Chest discomfort         11 (20.0)        9       2         0         7 (10.6)          6   1      0      18 (14.9)   15        3       0
    Fatigue                    4 (7.3)        1       2         1        10 (15.2)          7   2      1      14 (11.6)    8        4       2
    Nasopharyngitis            6 (10.9)       5       1         0         6 (9.1)           5   1      0      12 (9.9)    10        2       0
    Nausea                     6 (10.9)       4       1         1         6 (9.1)           4   1      1      12 (9.9)     8        2       2
Abbreviations: Mod, moderate; no, number; sev, severe; TEAE, treatment‐emergent adverse event.
a
    The safety population included all patients who received at least 1 dose of Yutrepia.



trial. One patient in the Transition group experienced a                                 The mean changes from baseline in the NT‐proBNP
decrease in oxygen saturation on Day 36 that was not                                 were variable during 12 months in the Transition group
serious and did not result in study drug discontinuation.                            with no clear trends over time, whereas there appeared to
One patient in the prostacyclin naïve group experienced                              be a progressive decline in the NT‐proBNP in the
vomiting on Day 1, and Yutrepia was discontinued. A                                  prostacyclin naïve group during the trial (Figure 3).
second patient in the prostacyclin naïve group developed                                 Overall, there was a clinically meaningful improve-
headache and nausea on Day 1, with the headache                                      ment from baseline to Month 2 and Month 4 in the
resolving after 32 days and nausea continuing for the                                MLHFQ total score, defined as a >5‐point reduction (mean
duration of therapy. A third patient in the prostacyclin                             change, −10.2 at Months 2 and 4), with decreases in both
naïve group developed oropharyngeal pain on Day 124,                                 emotional and physical dimension scores (Figure 4) and in
which continued for the duration of the therapy. Neither                             both the Transition and prostacyclin naïve groups.
of these two latter events resulted in a change in dose or                               A higher percentage of patients had two or more low
study discontinuation. There were no device‐related AEs                              risk criteria at Months 2, 4, 8, and 12, compared with
in either patient group or changes in clinical labs, vital                           baseline with a larger change occurring in the prostacy-
signs, or physical exam attributed to Yutrepia treatment.                            clin naïve group. At Month 2, the percentage of patients
                                                                                     with 2 or 3 low‐risk criteria increased from 41.6% at
                                                                                     baseline to 66.0% in the prostacyclin naïve group versus
Exploratory endpoints                                                                61.8% to 63.8% in the Transition group. At Month 12, the
                                                                                     percentage of patients meeting 2 or 3 low‐risk criteria
At baseline, the overall mean 6MWD was 401 m. Notedly,                               was 59.0% in the prostacyclin naïve group and 67.8% in
the Transition group did not deteriorate in mean 6MWD.                               the Transition group.
There was a slight increase in the walk distance during the                              Responses to the patient satisfaction survey at Week 2
trial in both groups, with larger increases evident in the                           indicated that 98.2% of patients in the Transition group
Transition group compared to the prostacyclin naïve                                  preferred or strongly preferred the RS00 Model 8 dry‐
group, especially at the Month 2 time point (Figure 2).                              powder inhaler device compared to their previously used
    The percentage of patients in FCs I and II improved                              device, the nebulized treprostinil inhalation system
compared with baseline in both the Transition and                                    (Figure 5). No patients preferred the nebulized trepros-
prostacyclin naïve groups. This improvement was observed                             tinil inhalation system, and one patient reported no
at Month 2 and maintained through Month 12 Figure (S4).                              preference. This preference was maintained in the survey
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F I G U R E 2 Mean change from baseline in 6MWD: Efficacy population*. *The efficacy population included all those who received at
least one dose and completed at least one efficacy assessment. 6MWD, 6‐min walk distance; CFB, change from baseline; Naïve, prostacyclin
naïve.




F I G U R E 3 Mean change from baseline in NT‐proBNP (ng/L): Efficacy population. The efficacy population included all those who
received at least one dose and completed at least one efficacy assessment. CFB, change from baseline; Naïve, prostacyclin naïve; NT‐proBNP,
N‐terminal pro‐B‐type natriuretic peptid.




at Month 4, with all patients preferring or strongly                    to Yutrepia with no significant safety concerns, and the
preferring the RS00 device.                                             addition of Yutrepia to background oral therapy was also
                                                                        well tolerated. Not surprisingly, the incidence of AEs was
                                                                        less on patients transitioning from nebulized treprostinil
DISCUSSION                                                              relative to those initiating treprostinil therapy. While
                                                                        nearly all patients experienced treatment‐related AEs
The present study reports the safety and tolerability of                consistent with the known side effects seen with inhaled
Yutrepia in patients with PAH. Patients receiving stable                treprostinil therapy (cough, throat irritation, and oro-
doses of nebulized treprostinil successfully transitioned               pharyngeal pain) as well as the characteristic side effect
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F I G U R E 4 Change* from baseline in Minnesota Living with Heart Failure Questionnaire scores: Efficacy population†. *A clinically
meaningful improvement from baseline was defined as a 5‐point reduction.35 †The efficacy population included all those who received at
least 1 dose and completed at least 1 efficacy assessment. CFB, change from baseline; M, month; Naïve, prostacyclin naïve.




FIGURE 5       Dry‐powder inhaler device (RS00 Model 8) satisfaction scores at Week 2 and Month 4: Transition patients


profile of the prostacyclin class, including headache,                    Since patients in the INSPIRE trial were allowed to
dizziness, diarrhea, chest discomfort, nausea, dyspnea,              transition to an open‐label safety extension trial LTI‐302, the
and flushing, these were mostly mild to moderate in                  number of patients remaining in the trial declined over time.
severity and generally did not hinder patients ability to            Of the 121 enrolled patients, 69 (29 Transition and
continue therapy and titrate to higher doses as needed.              40 prostacyclin naïve) completed Month 12, and another
Overall, 21 patients experienced SAEs with none of the               25 patients reached 12 months during the open label safety
events considered to be treatment‐related by the medical             extension trial LTI‐302. Twenty‐nine patients withdrew from
monitor. No SAEs led to death in this study. The overall             the INSPIRE trial. This level of withdrawals from a 1‐year
safety profile of Yutrepia was reassuring, with no                   trial is not unexpected considering the severity of patients'
unexpected safety concerns noted.                                    underlying disease and associated comorbidities.22,27
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    Patients treated with Yutrepia were able to increase       PAH therapies. The improvements observed in patients'
their mean inhaled treprostinil doses during the trial.        quality of life scores (over 10 points) suggest that
Eighty percent of patients in the Transition group and         clinically meaningful improvements occur when PAH
96% of those in the prostacyclin naïve group achieved          patients are switched to Yutrepia or initiate it as add‐on
a dose ≥79.5 mcg QID at Day 360, with one patient              therapy.
receiving a dose of 212 μg four times daily. This dose is
comparable to approximately 24 breaths of nebulized
treprostinil administered four times daily and suggests        Study limitations
that Yutrepia may allow patients to be titrated to effective
doses more easily than can be accomplished with current        These results must be considered within the context of
options. The clinical benefits of using higher inhaled         some study design limitations. First, this was an open‐
doses of treprostinil are supported by a real‐world            label trial, hence definitive conclusions about efficacy
effectiveness analysis which found that patients treated       cannot be made. Furthermore, the study design did not
with more than nine breaths of treprostinil inhalation         include a comparison with another inhaled prostacyclin
solution had a lower incidence of mortality and need for       such as nebulized treprostinil or iloprost. However,
parenteral prostacyclin therapy compared to those              Yutrepia is being developed under Section 505(b)(2) of
treated with nine or less breaths.29                           the Federal Food, Drug, and Cosmetic Act, which relies
    Despite the advantages of the inhaled route for            on previous research and reports that have established
delivery of PAH medications, currently approved inhaled        the safety and efficacy of nebulized treprostinil, the
prostacyclin therapies have notable limitations such as        selected reference‐listed drug, to treat PAH.
the need for multiple inhalations and cumbersome                   While the INSPIRE trials provide approximately 1
inhalation systems that require daily time and mainte-         year's safety data, data from an ongoing open‐label
nance.20,30,31 These limitations become more pronounced        extension study (LTI‐302) for patients who participated
for working individuals or those needing to be away from       in the current study and wished to continue treatment
home. Yutrepia overcomes many of these limitations             with Yutrepia will provide up to 3 years of long‐term
with an inhaled formulation that delivers an optimal           safety and clinical effectiveness information of Yutrepia
dose in two breaths in a simple, easy‐to‐use compact dry‐      in PAH (NCT03992755).36
powder device that the patient can easily conceal. In the
present trial, most patients preferred using Yutrepia ver-
sus their prior nebulized treprostinil inhalation system,      CONCLUSIONS
indicating that a more convenient, less bulky system that
requires minimal maintenance is desirable to patients.         The favorable safety profile and patient preference ratings as
A more conveniently delivered inhaled therapy such as          well as the exploratory efficacy analyses suggest that the
Yutrepia offers patients and clinicians the benefits of        profile of Yutrepia represents an important advance in
established efficacy of the drug class with a favorable        inhaled prostacyclin therapy for patients with PAH either in
tolerability profile and may lead to long‐term treatment       the setting of transitioning from current nebulized prostacy-
adherence. In some patients, a better tolerated inhaled        clin therapy or the initiation of therapy. The administration
option could be preferable, even when compared with            of Yutrepia with an easy‐to‐use dry‐powder inhaler offers
oral medications.32                                            clinicians an inhaled PAH therapy that may be preferred by
    Health‐related quality of life is severely impaired in     many patients based on its added convenience and potential
patients with PAH,33–37 with better quality‐of‐life out-       to facilitate a more active lifestyle.
comes reported for patients administered therapies that
improve functional outcomes, such as exercise capacity.        A U T H O R C O N TR I B U T I O N S
While the primary purpose of the INSPIRE trial was to          All authors contributed to the acquisition, analysis, and
assess the safety of Yutrepia treatment in PAH patients,       interpretation of data; reviewed and revised the manuscript;
analysis of the exploratory efficacy endpoints revealed        gave final approval for submission; and agreed to be
that functional and quality‐of‐life outcomes were stable       accountable for all aspects of the work in ensuring that
or modestly improved over the duration of the trial            questions related to the accuracy or integrity of any part of
following initiation of Yutrepia in patients who were          the work are appropriately investigated and resolved.
naïve to prostacyclin therapy, as well as in those who
transitioned from nebulized treprostinil. The apparent         AC KNOW LEDGM ENTS
improvements in clinical disease are noteworthy consid-        The authors would like to thank the participating patients
ering that most patients were already receiving two oral       and their families. In addition, the authors would like to
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The authors were not compensated for the development of        ing site.
the manuscript.
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lectures, presentations, speakers bureaus, manuscript
writing, and/or educational events; Liquidia, expert           REFER ENCES
testimony; Liquidia, support for attending meetings and/        1. Badlam JB, Bull TM. Steps forward in the treatment of pulmonary
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    of Cardiology (ESC) and the European Respiratory Society (ERS):      SUPPOR TING INFOR MATI ON
    endorsed by: Association for European Paediatric and Congenital      Additional supporting information can be found online
    Cardiology (AEPC), International Society for Heart and Lung          in the Supporting Information section at the end of this
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    with pulmonary arterial hypertension: the treprostinil sodium           How to cite this article: Hill NS, Feldman JP,
    inhalation used in the management of pulmonary arterial                 Sahay S, Benza RL, Preston IR, Badesch D, Frantz
    hypertension (TRIUMPH) study open‐label extension. J Heart              RP, Patel S, Galloway A, Bull TM. INSPIRE: Safety
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            EXHIBIT 19
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May 25, 2023 04:01 AM GMT

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Takeaways from management                                                           Justin H Phillips
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meeting                                                                             Robert Ruzic
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 Stock Rating                 Industry View               Price Target              Alexander Yevdokimov, Ph.D.
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Overweight                  Attractive                  $316.00                     Alexander.Yevdokimov@morganstanley.com                   +1 212 761-2167
                                                                                    Maxwell Skor
                                                                                    EQUITY ANALYST
We recently had the opportunity to meet with UTHR                                   Maxwell.Skor@morganstanley.com                           +1 212 761-4804
                                                                                    Chris Yu, J.D., Ph.D.
management including the CFO and head of IR. The discussion                         EQUITY ANALYST
                                                                                    Chris.L.Yu@morganstanley.com                             +1 212 761-2535
covered both the near and longer-term outlook, Tyvaso
                                                                                     United Therapeutics Corp ( UTHR.O, UTHR US )
ILD/DPI launch, manufacturing expansion, and capital                                Biotechnology / United States of America
allocation.                                                                         Stock Rating                                                Overweight
                                                                                    Industry View                                                 Attractive
                                                                                    Price target                                                   $316.00
At a high level UTHR expressed confidence in the strength of the business,          Shr price, close (May 23, 2023)                                $216.19
                                                                                    Mkt cap, curr (mm)                                             $10,815
including the ability to deliver on the company's 25x25 guidance. UTHR noted        52-Week Range                                           $283.09-188.81
that the majority of growth will come from Tyvaso ILD indication and they           Fiscal Year Ending               12/22 12/23e 12/24e 12/25e
continue to see an opportunity to broaden the prescriber base (majority still       ModelWare EPS ($)                15.00       17.53      13.12       18.40
academics).                                                                         Prior ModelWare EPS                  -           -          -           -
                                                                                    ($)
                                                                                    P/E                               18.5        12.3       16.5        11.7
Management reviewed 1Q dynamics, where there was a draw down of Tyvaso              EPS ($)§                         16.88       18.34      20.31       23.45
nebulizer inventory, but not a draw up of Tyvaso DPI due to manufacturing           Div yld (%)                           -           -          -           -
constraints (LINK). They don’t expect to see a stock up of DPI until more           Unless otherwise noted, all metrics are based on Morgan Stanley ModelWare
                                                                                    framework
meaningful capacity comes online late this year or early 2024. However, they        § = Consensus data is provided by Refinitiv Estimates
                                                                                    e = Morgan Stanley Research estimates
continue to expect to be able to meet patient demand.
                                                                                    QUARTERLY MODELWARE EPS ($)
The company discussed details regarding near and medium term steps they and                        2023e   2023e                          2024e         2024e
partner MannKind (not covered) are taking to ensure a continuous supply of          Quarter  2022   Prior Current                          Prior       Current
                                                                                    Q1        5.03      -   4.86a                              -             -
Tyvaso DPI. They expect near-term MannKind capacity improvements to go into         Q2        2.41      -    4.17                              -             -
effect in June/July as a second spray dryer comes online following validation       Q3        4.91      -    5.42                              -             -
                                                                                    Q4        2.67      -    3.07                              -             -
batches. Separately MannKind is also working on process/yield improvements.
                                                                                    e = Morgan Stanley Research estimates, a = Actual Company reported data
Later this year UTHR will install a high speed kitting line in RTP (shifting away
from CMO), which can handle 25k capacity when it fully comes online in 1H24.
Beyond that UTHR has invested $500mn into a new DPI manufacturing facility in
North Carolina to support 50k patients annually with the ability to expand to
75k patients. By 2H of the decade UTHR plans to have DPI manufacturing
capacity between 75-100k patient annually in order to support current PAH/PH-
ILD market as well as a future indications if approved.
UTHR does not see the entry of MRK’s Sotatercept as a headwind to its PAH           Morgan Stanley does and seeks to do business with
franchise given the likelihood of combination use with prostacyclins, including     companies covered in Morgan Stanley Research. As a
                                                                                    result, investors should be aware that the firm may have a
most likely Tyvaso DPI. This was reinforced by the company’s recent discussions     conflict of interest that could affect the objectivity of
with KOLs at the ATS conference. But they noted that based on prior history         Morgan Stanley Research. Investors should consider
                                                                                    Morgan Stanley Research as only a single factor in making
physician's like to try new options in PAH.                                         their investment decision.
Management reiterated the company’s capital allocation priorities, including        For analyst certification and other important disclosures,
                                                                                    refer to the Disclosure Section, located at the end of this
internal investment (R&D and capex) as well as business development (mainly         report.


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within cardio-pulmonary). Our sense was share repo represents a distant third.




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Valuation Methodology and Risks
                          United Therapeutics Corp (UTHR.O)
                          Our DCF-based price target of $316 includes ~$3.2bn in risk-adjusted revenue in 2030.
                          We derive our price target from a discounted cash flow (DCF) analysis using a 10%
                          discount rate and 0% terminal growth.

                          Risks to Upside

                               Tyvaso growth is above expectations and the majority of the franchise is
                               converted to DPI
                               Ralinepag receives FDA approval for PAH and contributes to outer year growth
                               Tyvaso '793 patent is upheld

                          Risks to Downside

                               Tyvaso growth is below expectations and a minority of the franchise is converted
                               to DPI
                               Ralinepag is unsuccessful in Phase 3 trials
                               Liquidia invalidates Tyvaso '793 patent
                               Remodulin erosion accelerates




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                                                                                                                               INVESTMENT SERVICES
                                                                                                                                   CLIENTS (MISC)
        STOCK RATING                             COUNT             % OF           COUNT           % OF           % OF             COUNT             % OF
        CATEGORY                                                  TOTAL                       TOTAL IBC         RATING                             TOTAL
                                                                                                             CATEGORY                              OTHER
                                                                                                                                                     MISC
        Overweight/Buy                              1357             37%               269            42%             20%              599             39%
        Equal-weight/Hold                           1660             45%               307            47%             18%              721             47%
        Not-Rated/Hold                                 5              0%                 1             0%             20%                1              0%
        Underweight/Sell                             639             17%                70            11%             11%              228             15%
         TOTAL                                     3,661                              647                                            1549


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Stock Broker Registration No. INZ000244438), Merchant Banker (SEBI Registration No. INM000011203), and depository participant with National Securities
Depository Limited (SEBI Registration No. IN-DP-NSDL-567-2021) having registered office at 18th Floor, Tower 2, One World Center, Plot- 841, Jupiter Textile
Mill Compound, Senapati Bapat Marg, Lower Parel, Mumbai 400013, India Telephone no. +91-22-61181000; Compliance Officer Details: Mr. Anil Shenoy, Tel.
No.: +91-22-61181000 or Email: Anil.Shenoy@morganstanley.com; Grievance officer details: Mr. Anil Shenoy, Tel. No.: +91-22-61181000 or Email: msic-
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                                                                                                                                                                      8
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provide any assurance of returns to investors. Investment in securities market are subject to market risks. Read all the related documents carefully before
investing.


                          INDUSTRY COVERAGE: Biotechnology
                          COMPANY (TICKER)                                                   RATING (AS OF)        PRICE* (05/23/2023)

                          Jeffrey Hung
                            Acadia Pharmaceuticals Inc (ACAD.O)                               E (10/14/2021)                    $25.54
                            ADC Therapeutics SA (ADCT.N)                                      E (09/09/2022)                     $2.55
                            Alector Inc (ALEC.O)                                              E (09/09/2022)                     $7.75
                            Amicus Therapeutics Inc. (FOLD.O)                                 E (09/09/2022)                    $11.75
                            Bicycle Therapeutics Plc (BCYC.O)                                 E (02/14/2022)                    $24.54
                            Bluebird Bio Inc (BLUE.O)                                         U (11/08/2021)                     $3.70
                            Centessa Pharmaceuticals, Inc (CNTA.O)                            U (08/12/2022)                     $4.47
                            Cerevel Therapeutics Holdings Inc (CERE.O)                        O (06/18/2021)                    $33.27
                            Cullinan Oncology Inc (CGEM.O)                                    O (04/27/2021)                     $9.14
                            Cyteir Therapeutics, Inc. (CYT.O)                                 U (02/03/2023)                     $2.24
                            Cytokinetics Inc (CYTK.O)                                         O (04/09/2020)                    $39.01
                            Denali Therapeutics Inc (DNLI.O)                                  O (01/02/2018)                    $31.96
                            Disc Medicine Inc (IRON.O)                                        O (04/20/2023)                    $33.20
                            Erasca, Inc. (ERAS.O)                                             O (02/03/2023)                     $2.99
                            Exelixis Inc. (EXEL.O)                                                        ++                    $19.33
                            Graphite Bio, Inc. (GRPH.O)                                       E (03/21/2022)                     $2.92
                            Immuneering Corporation (IMRX.O)                                  E (04/18/2023)                     $6.97
                            Immunocore Holdings Ltd (IMCR.O)                                  O (09/09/2022)                    $57.41
                            Insmed Inc (INSM.O)                                               O (10/19/2021)                    $19.16
                            Intra-Cellular Therapies Inc (ITCI.O)                             O (04/20/2023)                    $61.83
                            Neurocrine Biosciences Inc (NBIX.O)                               O (02/03/2023)                    $93.64
                            Prelude Therapeutics Inc (PRLD.O)                                 E (09/09/2022)                     $5.45
                            PTC Therapeutics (PTCT.O)                                         E (09/09/2022)                    $58.41
                            Repare Therapeutics Inc (RPTX.O)                                  E (02/03/2023)                    $10.74
                            Rhythm Pharmaceuticals Inc (RYTM.O)                               E (11/19/2021)                    $16.54
                            Ultragenyx Pharmaceutical Inc (RARE.O)                            O (03/27/2019)                    $51.42
                            Vigil Neuroscience Inc (VIGL.O)                                   E (02/01/2022)                     $9.97


                          Maxwell Skor
                            Adagene Inc. (ADAG.O)                                             O (03/07/2021)                      $1.48
                            Atea Pharmaceuticals Inc (AVIR.O)                                 U (01/06/2022)                      $4.93
                            Bolt Biotherapeutics, Inc. (BOLT.O)                               E (01/06/2022)                      $1.95
                            Invivyd Inc (IVVD.O)                                              U (01/06/2022)                      $1.70
                            Pharvaris N.V. (PHVS.O)                                           E (08/22/2022)                      $8.75
                            Vaccitech Plc (VACC.O)                                            O (05/25/2021)                      $2.50


                          Michael E Ulz




                                                                                                                                                                     9
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   Akero Therapeutics Inc (AKRO.O)                                O (01/27/2023)          $44.34
   AlloVir Inc (ALVR.O)                                           O (08/24/2020)           $4.29
   Alnylam Pharmaceuticals Inc (ALNY.O)                           E (09/09/2022)         $191.83
   Alpine Immune Sciences Inc (ALPN.O)                            O (01/19/2023)          $10.51
   Arrowhead Pharmaceuticals Inc (ARWR.O)                         E (09/09/2022)          $36.28
   Blueprint Medicines Corporation (BPMC.O)                       E (10/30/2020)          $58.50
   Cabaletta Bio Inc (CABA.O)                                     O (01/27/2023)          $10.77
   Fate Therapeutics Inc (FATE.O)                                 E (08/26/2021)           $5.47
   Fusion Pharmaceuticals Inc (FUSN.O)                            O (07/21/2020)           $4.26
   Galapagos NV (GLPG.O)                                          E (09/09/2022)          $44.46
   Horizon Therapeutics Plc (HZNP.O)                                          ++         $100.10
   IGM Biosciences Inc (IGMS.O)                                   E (12/13/2021)          $12.01
   IO Biotech (IOBT.O)                                            O (11/30/2021)           $2.08
   Ionis Pharmaceuticals Inc (IONS.O)                             E (12/21/2022)          $42.28
   Iveric Bio Inc (ISEE.O)                                        E (05/01/2023)          $38.00
   Karyopharm Therapeutics Inc (KPTI.O)                           E (11/19/2021)           $2.59
   Kodiak Sciences Inc (KOD.O)                                    E (11/16/2020)           $6.79
   Mirati Therapeutics (MRTX.O)                                   E (08/26/2021)          $45.70
   Rocket Pharmaceuticals Inc (RCKT.O)                            O (02/01/2023)          $22.24
   Sarepta Therapeutics Inc (SRPT.O)                              O (03/01/2023)         $146.91
   Senti Biosciences Inc (SNTI.O)                                 E (10/07/2022)           $0.95
   Sigilon Therapeutics Inc (SGTX.O)                              E (12/29/2020)           $7.31
   Silence Therapeutics Plc (SLN.O)                               O (05/08/2023)           $6.04
   Tenaya Therapeutics Inc (TNYA.O)                               O (08/24/2021)           $7.60
   Third Harmonic Bio Inc (THRD.O)                                E (12/15/2022)           $5.20
   Vir Biotechnology Inc (VIR.O)                                  E (01/27/2023)          $26.73
   Xilio Therapeutics Inc (XLO.O)                                 O (11/16/2021)           $3.05
   Y-mABs Therapeutics Inc. (YMAB.O)                              U (01/27/2023)           $9.87
   Zentalis Pharmaceuticals Inc (ZNTL.O)                          O (10/19/2021)          $26.74


 Terence C Flynn, Ph.D.
   Amgen Inc. (AMGN.O)                                                        ++         $224.44
   Arcus Biosciences Inc. (RCUS.N)                                O (10/11/2022)          $18.05
   Arvinas Inc (ARVN.O)                                           E (04/06/2022)          $23.77
   Biogen Inc (BIIB.O)                                            O (07/27/2020)         $303.15
   BioNTech SE (BNTX.O)                                           E (12/16/2021)         $116.30
   C4 Therapeutics (CCCC.O)                                       U (10/11/2022)           $3.16
   CRISPR Therapeutics AG (CRSP.O)                                U (10/11/2022)          $67.20
   Editas Medicine (EDIT.O)                                       U (01/19/2021)           $9.58
   Gilead Sciences Inc. (GILD.O)                                  E (01/06/2022)          $78.58
   Intellia Therapeutics Inc (NTLA.O)                             O (10/11/2022)          $43.45
   Moderna Inc (MRNA.O)                                           E (12/16/2020)         $137.75
   Nurix Therapeutics Inc. (NRIX.O)                               E (10/11/2022)          $10.24
   Prime Medicine Inc (PRME.O)                                    E (11/14/2022)          $14.20
   Regeneron Pharmaceuticals Inc. (REGN.O)                        O (09/09/2022)         $748.56
   Revance Therapeutics Inc (RVNC.O)                              E (10/11/2022)          $31.47
   Seagen Inc (SGEN.O)                                            E (03/15/2023)         $196.49
   United Therapeutics Corp (UTHR.O)                              O (10/11/2022)         $216.19
   Vertex Pharmaceuticals (VRTX.O)                                E (05/03/2022)         $333.51


 Vikram Purohit
   2seventy Bio Inc (TSVT.O)                                      O (11/08/2021)          $12.01
   Akili Inc (AKLI.O)                                             E (12/28/2022)           $1.31
   Arcutis Biotherapeutics, Inc. (ARQT.O)                         O (11/19/2021)           $9.47
   argenx SE (ARGX.O)                                             O (05/03/2022)         $413.62
   Ascendis Pharma A/S (ASND.O)                                   E (04/04/2023)          $90.22
   Axsome Therapeutics (AXSM.O)                                   E (08/10/2021)          $71.82
   BeiGene Ltd (BGNE.O)                                           O (01/17/2020)         $239.33
   Biomarin Pharmaceutical Inc (BMRN.O)                           O (04/25/2022)          $91.99
   Certara Inc (CERT.O)                                           E (01/05/2021)          $21.01
   Evelo Biosciences Inc (EVLO.O)                                 E (10/19/2021)           $0.14
   Exscientia PLC (EXAI.O)                                        E (10/26/2021)           $7.61
   Foghorn Therapeutics (FHTX.O)                                  E (08/23/2022)           $6.97
   Genmab A/S (GMAB.O)                                            U (09/07/2021)          $41.80
   Halozyme Therapeutics, Inc (HALO.O)                            O (12/21/2022)          $34.01
   Hookipa Pharma Inc (HOOK.O)                                    E (11/11/2021)           $1.45
   Incyte Corp (INCY.O)                                           E (04/29/2020)          $65.08
   Kymera Therapeutics Inc (KYMR.O)                               E (09/15/2020)          $29.30
   Legend Biotech Corp (LEGN.O)                                   O (01/31/2022)          $66.54
   Lyell Immunopharma, Inc. (LYEL.O)                              E (11/14/2022)           $2.88
   ProKidney Corp (PROK.O)                                        E (11/10/2022)          $10.43
   Recursion Pharmaceuticals Inc (RXRX.O)                         E (05/22/2023)           $9.25
   Regenxbio Inc (RGNX.O)                                         O (10/19/2021)          $20.39
   SAGE Therapeutics Inc (SAGE.O)                                 E (11/16/2020)          $52.44
   Sana Biotechnology, Inc (SANA.O)                               O (03/01/2021)           $7.09
   Schrodinger Inc. (SDGR.O)                                      E (11/19/2021)          $38.52
   Talaris Therapeutics (TALS.O)                                  E (07/05/2022)           $2.91
   Tscan Therapeutics Inc (TCRX.O)                                O (08/10/2021)           $2.57
   Ventyx Biosciences (VTYX.O)                                    O (11/17/2022)          $36.28

Stock Ratings are subject to change. Please see latest research for each company.


                                                                                                   10
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        * Historical prices are not split adjusted.


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            EXHIBIT 20
                     Case: 23-1805         Document: 13        Page: 65      Filed: 06/02/2023


Kannappan, Deepa

From:               Jackson, William C <WJackson@goodwinlaw.com>
Sent:               Wednesday, May 17, 2023 5:56 PM
To:                 Kannappan, Deepa; Cochran, Mary Ann; UT-793; Zhang, Jenny; Santos, Jaime; Adykhuis@mwe.com;
                    Shaun Snader; Tashima, Rohini; Jay, William M; Burrowbridge, Adam
Cc:                 z/Liquidia v UTC 308970-201; Dcarsten@mwe.com
Subject:            RE: 23-1805 (CAFC): Motion to Expedite


[External]

Deepa:

UTC has considered the request and does not think expedition is necessary or appropriate in this case. So UTC intends
to oppose Liquidia’s motion to expedite.

William C Jackson



Goodwin Procter LLP
1900 N Street, NW
Washington, DC 20036
o +1 202 346 4216
m +1 202 270 6622
f +1 202 478 0819
WJackson@goodwinlaw.com




From: Kannappan, Deepa <dkannappan@cooley.com>
Sent: Tuesday, May 16, 2023 1:25 PM
To: Jackson, William C <WJackson@goodwinlaw.com>; Cochran, Mary Ann <MCochran@foley.com>; UT‐793 <UT‐
793@foley.com>; Zhang, Jenny <JZhang@goodwinlaw.com>; Santos, Jaime <JSantos@goodwinlaw.com>;
Adykhuis@mwe.com; Shaun Snader <ssnader@unither.com>; Tashima, Rohini <RTashima@goodwinlaw.com>; Jay,
William M <WJay@goodwinlaw.com>; Burrowbridge, Adam <Aburrowbridge@mwe.com>
Cc: z/Liquidia v UTC 308970‐201 <zLiquidiavUTC308970201@cooley.com>
Subject: RE: 23‐1805 (CAFC): Motion to Expedite

***EXTERNAL***
Counsel,

Following up on the below.

Thanks,
Deepa

From: Kannappan, Deepa <dkannappan@cooley.com>
Sent: Friday, May 12, 2023 12:20 PM
To: 'Jackson, William C' <WJackson@goodwinlaw.com>; Cochran, Mary Ann <MCochran@foley.com>; UT‐793 <UT‐
793@foley.com>; Zhang, Jenny <JZhang@goodwinlaw.com>; Santos, Jaime <JSantos@goodwinlaw.com>;
                                                           1
                      Case: 23-1805         Document: 13        Page: 66       Filed: 06/02/2023

Adykhuis@mwe.com; Shaun Snader <ssnader@unither.com>; Tashima, Rohini <RTashima@goodwinlaw.com>; Jay,
William M <WJay@goodwinlaw.com>; Burrowbridge, Adam <Aburrowbridge@mwe.com>
Cc: z/Liquidia v UTC 308970‐201 <zLiquidiavUTC308970201@cooley.com>
Subject: RE: 23‐1805 (CAFC): Motion to Expedite

Hi William,

Correct, and we would ask for oral argument at the next available date after briefing is complete.

Best,
Deepa

From: Jackson, William C <WJackson@goodwinlaw.com>
Sent: Friday, May 12, 2023 12:12 PM
To: Kannappan, Deepa <dkannappan@cooley.com>; Cochran, Mary Ann <MCochran@foley.com>; UT‐793 <UT‐
793@foley.com>; Zhang, Jenny <JZhang@goodwinlaw.com>; Santos, Jaime <JSantos@goodwinlaw.com>;
Adykhuis@mwe.com; Shaun Snader <ssnader@unither.com>; Tashima, Rohini <RTashima@goodwinlaw.com>; Jay,
William M <WJay@goodwinlaw.com>; Burrowbridge, Adam <Aburrowbridge@mwe.com>
Cc: z/Liquidia v UTC 308970‐201 <zLiquidiavUTC308970201@cooley.com>
Subject: RE: 23‐1805 (CAFC): Motion to Expedite

[External]

Deepa:

As we understand it, your proposal is as follows:

 Event                              Date                               LIQ Revised Date
 UTC Opening Brief                  60 days after Certified List       30 days after Certified List
 LIQ Response Brief                 40 days after UTC Opening Brief    20 days after UTC Opening Brief
 UTC Reply Brief                    21 days after LIQ Response Brief   11 days after LIQ Response Brief

Do we have that correct? In essence, LIQ’s proposal would shorten the schedule by 60 days, correct?


William C Jackson



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f +1 202 478 0819
WJackson@goodwinlaw.com




From: Kannappan, Deepa <dkannappan@cooley.com>
Sent: Thursday, May 11, 2023 1:51 PM
To: Jackson, William C <WJackson@goodwinlaw.com>; Cochran, Mary Ann <MCochran@foley.com>; UT‐793 <UT‐

                                                            2
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793@foley.com>; Zhang, Jenny <JZhang@goodwinlaw.com>; Santos, Jaime <JSantos@goodwinlaw.com>;
Adykhuis@mwe.com; Shaun Snader <ssnader@unither.com>; Tashima, Rohini <RTashima@goodwinlaw.com>; Jay,
William M <WJay@goodwinlaw.com>; Burrowbridge, Adam <Aburrowbridge@mwe.com>
Cc: z/Liquidia v UTC 308970‐201 <zLiquidiavUTC308970201@cooley.com>
Subject: RE: 23‐1805 (CAFC): Motion to Expedite

***EXTERNAL***
Hi William,

Liquidia proposes shortening the briefing times by half, but is open to a discussion if UTC is amenable.

Best,
Deepa

From: Jackson, William C <WJackson@goodwinlaw.com>
Sent: Thursday, May 11, 2023 5:29 AM
To: Kannappan, Deepa <dkannappan@cooley.com>; Cochran, Mary Ann <MCochran@foley.com>; UT‐793 <UT‐
793@foley.com>; Zhang, Jenny <JZhang@goodwinlaw.com>; Santos, Jaime <JSantos@goodwinlaw.com>;
Adykhuis@mwe.com; Shaun Snader <ssnader@unither.com>; Tashima, Rohini <RTashima@goodwinlaw.com>; Jay,
William M <WJay@goodwinlaw.com>; Burrowbridge, Adam <Aburrowbridge@mwe.com>
Cc: z/Liquidia v UTC 308970‐201 <zLiquidiavUTC308970201@cooley.com>
Subject: RE: 23‐1805 (CAFC): Motion to Expedite

[External]



Deepa:

Thank you for your email. Could you identify what Liquidia proposes in terms of expedition? Thanks.


William C Jackson



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Washington, DC 20036
o +1 202 346 4216
m +1 202 270 6622
f +1 202 478 0819
WJackson@goodwinlaw.com




From: Kannappan, Deepa <dkannappan@cooley.com>
Sent: Wednesday, May 10, 2023 6:29 PM
To: Cochran, Mary Ann <MCochran@foley.com>; UT‐793 <UT‐793@foley.com>; Jackson, William C
<WJackson@goodwinlaw.com>; Zhang, Jenny <JZhang@goodwinlaw.com>; Santos, Jaime <JSantos@goodwinlaw.com>;
Adykhuis@mwe.com; Shaun Snader <ssnader@unither.com>; Tashima, Rohini <RTashima@goodwinlaw.com>; Jay,
William M <WJay@goodwinlaw.com>; Burrowbridge, Adam <Aburrowbridge@mwe.com>


                                                             3
                              Case: 23-1805                  Document: 13                Page: 68            Filed: 06/02/2023

Cc: z/Liquidia v UTC 308970‐201 <zLiquidiavUTC308970201@cooley.com>
Subject: 23‐1805 (CAFC): Motion to Expedite

***EXTERNAL***
Counsel,

Liquidia intends to file a motion to expedite briefing and oral argument on the ’793 IPR appeal (Federal Circuit Case No.
2023‐1805). Please let us know if you oppose.

Best,
Deepa

Deepa Kannappan
Cooley LLP
3175 Hanover Street
Palo Alto, CA 94304-1130
+1 650 843 5673 office
+1 650 849 7400 fax
dkannappan@cooley.com

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www.cooley.com/litigation
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If you are the intended recipient, please be advised that the content of this message is subject to access, review and disclosure by the sender's Email System
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            EXHIBIT 21
          Case: 23-1805 Document
Case 1:20-cv-00755-RGA   Document:
                                 2313Filed
                                         Page: 70 Filed:
                                           08/05/20 Page 06/02/2023
                                                         1 of 26 PageID #: 218




                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

 UNITED THERAPEUTICS                              )
 CORPORATION,                                     )
                                                  )
                  Plaintiff,                      )
                                                  )
    v.                                            )    C.A. No. 20-755-RGA
                                                  )
 LIQUIDIA TECHNOLOGIES, INC.,                     )
                                                  )
                  Defendant.                      )


                DEFENDANT’S ANSWER TO FIRST AMENDED COMPLAINT
                              AND COUNTERCLAIMS

         Defendant Liquidia Technologies, Inc. (“Liquidia” or “Defendant”) hereby files its answer,

defenses, and counterclaims (“Answer”) to the First Amended Complaint filed by Plaintiff United

Therapeutics Corporation (“UTC” or “Plaintiff”). Each of the paragraphs below corresponds to

the same numbered paragraphs in the First Amended Complaint. In responding to the First

Amended Complaint, Liquidia has kept Plaintiff’s headings for ease of reference, but in so doing,

Liquidia is not admitting to the accuracy of any statements made or agreeing with any

characterizations made in such headings. Liquidia denies all allegations in the First Amended

Complaint, whether express or implied, that are not specifically admitted below. Liquidia further

denies that Plaintiff is entitled to the relief requested in the First Amended Complaint, or to any

other relief.

                                  NATURE OF THE ACTION

         1.      Liquidia admits that the First Amended Complaint purports to assert a patent

infringement action. Liquidia admits that U.S. Patent No. 9,593,066 (the “’066 patent”) and U.S.

Patent No. 9,604,901 (the “’901 patent”) each bear the title “Process to Prepare Treprostinil, the
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Active Ingredient in Remodulin®,” and that U.S. Patent No. 10,716,793 (the “’793 patent”) bears

the title “Treprostinil Administration by Inhalation”. Liquidia admits that Exhibits A, B and C

attached to the First Amended Complaint appear to be copies of the ’066, ’901 and ’793 patents.

Liquidia is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in paragraph 1, and therefore denies them.

       2.      Liquidia admits that it submitted New Drug Application No. 213005 under

§ 505(b)(2) of the Federal Food, Drug and Cosmetic Act (“Liquidia’s NDA”) to the United States

Food and Drug Administration (“FDA”) seeking approval to engage in the commercial

manufacture, use and/or sale of LIQ861 (treprostinil) inhalation powder (the “Liquidia Product”

or “LIQ861 Product”). Liquidia denies the remaining allegations in paragraph 2.

                                          THE PARTIES

       3.      Liquidia is without knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 3, and therefore denies them.

       4.      Liquidia admits the allegations in paragraph 4.

       5.      Liquidia admits that it purchases treprostinil from Yonsung Fine Chemicals Co.,

LTD. Liquidia denies the remaining allegations in paragraph 5.

       6.      Liquidia admits that the Liquidia Product delivers treprostinil through a dry powder

inhaler (“DPI”) that is manufactured by Plastiape SpA (“Plastiape”).            Liquidia denies the

remaining allegations in paragraph 6.

                                 JURISDICTION AND VENUE

       7.      Liquidia admits that this Court has subject matter jurisdiction over this case

pursuant to 28 U.S.C. §§ 1331 and 1338(a), provided that standing and other requirements are met.

Liquidia denies that the Plaintiff’s claims in its First Amended Complaint have any merit or that

Plaintiff is entitled to any relief. Liquidia denies the remaining allegations in paragraph 7.



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       8.      Liquidia admits that venue is proper for purposes of this case.

       9.      Liquidia admits that this Court has personal jurisdiction over Liquidia for purposes

of this case. Liquidia denies the remaining allegations in paragraph 9.

                                        BACKGROUND

       10.     Liquidia admits that UTC is identified as the holder of New Drug Application No.

022387, which has been approved for TYVASO® (treprostinil) Inhalation Solution, 0.6 mg/ml.

Liquidia is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in paragraph 10, and therefore denies them.

       11.     Liquidia admits that TYVASO® was approved by the FDA in the United States on

July 20, 2009, and, according to the TYVASO® prescribing information, is indicated “for the

treatment of pulmonary arterial hypertension (WHO Group I) in patients with NYHA Class III

symptoms, to increase walk distance.” Liquidia denies the remaining allegations in paragraph 11.

       12.     Liquidia admits that TYVASO®, according to its prescribing information, is a

sterile solution for oral inhalation: 2.9 mL ampule containing 1.74 mg treprostinil (0.6 mg per mL).

       13.     Liquidia admits that the ’066 patent is entitled “Process to prepare treprostinil, the

active ingredient in Remodulin®,” was issued by the United States Patent and Trademark Office

on March 14, 2017, and names as inventors Hitesh Batra, Sudersan M. Tuladhar, Raju Penmasta,

and David A. Walsh. Liquidia denies the remaining allegations in paragraph 13.

       14.     Liquidia is without knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 14, and therefore denies them.

       15.     Liquidia admits that the ’901 patent is entitled “Process to prepare treprostinil, the

active ingredient in Remodulin®,” was issued by the United States Patent and Trademark Office

on March 28, 2017, and names as inventors Hitesh Batra, Sudersan M. Tuladhar, Raju Penmasta,

and David A. Walsh. Liquidia denies the remaining allegations in paragraph 15.



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       16.      Liquidia is without knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 16, and therefore denies them.

       17.      Liquidia admits that the ’793 patent is entitled “Treprostinil Administration by

Inhalation,” was issued by the United States Patent and Trademark Office on July 21, 2020, and

names as inventors Horst Olschewski, Robert Roscigno, Lewis J. Rubin, Thomas Schmehl, Werner

Seeger, Carl Sterritt, and Robert Voswinckel. Liquidia denies the remaining allegations of

paragraph 17.

       18.      Liquidia is without knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 18, and therefore denies them.

       19.      Liquidia admits that the ’066, ’901 and ’793 patents are listed in the Orange Book

(FDA’s Approved Drug Products with Therapeutic Equivalence Evaluations publication) in

connection with TYVASO®. Liquidia denies the remaining allegations in paragraph 19.

                    [ALLEGED] ACTS GIVING RISE TO THIS ACTION

       20.      Liquidia admits that it notified UTC by letter dated April 24, 2020 (“Liquidia’s

Notice Letter”) that it had submitted Liquidia’s NDA to the FDA seeking approval to engage in

the commercial manufacture, use and/or sale of the Liquidia Product. Liquidia is without

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

paragraph 20, and therefore denies them.

       21.      Liquidia admits that its Notice Letter included a detailed statement of the present

factual and legal basis that the claims of the ’066 and/or ’901 patents are invalid, unenforceable

and/or are not, and will not, be infringed by the Liquidia Product. Liquidia denies the remaining

allegations in paragraph 21.

       22.      Liquidia admits that it submitted its NDA to the FDA seeking approval to engage

in the commercial manufacture, use and/or sale of the Liquidia Product. Liquidia denies the



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remaining allegations of paragraph 22.

       23.       Liquidia admits that UTC filed its Complaint on June 4, 2020.

       24.       Liquidia admits that the Liquidia Product contains treprostinil. Liquidia denies the

remaining allegations in paragraph 24.

       25.       Liquidia admits that its NDA seeks approval from the FDA to market Liquidia’s

Product for the treatment of pulmonary arterial hypertension (PAH) (WHO Group 1) to improve

exercise ability in patients with NYHA Functional Class II-III symptoms. Liquidia denies the

remaining allegations in paragraph 25.

       26.       Liquidia admits that it filed its NDA, which is in compliance with all relevant

statutory sections. Liquidia denies the remaining allegations in paragraph 26.

       27.       Liquidia admits that it submitted its NDA to the FDA seeking approval to engage

in the commercial manufacture, use and/or sale of the Liquidia Product. Liquidia denies the

remaining allegations in paragraph 27.

       28.       Liquidia admits that its NDA contains Paragraph IV Certifications that the ’066

patent and ’901 patent are not infringed by Liquidia’s Proposed Product and/or are invalid and/or

unenforceable.

       29.       Liquidia admits that its Notice Letter refers to 21 U.S.C. § 355(b)(3)(D)(ii) and

21 C.F.R. § 314.52(c)(6).

       30.       Liquidia admits that its Notice Letter contained an Offer of Confidential Access

Pursuant to 21 U.S.C. § 355(c)(3)(D)(i)(III) (“OCA”). Liquidia further admits that Liquidia

negotiated the terms of confidential access in good faith in order to permit UTC access to

information contained within Liquidia’s NDA. Liquidia denies the remaining allegations in

paragraph 30.




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       31.     Liquidia admits that 21 U.S.C. § 355(c)(3)(D)(i)(III) states an “offer of confidential

access shall contain such restrictions as to persons entitled to access, and on the use and disposition

of any information accessed, as would apply had a protective order been entered for the purpose

of protecting trade secrets and other confidential business information.”

       32.     Liquidia admits that it attempted to negotiate the terms of its OCA with UTC.

Liquidia’s OCA contained provisions that would apply to protective orders. For example,

Liquidia’s OCA contained reasonable access restrictions on attorneys representing UTC and in-

house counsel and the staff of such counsel that were present in the protective order entered into

by UTC in United Therapeutics Corp. v. Watson Labs., Inc., No. 3:15-cv-05723-PGS-LHG, Dkt.

No. 36 at 6-7 (D.N.J. Jan. 13, 2016), which is a prior litigation concerning TYVASO®. Liquidia

admits that UTC unilaterally rejected Liquidia’s OCA. Liquidia denies the remaining allegations

in paragraph 32.

       33.     Liquidia is without knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 33, and therefore denies them.

       34.      The allegations in this paragraph state a legal conclusion to which no response is

required. To the extent a response is deemed to be required, Liquidia admits that its clinical trials

of the LIQ861 Product showed safe dosing of treprostinil. Except as expressly admitted, Liquidia

denies the remaining allegations in paragraph 34.

             COUNT 1: [ALLEGED] INFRINGEMENT OF THE ’066 PATENT
                            UNDER 35 U.S.C. § 271(e)

       35.     Liquidia incorporates by reference its responses to Paragraphs 1 through 34 of the

First Amended Complaint.

       36.     Liquidia denies the allegations of paragraph 36.

       37.     Liquidia admits that Liquidia’s NDA included a Paragraph IV certification with




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respect to the ’066 patent.

       38.     Liquidia denies the allegations of paragraph 38.

       39.     Liquidia denies the allegations of paragraph 39.

       40.     Liquidia denies the allegations of paragraph 40.

       41.     Liquidia denies the allegations of paragraph 41.

             COUNT 2: [ALLEGED] INFRINGEMENT OF THE ’066 PATENT
                        UNDER 35 U.S.C. §§ 271(a)-(c) and (g)

       42.     Liquidia incorporates by reference its responses to Paragraphs 1 through 41 of the

First Amended Complaint.

       43.     Liquidia denies the allegations of paragraph 43.

       44.     Liquidia denies the allegations of paragraph 44.

       45.     Liquidia denies the allegations of paragraph 45.

       46.     Liquidia denies the allegations of paragraph 46.

       47.     Liquidia denies the allegations of paragraph 47.

       48.     Liquidia denies the allegations of paragraph 48.

       49.     Liquidia denies the allegations of paragraph 49.

       50.     Liquidia denies the allegations of paragraph 50.

       51.     Liquidia denies the allegations of paragraph 51.

             COUNT 3: [ALLEGED] INFRINGEMENT OF THE ’901 PATENT
                            UNDER 35 U.S.C. § 271(e)

       52.     Liquidia incorporates by reference its responses to Paragraphs 1 through 51 of the

First Amended Complaint.

       53.     Liquidia denies the allegations of paragraph 53.

       54.     Liquidia admits that Liquidia’s NDA included a Paragraph IV certification with

respect to the ’901 patent.



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      55.    Liquidia denies the allegations of paragraph 55.

      56.    Liquidia denies the allegations of paragraph 56.

      57.    Liquidia denies the allegations of paragraph 57.

      58.    Liquidia denies the allegations of paragraph 58.

            COUNT 4: [ALLEGED] INFRINGEMENT OF THE ’901 PATENT
                       UNDER 35 U.S.C. §§ 271(a)-(c) and (g)

      59.    Liquidia incorporates by reference its responses to Paragraphs 1 through 58 of the

First Amended Complaint.

      60.    Liquidia denies the allegations of paragraph 60.

      61.    Liquidia denies the allegations of paragraph 61.

      62.    Liquidia denies the allegations of paragraph 62.

      63.    Liquidia denies the allegations of paragraph 63.

      64.    Liquidia denies the allegations of paragraph 64.

      65.    Liquidia denies the allegations of paragraph 65.

      66.    Liquidia denies the allegations of paragraph 66.

      67.    Liquidia denies the allegations of paragraph 67.

      68.    Liquidia denies the allegations of paragraph 68.

            COUNT 5: [ALLEGED] INFRINGEMENT OF THE ’793 PATENT
                           UNDER 35 U.S.C. § 271(e)

      69.    Liquidia incorporates by reference its responses to Paragraphs 1 through 68 of the

First Amended Complaint.

      70.    Liquidia denies the allegations of paragraph 70.

      71.    Liquidia denies the allegations of paragraph 71.

      72.    Liquidia denies the allegations of paragraph 72.

      73.    Liquidia denies the allegations of paragraph 73.



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       74.     Liquidia denies the allegations of paragraph 74.

             COUNT 6: [ALLEGED] INFRINGEMENT OF THE ’793 PATENT
                           UNDER 35 U.S.C. §§ 271(a)-(c)

       75.     Liquidia incorporates by reference its responses to Paragraphs 1 through 74 of the

First Amended Complaint.

       76.     Liquidia denies the allegations of paragraph 76.

       77.     Liquidia denies the allegations of paragraph 77.

       78.     Liquidia denies the allegations of paragraph 78.

       79.     Liquidia denies the allegations of paragraph 79.

       80.     Liquidia denies the allegations of paragraph 80.

       81.     Liquidia denies the allegations of paragraph 81.

       82.     Liquidia denies the allegations of paragraph 82.

       83.     Liquidia denies the allegations of paragraph 83.

                   RESPONSE TO PLAINTIFF’S PRAYER FOR RELIEF

       Liquidia incorporates by reference all preceding paragraphs of this Answer as if fully set

forth herein. Liquidia denies any and all allegations of patent infringement alleged in the First

Amended Complaint. Liquidia denies all allegations that Plaintiff is entitled to any relief requested

in paragraphs 1 – 7 of the First Amended Complaint’s Prayer for Relief, or any other relief.

                                   AFFIRMATIVE DEFENSES

       Pursuant to Federal Rule of Civil Procedure 8(c), and without altering any applicable

burdens of proof, Liquidia asserts the following defenses to the First Amended Complaint and

reserves its rights to assert additional defenses.

                     FIRST DEFENSE – FAILURE TO STATE A CLAIM

       Plaintiff fails to state a claim upon which relief can be granted.




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                        SECOND DEFENSE – NON-INFRINGEMENT

       Liquidia does not infringe, has not infringed and will not infringe, directly or indirectly,

any valid claim of the ’066, ’901, and ’793 patents.

                               THIRD DEFENSE – INVALIDITY

       One or more claims of the ’066, ’901, and ’793 patents are invalid for failure to satisfy the

conditions of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to §§ 101, 102,

103, and/or 112. By way of example only: (1) all claims of the ’066 patent are invalid under

§§ 102 and/or 103 at least over prior art PCT Application No. WO2005/007081 (“Phares”), alone

or in combination with the 2004 Journal of Organic Chemistry article entitled “The Intramolecular

Asymmetric Pauson-Khand Cyclization as a Novel and General Stereoselective Route to

Benzindene Prostacyclins: Synthesis of UT-15 (Treprostinil)” by R.M. Moriarty, et al.

(“Moriarty”); (2) all claims of the ’901 patent are invalid under § 103 at least over prior art Phares,

alone or in combination with Moriarty; (3) claims 1-7 of the ʼ066 patent are invalid under § 112

as indefinite and lacking written description and enablement support at least with respect to

“impurities resulting from prior alkylation and hydrolysis steps,” and at least with respect to

“whereby the level of one or more impurities found in the starting batch of treprostinil is lower in

the pharmaceutical composition;” (4) at least claim 3 of the ’066 patent is invalid under § 112 as

indefinite and lacking written description and enablement support for reciting only sodium,

potassium, and calcium, when sodium, potassium, and calcium on their own are not bases and are

instead counterions that result from treatment of the treprostinil acid with the corresponding bases;

(5) all claims of the ʼ901 patent are invalid under § 112 as indefinite and lacking written description

and enablement support at least with respect to the pharmaceutical batch consisting of

“impurities”; (6) the claims of the ʼ793 patent are invalid under §§ 102 and/or 103 at least over




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Plaintiff’s prior art patents and publications, including U.S. Patent Nos. 6,756,033 and 6,521,212,

disclosing methods for treating pulmonary hypertension by administering a single event dose of a

15 to 90 microgram inhalation formulation of treprostinil, including liquid and powder

formulations of treprostinil, in 1 to 3 breaths; (7) at least claims 1, 4, and 6-8 of the ʼ793 patent are

invalid under § 112 as indefinite and lacking written description and enablement support at least

with respect to administration of a “powder”; and (8) the claims of the ʼ793 patent are invalid for

obviousness-type double patenting over Plaintiff’s prior issued patents, including U.S. Patent Nos.

6,756,033 and 6,521,212, disclosing and claiming methods for treating pulmonary hypertension

by administering a single event dose of a 15 to 90 microgram inhalation formulation of treprostinil,

including liquid and powder formulations of treprostinil, in 1 to 3 breaths.

               FOURTH DEFENSE – PROSECUTION HISTORY ESTOPPEL

        Plaintiff’s claims are barred or limited from recovery, in whole or in part, by the doctrine

of prosecution history estoppel.

                                   RESERVATION OF RIGHTS

        Liquidia hereby reserves the right to amend its Answer and reserves all defenses set out in

Rule 8(c) of the Federal Rules of Civil Procedure, the Patent Laws of the United States, and other

defenses, at law or in equity, which become applicable after the substantial completion of

discovery or otherwise in the course of litigation.

                                LIQUIDIA’S COUNTERCLAIMS

        For its counterclaims against Plaintiff United Therapeutics Corporation (“UTC”),

Counterclaim Plaintiff Liquidia Technologies, Inc. (“Liquidia”) alleges as follows:

                                              PARTIES

        1.      Liquidia is a biopharmaceutical company focused on the development and

commercialization of innovative therapeutics using its proprietary PRINT® technology to



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transform the lives of patients.

       2.      Liquidia’s proposed LIQ861 Product, a dry powder formulation of treprostinil was

designed using Liquidia’s proprietary PRINT® technology to enhance deep-lung delivery using a

convenient, palm-sized, disposable dry powder inhaler (DPI) for the treatment of pulmonary

arterial hypertension (PAH). Liquidia’s proprietary PRINT® technology allows for LIQ861

particles of a precise size and highly uniform shape.

       3.      LIQ861 has the potential to maximize the therapeutic benefits of treprostinil in

treating PAH by safely delivering higher doses into the lungs compared to currently approved

conventional inhaled therapies, including TYVASO®. LIQ861 is also more convenient to use

than currently approved inhaled therapies, including TYVASO® as LIQ861 is more conveniently

administered and contained in a small carrying pouch as opposed to a nebulizer.

       4.      Liquidia’s clinical trials of the LIQ861 Product showed safe dosing of treprostinil

to more than twice the maximum recommended dosage of TYVASO®, thereby providing

physicians a broader dosing range to treat toward symptom relief with fewer tolerance issues than

with TYVASO®, while also providing patients a more convenient treatment option, if approved.

As a result of Liquidia’s investment into the development of novel treatments for PAH, resulting

in LIQ861, Liquidia filed New Drug Application No. 213005 under § 505(b)(2) of the Federal

Food, Drug, and Cosmetic Act (“Liquidia’s NDA”).

       5.      Liquidia is a corporation organized and existing under the laws of the State of

Delaware, with a principal place of business at 419 Davis Drive, Suite 100, Morrisville, NC 27560.

       6.      Upon information and belief based solely on paragraph 3 of the First Amended

Complaint, UTC is a corporation organized and existing under the laws of the State of Delaware

and having a place of business at 1040 Spring Street, Silver Spring, Maryland 20910.




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                                          JURISDICTION

        7.      Liquidia incorporates by reference paragraphs 1-6 of its Counterclaims above.

        8.      These counterclaims arise under the patent laws of the United States, Title 35,

United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

and 28 U.S.C. §§ 1331, 1338, 1367, and 2201-02.

        9.      UTC has consented to the personal jurisdiction of this Court at least by commencing

its action for patent infringement in this District, as set forth in its Complaint.

        10.     Based solely on the filing of this action, venue is proper in this District pursuant to

at least 28 U.S.C. § 1400(b).

             COUNT I – DECLARATION OF INVALIDITY OF THE ’066 PATENT

        11.     Liquidia incorporates by reference paragraphs 1-10 of its Counterclaims above.

        12.     UTC alleges ownership of U.S. Patent No. 9,593,066 (the ’066 patent”) and has

brought claims against Liquidia alleging infringement of the ʼ066 patent including under 35 U.S.C.

§ 271(e) based upon the submission of Liquidia’s NDA to the United States Food and Drug

Administration (“FDA”) seeking approval to engage in the commercial manufacture, use and/or

sale of LIQ861 (treprostinil) inhalation powder (the “Liquidia Product” or “LIQ861 Product”).

        13.     Based on the filing of UTC’s First Amended Complaint for patent infringement, an

actual controversy has arisen and now exists between the parties as to the validity the ’066 patent.

        14.     All asserted claims of the ’066 patent are invalid for failure to satisfy the conditions

of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to §§ 101, 102, 103, and/or

112.

        15.     By way of example only, all claims of the ’066 patent are invalid under §§ 102

and/or 103 at least over prior art PCT Application No. WO2005/007081 (“Phares”), alone or in

combination with the 2004 Journal of Organic Chemistry article entitled “The Intramolecular



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Asymmetric Pauson-Khand Cyclization as a Novel and General Stereoselective Route to

Benzindene Prostacyclins: Synthesis of UT-15 (Treprostinil)” by R.M. Moriarty, et al.

(“Moriarty”).

       16.      By way of example only, claims 1-7 of the ʼ066 patent are invalid under § 112 as

indefinite and lacking written description and enablement support at least with respect to

“impurities resulting from prior alkylation and hydrolysis steps,” and at least with respect to

“whereby the level of one or more impurities found in the starting batch of treprostinil is lower in

the pharmaceutical composition;”

       17.      By way of example only, at least claim 3 of the ’066 patent is invalid under § 112

as indefinite and lacking written description and enablement support for reciting only sodium,

potassium, and calcium, when sodium, potassium, and calcium on their own are not bases and are

instead counterions that result from treatment of the treprostinil acid with the corresponding bases.

       18.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Liquidia requests a declaration by the Court that the claims of the ’066 patent are invalid for failure

to comply with one or more of the conditions of patentability in 35 U.S.C. §§ 101 et seq., including,

but not limited to §§ 101, 102, 103, and/or 112.

    COUNT II – DECLARATION OF NON-INFRINGEMENT OF THE ’066 PATENT

       19.      Liquidia incorporates by reference paragraphs 1-18 of its Counterclaims above.

       20.      UTC alleges ownership of the ’066 patent and has brought claims against Liquidia

alleging infringement of the ’066 patent including under 35 U.S.C. § 271(e) based upon the

submission of Liquidia’s NDA to the FDA seeking approval to engage in the commercial

manufacture, use and/or sale of the Liquidia Product.

       21.      Based on the filing of UTC’s First Amended Complaint for patent infringement, an

actual controversy has arisen and now exists between the parties as to whether the manufacture,



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use, or sale of the Liquidia Product would infringe any valid and enforceable claim of the ’066

patent.

          22.   The manufacture, use, or sale of the Liquidia Product would not infringe any valid

and enforceable claim of the ’066 patent, either directly or indirectly.

          23.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Liquidia requests a declaration by the Court that the manufacture, use, or sale of the Liquidia

Product would not infringe any valid and enforceable claim of the ’066 patent.

           COUNT III – DECLARATION OF INVALIDITY OF THE ’901 PATENT

          24.   Liquidia incorporates by reference paragraphs 1-23 of its Counterclaims above.

          25.   UTC alleges ownership of U.S. Patent No. 9,604,901 (“the ’901 patent”) and has

brought claims against Liquidia alleging infringement of the ’901 patent including under 35 U.S.C.

§ 271(e) based upon the submission of Liquidia’s NDA to the FDA seeking approval to engage in

the commercial manufacture, use and/or sale of the Liquidia Product.

          26.   Based on the filing of UTC’s First Amended Complaint for patent infringement, an

actual controversy has arisen and now exists between the parties as to the validity of the ʼ901

patent.

          27.   All asserted claims of the ’901 patent are invalid for failure to satisfy the conditions

of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to §§ 101, 102, 103, and/or

112.

          28.   By way of example only, all claims of the ’901 patent are invalid under § 103 at

least over prior art Phares, alone or in combination with Moriarty.

          29.   By way of example only, all claims of the ʼ901 patent are invalid under § 112 as

indefinite and lacking written description and enablement support at least with respect to the

pharmaceutical batch consisting of “impurities.”



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          30.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Liquidia requests a declaration by the Court that the claims of the’901 patent are invalid for failure

to comply with one or more of the conditions of patentability in 35 U.S.C. §§ 101 et seq., including,

but not limited to §§ 101, 102, 103, and/or 112.

   COUNT IV – DECLARATION OF NON-INFRINGEMENT OF THE ’901 PATENT

          31.   Liquidia incorporates by reference paragraphs 1-30 of its Counterclaims above.

          32.   UTC alleges ownership of the ’901 patent and has brought claims against Liquidia

alleging infringement of the ’901 patent including under 35 U.S.C. § 271(e) based upon the

submission of Liquidia’s NDA to the FDA seeking approval to engage in the commercial

manufacture, use and/or sale of the Liquidia Product.

          33.   Based on the filing of UTC’s First Amended Complaint for patent infringement, an

actual controversy has arisen and now exists between the parties as to whether the manufacture,

use, or sale of the Liquidia Product would infringe any valid and enforceable claim of the ’901

patent.

          34.   The manufacture, use, or sale of the Liquidia Product would not infringe any valid

and enforceable claim of the ’901 patent, either directly or indirectly.

          35.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Liquidia requests a declaration by the Court that the manufacture, use, or sale of the Liquidia

Product would not infringe any valid and enforceable claim of the ’901 patent.

           COUNT V – DECLARATION OF INVALIDITY OF THE ’793 PATENT

          36.   Liquidia incorporates by reference paragraphs 1-35 of its Counterclaims above.

          37.   UTC alleges ownership of U.S. Patent No. 10,716,793 (“the ’793 patent”) and has

brought claims against Liquidia alleging infringement of the ’793 patent including under 35 U.S.C.

§ 271(e) based upon the submission of Liquidia’s NDA to the FDA seeking approval to engage in



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the commercial manufacture, use and/or sale of the Liquidia Product.

          38.   Based on the filing of UTC’s First Amended Complaint for patent infringement, an

actual controversy has arisen and now exists between the parties as to the validity of the ʼ793

patent.

          39.   All asserted claims of the ’793 patent are invalid for failure to satisfy the conditions

of patentability in 35 U.S.C. §§ 101 et seq., including, but not limited to §§ 101, 102, 103, and/or

112, and are invalid for obviousness-type double patenting.

          40.   By way of example only, the claims of the ʼ793 patent are invalid under §§ 102

and/or 103 at least over Plaintiff’s prior art patents and publications, including U.S. Patent Nos.

6,756,033 and 6,521,212, disclosing methods for treating pulmonary hypertension by

administering a single event dose of a 15 to 90 microgram inhalation formulation of treprostinil,

including liquid and powder formulations of treprostinil, in 1 to 3 breaths.

          41.   By way of example only, at least claims 1, 4, and 6-8 of the ʼ793 patent are invalid

under § 112 as indefinite and lacking written description and enablement support at least with

respect to administration of a “powder.”

          42.   By way of example only, the claims of the ʼ793 patent are invalid for obviousness-

type double patenting over Plaintiff’s prior issued patents, including U.S. Patent Nos. 6,756,033

and 6,521,212, disclosing and claiming methods for treating pulmonary hypertension by

administering a single event dose of a 15 to 90 microgram inhalation formulation of treprostinil,

including liquid and powder formulations of treprostinil, in 1 to 3 breaths.

          43.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Liquidia requests a declaration by the Court that the claims of the’793 patent are invalid for failure

to comply with one or more of the conditions of patentability in 35 U.S.C. §§ 101 et seq., including,




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but not limited to §§ 101, 102, 103, and/or 112, and are invalid for obviousness-type double

patenting.

   COUNT VI – DECLARATION OF NON-INFRINGEMENT OF THE ’793 PATENT

          44.   Liquidia incorporates by reference paragraphs 1-43 of its Counterclaims above.

          45.   UTC alleges ownership of the ’793 patent and has brought claims against Liquidia

alleging infringement of the ’793 patent including under 35 U.S.C. § 271(e) based upon the

submission of Liquidia’s NDA to the FDA seeking approval to engage in the commercial

manufacture, use and/or sale of the Liquidia Product..

          46.   Based on the filing of UTC’s First Amended Complaint for patent infringement, an

actual controversy has arisen and now exists between the parties as to whether the manufacture,

use, or sale of the Liquidia Product would infringe any valid and enforceable claim of the ’793

patent.

          47.   The manufacture, use, or sale of the Liquidia Product would not infringe any valid

and enforceable claim of the ’793 patent, either directly or indirectly.

          48.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Liquidia requests a declaration by the Court that the manufacture, use, or sale of the Liquidia

Product would not infringe any valid and enforceable claim of the ’793 patent.

             COUNT VII – IMPROPER PATENT LISTING OF THE ’066 PATENT

          49.   Liquidia incorporates by reference paragraphs 1-48 of its Counterclaims above.

          50.   Upon information and belief, UTC, as the holder of New Drug Application No.

022387, caused the ’066 patent to be listed in the FDA’s Approved Drug Products with Therapeutic

Equivalence Evaluations publication (“Orange Book”) for TYVASO® Treprostinil Inhalation

Solution 0.6mg/ml.

          51.   The Orange Book is a publication disseminated by the FDA containing, inter alia,



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a listing of patents that purportedly claim drug products that have been approved for use by the

FDA.

       52.     At the time it submitted its NDA seeking approval to market the Liquidia Product,

Liquidia was required by statute to submit a certification as to the ’066 patent because it is listed

in the Orange Book for drug substance TYVASO® Treprostinil Inhalation Solution 0.6mg/ml.

       53.     Liquidia submitted a Paragraph IV certification with respect to the ’066 patent

under 21 U.S.C. § 355(b)(2) as part of its NDA, because Liquidia believes that the Liquidia Product

would not infringe the ’066 patent and/or that the ’066 patent is invalid and/or unenforceable.

       54.     Liquidia was required to provide UTC with notice that it had filed its NDA with a

Paragraph IV certification as to the ’066 patent.

       55.     After receiving that notice, UTC instituted this action, suing Liquidia for alleged

infringement of the ’066 patent.

       56.     Because UTC has instituted this action for alleged infringement of patents listed in

the Orange Book, FDA approval of Liquidia’s NDA is stayed for the shorter of 30 months from

the date UTC received notice of Liquidia’s Paragraph IV certification or the dismissal of this case.

       57.     Pursuant to 21 C.F.R. § 314.53(b)(1), a patent containing only process claims may

not be listed in the Orange Book.

       58.     Pursuant to 21 C.F.R. § 314.53(c)(2)(i)(L) and 21 C.F.R. § 314.53(c)(2)(ii)(M), a

patent containing only product-by-process claims or a combination of process and product-by-

process claims may only be listed in the Orange Book if one or more of the products claimed in

the product-by-process claims is novel.

       59.     Upon information and belief, UTC certified to the FDA that the ’066 patent is a

product-by-process patent, and that the product claimed in the ’066 patent is novel, resulting in the




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listing of the ʼ066 patent in the Orange Book.

       60.      The claims of the ’066 patent are all process or product-by-process claims. Claims

1 and 8 of the ʼ066 patent are independent claims. Claims 8 and 10 of the ’066 patent are process

claims. The remaining eight claims of the ’066 patent are product-by-process claims.

       61.      Claim 1 of the ’066 patent recites “[a] pharmaceutical composition comprising

treprostinil or a pharmaceutically acceptable salt thereof, said composition prepared by a process

comprising” several steps.

       62.      Claim 8 of the ’066 patent recites “[a] process of preparing a pharmaceutical

product comprising treprostinil or a pharmaceutically acceptable salt thereof.”

       63.      PCT Application No. WO2005/007081 (“Phares”) is titled “Compounds and

Methods for Delivery of Prostacyclin Analogs.” The named inventors are Ken Phares and David

Mottola. Phares was published January 27, 2005, more than two years before the earliest U.S.

application to which the ’066 patent can claim priority. Phares describes “compounds and methods

for inducing prostacyclin-like effects in a subject or patient,” including treprostinil and derivatives

thereof.

       64.      The article titled “The Intramolecular Asymmetric Pauson-Khand Cyclization as a

Novel and General Stereoselective Route to Benzindene Prostacyclins: Synthesis of UT-15

(Treprostinil)” was authored by R.M. Moriarty, et al. (“Moriarty”). It was published in 2004 in

the Journal of Organic Chemistry, Volume 69, No. 6, pp. 1890-1902, more than two years before

the earliest U.S. application to which the ’066 patent can claim priority.

       65.      The product of the ’066 patent is not novel because a pharmaceutical batch

comprising treprostinil as claimed in the ʼ066 patent was disclosed in the prior art, including Phares

and Moriarty.




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       66.       UTC listed the ʼ066 patent in the Orange Book on March 14, 2017. On March 31,

2017, UTC was made aware that the product claimed in the ʼ066 patent was not novel, as the Patent

Trial and Appeal Board issued its Final Written Decision in IPR2016-00006 involving UTC’s U.S.

Patent No. 8,497,393, finding that the product claimed in the ʼ393 patent was not novel over the

prior art. That decision was affirmed by the Federal Circuit. The ʼ393 and ʼ066 patents share the

same specifications and disclose and claim the same product.

       67.       UTC improperly listed the ’066 patent in the Orange Book for TYVASO® because

the ’066 patent only consists of process claims and product-by-process claims directed to a non-

novel product.

       68.       UTC has knowingly maintained the improper listing of the ʼ066 patent in the

Orange Book.

       69.       FDA approval of the Liquidia Product should not be delayed as a result of the

improper listing of the ’066 patent.

       70.       Pursuant to 21 U.S.C. § 355(j)(5)(C)(ii), UTC should be ordered to delete or delist

the ’066 patent from the Orange Book’s listing for TYVASO®.

         COUNT VIII – IMPROPER PATENT LISTING OF THE ’901 PATENT

       71.       Liquidia incorporates by reference paragraphs 1-70 of its Counterclaims above.

       72.       Upon information and belief, UTC, as the holder of New Drug Application No.

022387, caused the ’901 patent to be listed in the Orange Book for TYVASO® Treprostinil

Inhalation Solution 0.6mg/ml.

       73.       The Orange Book is a publication disseminated by the FDA containing, inter alia,

a listing of patents that purportedly claim drug products that have been approved for use by the

FDA.

       74.       At the time it submitted its NDA seeking approval to market the Liquidia Product,



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Liquidia was required by statute to submit a certification as to the ’901 patent because it is listed

in the Orange Book for drug substance TYVASO® Treprostinil Inhalation Solution 0.6mg/ml.

       75.     Liquidia submitted a Paragraph IV certification with respect to the ’901 patent

under 21 U.S.C. § 355(b)(2) as part of its NDA, because Liquidia believes the Liquidia Product

would not infringe the ’901 patent and/or that the ’901 patent is invalid and/or unenforceable.

       76.     Liquidia was required to provide UTC with notice that it had filed its NDA with a

Paragraph IV certification as to the ’901 patent.

       77.     Upon receiving that notice, UTC instituted this action, suing Liquidia for alleged

infringement of the ’901 patent.

       78.     Pursuant to 21 C.F.R. § 314.53(b)(1), a patent containing only process claims may

not be listed in the Orange Book.

       79.     Pursuant to 21 C.F.R. § 314.53(c)(2)(i)(L) and 21 C.F.R. § 314.53(c)(2)(ii)(M), a

patent containing only product-by-process claims or a combination of process and product-by-

process claims may only be listed in the Orange Book if one or more of the products claimed in

the product-by-process claims is novel.

       80.     Upon information and belief, UTC certified to the FDA that the ’901 patent is a

product-by-process patent, and that the product claimed in the ’901 patent is novel, resulting in the

ʼ901 patent being listed in the Orange Book.

       81.     The claims of the ’901 patent are all process or product-by-process claims. Claim

1 is the sole independent claim. Claims 1, 2, 3, 4, and 5 of the ’901 patent are product-by-process

claims. Claims 6, 7, 8 and 9 of the ’901 patent are process claims.

       82.     Claim 1 of the ’901 patent recites “[a] A pharmaceutical batch consisting of

treprostinil or a salt thereof and impurities resulting from” several process steps of “(a) alkylating




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a benzindene triol, (b) hydrolyzing the product of step (a) to form a solution comprising

treprostinil, (c) containing the solution comprising treprostinil from step (b) with a base to form a

salt of treprostinil, (d) isolating the salt of treprostinil, and (e) optionally reacting the salt of

treprostinil with an acid to form treprostinil.” Claims 2, 3, 4, and 5 recite products that depend

from claim 1.

       83.      Claims 6 and 8 of the ’901 patent recite “[a] method of preparing a pharmaceutical

product from a pharmaceutical batch as claimed in claim 1” and “[a] method of preparing a

pharmaceutical batch as claimed in claim 1.” Claims 7 and 9 depend from claims 6 and 8,

respectively.

       84.      PCT Application No. WO2005/007081 (“Phares”) is titled “Compounds and

Methods for Delivery of Prostacyclin Analogs.” The named inventors are Ken Phares and David

Mottola. Phares was published January 27, 2005, more than two years before the earliest U.S.

application to which the ’901 patent can claim priority. Phares describes “compounds and methods

for inducing prostacyclin-like effects in a subject or patient,” including treprostinil and derivatives

thereof.

       85.      The article titled “The Intramolecular Asymmetric Pauson-Khand Cyclization as a

Novel and General Stereoselective Route to Benzindene Prostacyclins: Synthesis of UT-15

(Treprostinil)” was authored by R.M. Moriarty, et al. (“Moriarty”). It was published in 2004 in

the Journal of Organic Chemistry, Volume 69, No. 6, pp. 1890-1902, more than two years before

the earliest U.S. application to which the ’901 patent can claim priority.

       86.      The product of the ’901 patent is not novel because a pharmaceutical batch

consisting of treprostinil as claimed in the ʼ901 patent was disclosed in the prior art, including

Phares and Moriarty.




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       87.       UTC listed the ʼ901 patent in the Orange Book on March 28, 2017. On March 31,

2017, UTC was made aware that the product claimed in the ʼ901 patent was not novel, as the Patent

Trial and Appeal Board issued its Final Written Decision in IPR2016-00006 involving UTC’s U.S.

Patent No. 8,497,393, finding that the product claimed in the ʼ393 patent was not novel over the

prior art. That decision was affirmed by the Federal Circuit. The ʼ393 and ʼ901 patents share the

same specifications and disclose and claim the same product.

       88.       UTC improperly listed the ’901 patent in the Orange Book for TYVASO® because

the ’901 patent only consists of process claims and product-by-process claims directed to a non-

novel product.

       89.       UTC has knowingly maintained the improper listing of the ʼ901 patent in the

Orange Book.

       90.       FDA approval of the Liquidia Product should not be delayed as a result of the

improper listing of the ’901 patent.

       91.       Pursuant to 21 U.S.C. § 355(j)(5)(C)(ii), UTC should be ordered to delete or delist

the ’901 patent from the Orange Book’s listing for TYVASO®.


                                       PRAYER FOR RELIEF

WHEREFORE, Liquidia prays that this Court grant the following relief:

       A.        A judgment dismissing UTC’s First Amended Complaint, in its entirety, with

                 prejudice;

       B.        A judgment declaring that all asserted claims of the ’066, ’901 and ’793 patents are

                 invalid;

       C.        A judgment declaring that the Liquidia Product has not directly or indirectly

                 infringed, and is not now directly or indirectly infringing, any valid and enforceable




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             claim of the ’066, ’901 and ’793 patents under any subsection of 35 U.S.C. § 271;

      D.     An order directing UTC to delete or delist the ’066, ’901 and ’793 patents from the

             Orange Book;

      E.     An order enjoining UTC, their officers, agents, servant, employees, attorneys, and

             representatives and any successors and assigns thereof, from charging or asserting

             infringement of any claim of the ’066, ’901 and ’793 patents against Liquidia, or

             anyone in privy with Liquidia;

      F.     A judgment declaring that this case stands out from others and as such is an

             exceptional case pursuant to 35 U.S.C. § 285 and ordering UTC to pay Liquidia’s

             costs and reasonable attorneys’ fees incurred in this action;

      G.     An award of costs and expense in this action to Liquidia; and

      H.     Such further and other relief as the Court deems just and proper.




                                                       /s/ Jeff Castellano
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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

UNITED THERAPEUTICS                    )
CORPORATION,                           )
                                       )
                  Plaintiff,           )
                                       )
      v.                               ) C.A. No. 20-755 (RGA)
                                       )
LIQUIDIA TECHNOLOGIES, INC.,           )
                                       )
                  Defendant.           )



              PLAINTIFF’S OPENING BRIEF IN SUPPORT OF ITS
             MOTION TO DISMISS DEFENDANT’S COUNTERCLAIM


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       Plaintiff United Therapeutics Corporation (“UT”) moves under Fed. R. Civ. P. 12(b)(6),

or, alternatively, under Fed. R. Civ. P. 12(b)(1), to dismiss Defendant Liquidia Technologies,

Inc.’s (“Liquidia”) counterclaim for a declaration of invalidity of U.S. Patent No. 10,716,793 (the

“’793 patent”) and related defenses (see D.I. 23 at pp. 10-11, 16-18) under the doctrine of assignor

estoppel.

I.     NATURE AND STAGE OF PROCEEDINGS

       On June 4, 2020, UT filed a complaint for patent infringement (“Complaint”) against

Liquidia based on the notice of paragraph IV certification letter that UT received from Liquidia on

or about April 27, 2020. D.I. 1 ¶¶ 18-19. UT amended its Complaint on July 22, 2020 to add

infringement claims for the newly issued ’793 patent. D.I. 16. On August 5, 2020, Liquidia filed

an Answer to the Amended Complaint and Counterclaims. D.I. 23.

II.    SUMMARY OF THE ARGUMENT

       Assignor estoppel bars Liquidia from asserting that the ’793 patent is invalid because Dr.

Robert Roscigno, a named inventor on the ’793 patent who assigned his rights in the patent to UT,

is in privity with Liquidia by virtue of his role as Liquidia’s Senior Vice President, Product

Development and his substantial equity interest in Liquidia. Assignor estoppel is “an equitable

doctrine that prevents one who has assigned the rights to a patent (or patent application) from later

contending that what was assigned is a nullity … [and] operates to bar other parties in privity with

the assignor….” Diamond Sci. Co. v. Ambico, Inc., 848 F.2d 1220, 1224 (Fed. Cir. 1988). This

case presents the classic assignor estoppel scenario.

       The Court should dismiss Liquidia’s invalidity counterclaims and defenses directed to the

’793 patent under Federal Rule of Civil Procedure 12(b)(6). In the alternative, if the Court chooses

not to take judicial notice of the additional facts that demonstrate assignor estoppel for the motion



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to dismiss under Rule 12(b)(6), UT requests the Court to dismiss the counterclaims directed to

invalidity of the ’793 patent under Federal Rule of Civil Procedure 12(b)(1), which permits the

Court to look outside the pleadings and dismiss a claim for lack of subject matter jurisdiction if

the claim is insubstantial, implausible, or frivolous. Here, in light of the assignor estoppel doctrine,

it is plain that Liquidia will never be able to prevail on its assertion that the ’793 patent is invalid,

and its counterclaim and defense to that effect should be dismissed.

III.    STATEMENT OF FACTS

        On June 4, 2020, UT filed a complaint for patent infringement against Liquidia based on

the notice of paragraph IV certification letter that UT received from Liquidia on or about April 27,

2020. D.I. 1 ¶¶ 18-19. Liquidia seeks to obtain FDA approval and market its infringing product

prior to patent expiration for UT’s product, Tyvaso® (treprostinil) Inhalation Solution. Id. ¶¶ 2, 18-

20. Because UT filed the Complaint within 45 days after receipt of Liquidia’s notice letter, FDA

will stay approval of Liquidia’s infringing product for 30 months until October 24, 2022. See id.

¶ 21; D.I. 20, Ex. A at 2. Liquidia requested an extension to answer the Complaint and answered

the Complaint and asserted counterclaims against UT on July 16, 2020. D.I. 11.

        On July 21, 2020, the United States Patent & Trademark Office (“USPTO”) issued the ’793

patent to UT. D.I. 16-1, Ex. C. The ’793 patent lists seven inventors, including Dr. Robert

Roscigno. Id. Dr. Roscigno, along with all the other co-inventors of the ’793 patent, assigned his

interest in the ’793 patent to UT. Id.; see also RJN No. 1 at REEL: 021148 FRAME: 005.1

Specifically, Dr. Roscigno assigned all his interest in the parent application of the ’793 patent,

U.S. Patent Application No. 11/748,205, to UT on June 18, 2007. RJN No. 1 at REEL: 021148




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 RJN Nos. 1-9 are documents included with UT’s Motion for Judicial Notice and the Declaration
of Joshua Mack, filed concurrently with this Motion to Dismiss.

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FRAME: 005. Accordingly, the ’793 patent is assigned to UT, as is shown on the face of the patent.

D.I. 16-1, Ex. C.; see also D.I. 16 ¶ 18. The day after the ’793 patent issued, UT filed its First

Amended Complaint, alleging that Liquidia’s product also infringes claims of that patent. See

generally D.I. 16 ¶¶ 69-83.

       On August 5, 2020, Liquidia filed an Answer to the Amended Complaint and

Counterclaims. D.I. 23. Included in the Answer and Counterclaims are allegations by Liquidia that

the ’793 patent is invalid. Liquidia alleges that “[o]ne or more claims of the ’066, ’901, and ’793

patents are invalid for failure to satisfy the conditions of patentability in 35 U.S.C. §§ 101 et seq.,

including, but not limited to §§ 101, 102, 103, and/or 112.” Id. at p. 10. Liquidia specifically

alleges:

               the claims of the ʼ793 patent are invalid under §§ 102 and/or 103 at least
               over Plaintiff’s prior art patents and publications, including U.S. Patent Nos.
               6,756,033 and 6,521,212, disclosing methods for treating pulmonary
               hypertension by administering a single event dose of a 15 to 90 microgram
               inhalation formulation of treprostinil, including liquid and powder
               formulations of treprostinil, in 1 to 3 breaths; (7) at least claims 1, 4, and
               6-8 of the ʼ793 patent are invalid under § 112 as indefinite and lacking
               written description and enablement support at least with respect to
               administration of a “powder”; and (8) the claims of the ʼ793 patent are
               invalid for obviousness-type double patenting over Plaintiff’s prior
               issued patents, including U.S. Patent Nos. 6,756,033 and 6,521,212,
               disclosing and claiming methods for treating pulmonary hypertension by
               administering a single event dose of a 15 to 90 microgram inhalation
               formulation of treprostinil, including liquid and powder formulations of
               treprostinil, in 1 to 3 breaths.

Id. at pp. 10-11 (emphasis added). Liquidia’s Answer and Counterclaims to the Amended

Complaint further requests a declaratory judgment that the ’793 patent is invalid. Id. at pp. 16-18,

24.

       Dr. Robert Roscigno was once the President and Chief Operating Officer at Lung Rx., Inc.,

a wholly owned subsidiary of Plaintiff United Therapeutics Corporation (“UT”) and instrumental

in the development of a UT product, Tyvaso® (treprostinil) Inhalation Solution (“Tyvaso®”). In


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connection with that work, Dr. Roscigno is a listed inventor on a number of patents related to

Tyvaso®, including the ’793 patent. As an employee of Lung Rx, Dr. Roscigno assigned to UT his

ownership in the ’793 patent. Dr. Roscigno switched teams and until quite recently was the Senior

Vice President, Product Development for Liquidia with a significant equity interest in Liquidia.2

E.g., RJN No. 3 at 6 (listing Dr. Roscigno as Liquidia’s Senior Vice President, Product

Development). Liquidia charged Dr. Roscigno with developing the accused product in this case,

a product intended to directly compete with Tyvaso® and piggyback on Tyvaso®’s FDA approval.

In the public stock offering prospectus issued by Liquidia on March 20, 2019 (the “Prospectus”),

Liquidia describes the role of Dr. Roscigno at Liquidia and also references his work at UT on

Tyvaso®:

               Dr. Robert Roscigno[] previously served as the executive vice president of
               GeNO, LLC, where he led the clinical development team working on a
               novel nitric oxide delivery system, and before that he served as the
               president and chief operating officer of Lung Rx, Inc., where he was
               part of the team responsible for bringing Tyvaso through Phase 3
               development, and he previously served in multiple leadership positions at
               United Therapeutics and its subsidiaries, contributing to the successful
               development and worldwide commercialization of Remodulin™, which is
               treprostinil administered through subcutaneous or intravenous infusion, for
               the treatment of PAH.

Id. (emphasis added). The Prospectus further describes the role of Dr. Roscigno at both UT and

Liquidia:

               Dr. Robert Roscigno has been our Senior Vice President, Product
               Development since December 2017. He served as our Senior Vice
               President, Research and Development from March 2016 until


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  Public sources indicate that Dr. Roscigno remains a Liquidia employee, but in preparing the letter
filed with the Court on August 21, 2020 (D.I. 26), Liquidia stated that Dr. Roscigno is no longer
employed at Liquidia. For this motion, this is irrelevant for two reasons. First, that purported fact
is not part of the record. Second, even assuming that Dr. Roscigno has departed, assignor estoppel
is an equitable doctrine, and Liquidia cannot escape the consequences of leveraging the benefits
of Dr. Roscigno’s expertise to design and develop its product by terminating his employment on
the eve of anticipated approval.

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               December 2017 and our Vice President, Research and Development
               from September 2015 until March 2016. From January 2009 to
               September 2015, Dr. Roscigno served as the executive vice president,
               global clinical affairs of GeNO, LLC, a pharmaceutical company in the field
               of inhaled nitric oxide drug products. From July 2007 to January 2009, Dr.
               Roscigno provided scientific consulting for various companies in the
               pharmaceutical industry and also worked as a subject matter expert in PAH.
               From March 2005 to July 2007, Dr. Roscigno was the president and
               chief operations officer of Lung Rx, Inc., a subsidiary of United
               Therapeutics Corporation. Prior to Lung Rx, Inc., Dr. Roscigno served
               in multiple leadership positions at United Therapeutics Corporation.
               Dr. Roscigno graduated from Trinity College with a Bachelor of Science in
               Biology. He also holds a Doctor of Philosophy in Cell and Molecular
               Biology from Duke University.

Id. at 130 (emphasis added). In fact, despite only starting at Liquidia in September 2015, Liquidia

filed a patent application on May 5, 2016, directed to the use of dry powder treprostinil to treat

pulmonary hypertension that listed Dr. Roscigno as an inventor. See id.; RJN No. 9. By October

2016, Dr. Roscigno and Liquidia had successfully conducted a toxicity study of the infringing

product, LIQ861. RJN No. 8 at 99. And by March 2017, Dr. Roscigno and Liquidia had

successfully completed a Phase 1 trial of the infringing product in 57 healthy volunteers. Id. at 88.

       The Prospectus also describes a substantial Liquidia stock grant to Dr. Roscigno:

               On March 7, 2018, we granted incentive stock options to purchase shares of
               our common stock under the 2016 Plan, with an exercise price equal to
               $9.31 per share, to each of the following officers . . . Dr. Robert Roscigno,
               our Senior Vice President, Product Development, for 35,656 shares . . . .

RJN No. 3 at 145. Indeed, Liquidia’s S-1 Registration Statement, S-3 and S-4 Statements disclose

the significant interest that Dr. Roscigno owns in Liquidia. RJN No. 2 (disclosing the award of

33,333 stock options to Dr. Roscigno, and the award of 8,333 restricted stock units); RJN No. 5

(disclosing the award of 36,000 stock options to Dr. Roscigno); RJN No. 7 (disclosing the award

of 25,553 stock options to Dr. Roscigno on September 28, 2016, and the award of 35,656 stock

options on March 7, 2019).




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       In Liquidia’s 8-K, dated March 8, 2019, Liquidia included Phase 1 results for LIQ861,

which were described as being presented as a poster at the PVRI Annual World Congress in

January 2018 by Dr. Roscigno. RJN. No. 4 at 13.

       Liquidia’s 8-K, dated January 7, 2019, listed Dr. Roscigno as part of Liquidia’s “[s]easoned

team with relevant commercial and disease area expertise.” RJN No. 6 at 8. That 8-K included an

extended quote from Dr. Roscigno:

                “Patient demographics and baseline characteristics in the trial suggest that
                LIQ861 may be attractive across disease severity and may have utility as a
                first-line prostacyclin,” added Robert Roscigno, PhD, Liquidia’s Senior
                Vice President of Product Development and LIQ861 Program Lead.
                “Interestingly, enrollment of the safety portion of the trial was driven
                primarily by stronger than anticipated interest from New York Heart
                Association Functional Class II add-on patients, which may imply that dry-
                powder delivery could be an alternative to oral delivery in prostacyclin
                naïve patients. We are pleased with these findings and believe they support
                the therapeutic potential and versatility of LIQ861 among patients across
                different functional classes.”

Id. at 35-36.

IV.    ARGUMENT

       A.       Legal Standards

       Under Federal Rule of Civil Procedure 12(b)(6), a counterclaim can be dismissed if it fails

“to state a claim upon which relief can be granted.” In determining whether to dismiss a

counterclaim under Rule 12(b)(6), the Court accepts the non-movant’s factual statements in the

counterclaim as true and determines whether the counterclaimant can make a “plausible claim for

relief.” XpertUniverse, Inc. v. Cisco Sys., Inc., 868 F. Supp. 2d 376, 378-79 (D. Del. 2012) (citation

omitted).

       Assignor estoppel is “an equitable doctrine that prevents one who has assigned the rights

to a patent (or patent application) from later contending that what was assigned is a nullity . . .

[and] operates to bar other parties in privity with the assignor, such as a corporation founded by


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the assignor.” Diamond Sci., 848 F.2d at 1224. The Federal Circuit explained that assignor estoppel

prevents “an injustice against the assignee to allow the assignor to make that representation at the

time of the assignment (to his advantage) and later to repudiate it (again to his advantage).”

Hologic, Inc. v. Minerva Surgical, Inc., 957 F.3d 1256, 1265 (Fed. Cir. 2020) (quoting Diamond

Sci., 848 F.2d at 1224) (internal quotations omitted).

       For assignor estoppel to apply, Dr. Roscigno—who assigned his interest in the ’793

patent—needs to be in privity with Liquidia, the party challenging the patent. Id. The Federal

Circuit identified factors to consider when determining whether privity exists for assignor estoppel

in Shamrock Technologies, Inc. v. Medical Sterilization, Inc., 903 F.2d 789 (Fed. Cir. 1990):

               (1) the assignor’s leadership role at the new employer; (2) the assignor’s
               ownership stake in the defendant company; (3) whether the defendant
               company changed course from manufacturing non-infringing goods to
               infringing activity after the inventor was hired; (4) the assignor’s role in the
               infringing activities; (5) whether the inventor was hired to start the
               infringing operations; (6) whether the decision to manufacture the
               infringing product was made partly by the inventor; (7) whether the
               defendant company began manufacturing the accused product shortly after
               hiring the assignor; and (8) whether the inventor was in charge of the
               infringing operation.

Mag Aerospace Indus., Inc. v. B/E Aerospace, Inc., 816 F.3d 1374, 1380 (Fed. Cir. 2016) (citing

Shamrock); see also Shamrock Techs., 903 F.2d at 794 (finding privity between employer and

inventor hired as Vice President with responsibilities for developing accused product); Juniper

Networks, Inc. v. Palo Alto Networks, Inc., 15 F. Supp. 3d 499, 508 (D. Del. 2014) (finding privity

between employer and employee granted title of “founder”).

       Further, privity exists between an assigning inventor and a party infringing a patent when

“the ultimate infringer availed itself of the inventor’s ‘knowledge and assistance’ to conduct

infringement.” Intel Corp. v. U.S. Int’l Trade Comm’n, 946 F.2d 821, 839 (Fed. Cir. 1991) (quoting

Shamrock Techs., 903 F.2d at 794). Indeed, even consultants or contractors will be found to be in



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privity with the infringer when that consultant or contractor plays a “significant role” in the

infringing product. BASF Corp. v. Aristo Inc., 872 F. Supp. 2d 758, 776 (N.D. Ind. 2012); Leading

Tech. Composites v. MV2, LLC, No. CCB-19-1256, 2020 WL 790601, at *4 (D. Md. Feb. 18,

2020) (finding privity and, thus, assignor estoppel between accused infringer and its “contractor”

where the accused infringer “availed itself of [the contractor’s] knowledge and assistance to

conduct the allegedly infringing operations.”). The “critical time” to look at to determine privity

is when the infringing product was developed. Intel, 946 F.2d at 839 (quoting determination of

ALJ).

        The ’793 Patent is identified in and attached as an exhibit to the First Amended Complaint.

D.I. 16; D.I. 16-1, Ex. C. As such, it is appropriate for the Court to rely on the patent when ruling

on a motion to dismiss. E.g., Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007).

Courts can also take judicial notice of other documents that are matters of public record, like filings

with the USPTO. See Kos Pharm., Inc. v. Andrx Corp., 369 F.3d 700, 705 n.5 (3d Cir. 2004)

(taking judicial notice of public records available on the USPTO and FDA websites); HTC Corp.

v. IPCom GmbH & Co., 671 F. Supp. 2d 146, 150 n.3 (D.D.C. 2009) (“The Court takes judicial

notice of the PTO pleadings. A court may take judicial notice of court documents and other public

records.”); see also In re Wellbutrin SR/Zyban Antitrust Litig., 281 F. Supp. 2d 751, 754 n.2 (E.D.

Pa. 2003) (taking judicial notice of information from FDA website). Accordingly, the Court can

take judicial notice of patent assignments. E.g., Port-A-Pour, Inc. v. Peak Innovations, Inc., No.

13-cv-01511-WYD-BNB, 2015 WL 292913, at *2 (D. Colo. Jan. 20, 2015); see also Wells v.

Kessler Corp., No. 17-cv-02709-AGF, 2018 WL 1251928, at *3 (E.D. Mo. Mar. 12, 2018) (taking

judicial notice of USPTO records).




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       Similarly, the Court can take judicial notice of a company’s filings with the SEC. Schmidt

v. Skolas, 770 F.3d 241, 249 (3d Cir. 2014); Oran v. Stafford, 226 F.3d 275, 289 (3d Cir. 2000)

(taking judicial notice of SEC filings); In re NAHC, Inc. Sec. Litig., 306 F.3d 1314, 1331 (3d Cir.

2002) (noting that the court may consider on a motion to dismiss documents filed with the SEC).

Indeed, when a litigant cannot reasonably dispute a fact, it is appropriate for the court to take

judicial notice of that fact. See, e.g., LifeScan Scotland, Ltd. v. Shasta Tech, LLC, No. 11-cv-04494

EJD, 2012 WL 2979028, at *6 n.1 (N.D. Cal. July 19, 2012) (“[I]n their objection to LifeScan’s

request for judicial notice, Instacare and Pharmatech object generally to its SEC filings, websites,

and press releases being used to prove the truth of the statements they contain as hearsay. . . . As

a party to this action, Instacare’s admissions are not hearsay.”).

       Alternatively, “frivolous claims may also be dismissed under [Rule] 12(b)(1) on

jurisdictional grounds so long as jurisdictional dismissals for frivolousness are confined to cases

that are very plain.” Lamson v. U.S., 101 Fed. Cl. 280, 287 n.6 (Fed. Cl. 2011) (internal quotations

omitted, citations omitted). Indeed, the Supreme Court has held that dismissing a claim for lack of

subject matter jurisdiction is appropriate “when the claim is so insubstantial, implausible,

foreclosed by prior decisions of this Court, or otherwise completely devoid of merit as not to

involve a federal controversy.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 89 (1998)

(quoting Oneida Indian Nation of N.Y. v. Cnty. of Oneida, 414 U.S. 661, 666 (1974) (internal

quotations omitted)). “‘[W]holly insubstantial and frivolous’ claims do not merit federal

jurisdiction. A ‘question may be plainly unsubstantial ... because it is obviously without merit.’”

Hunter Douglas, Inc. v. Harmonic Design, Inc., 153 F.3d 1318, 1328 (Fed. Cir. 1998) (citations

omitted).




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       B.      Liquidia’s Invalidity Counterclaim and Defense Should be Dismissed for
               Failure to State a Claim under Rule 12(b)(6)

       It is beyond dispute that (a) Dr. Roscigno is one of the ’793 patent named inventors, and

(b) Dr. Roscigno assigned all his rights in the patent to UT. The only issue is whether Liquidia is

in privity with Dr. Roscigno such that assignor estoppel also bars Liquidia from challenging the

validity of the ’793 patent. Liquidia is, in fact, in privity with Dr. Roscigno given his pivotal role

in developing Liquidia’s product intended to compete with Tyvaso®, his executive-level position,

and his substantial equity stake in Liquidia.

       As Liquidia’s securities filings state, Dr. Roscigno is Liquidia’s Senior Vice President,

Product Development, or at least was until days ago. RJN No. 3 at 6; see supra n.2. Liquidia’s

SEC filings tout Dr. Roscigno’s previous experience with treprostinil while at UT. Id. (stating that

Dr. Roscigno “served as the president and chief operating officer of Lung Rx, Inc., where he was

part of the team responsible for bringing Tyvaso® through Phase 3 development”). Indeed, by

publicly disclosing Dr. Roscigno as one of the company’s executive officers under federal

securities law, Liquidia represented that Dr. Roscigno was an “officer who performs a policy

making function or any other person who performs similar policy making functions for the

registrant.” 17 C.F.R. § 240.3b-7; see also RJN Nos. 2 & 5 (SEC Form 4 submissions identifying

Dr. Roscigno in Box 5 as a Liquidia “officer”); RJN No. 3 at 129-130 (listing Dr. Roscigno as one

of Liquidia’s six “executive officers.”).

       Liquidia’s emphasis on Dr. Roscigno’s prior experience with Tyvaso® at UT is not

surprising because it dovetails with his vital role in developing a competing product for Liquidia.

Dr. Roscigno is described by Liquidia as the “LIQ861 Program Lead,” which is the infringing

product in this action. Liquidia filed a patent application, naming Dr. Roscigno as an inventor, that

is directed to dry powder treprostinil to treat pulmonary hypertension within eight months of Dr.



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Roscigno’s start at Liquidia. RJN No. 9. Five months after filing this patent application, in October

2016, Dr. Roscigno and Liquidia successfully conducted a preclinical study of infringing product

LIQ861. RJN No. 8 at 99. And by March 2017, Dr. Roscigno and Liquidia had successfully

completed a Phase 1 trial of the infringing product in 57 healthy volunteers. Id. at 88. Indeed, Dr.

Roscigno presented the results of the Phase 1 trial of the infringing product at a scientific

conference. RJN No. 4 at 13; RJN No. 8 at 88. Thus, Liquidia made Dr. Roscigno a highly placed

executive officer, touted his experience developing Tyvaso®, and placed him in charge of

developing the infringing product at issue here. As such, Dr. Roscigno played a key role in the

development of the infringing product.

       Dr. Roscigno also has a significant ownership interest in Liquidia, as stated in Liquidia’s

SEC filings. Liquidia is a publicly traded company, and Liquidia has granted Dr. Roscigno

significant equity. Liquidia has disclosed several grants of equity stakes in Liquidia to Dr.

Roscigno. RJN No. 2 (option to purchase 33,333 shares and award of 8,333 restricted shares); RJN

No. 5 (option to purchase 36,000 shares); RJN No. 7 (option to purchase 25,553 shares awarded

on September 28, 2016, option to purchase 35,656 shares awarded on March 7, 2019). Thus,

Liquidia enticed Dr. Roscigno with a significant ownership interest in Liquidia. This ownership

interest is entirely consistent with Dr. Roscigno’s role at Liquidia—an executive officer critical in

developing Liquidia’s infringing product.

       Such an executive position in Liquidia, with responsibility for development of the

infringing product, and a significant ownership in Liquidia, is sufficient to meet the test for similar

executives to be in privity with their employers. For example, in Mag Aerospace, the Federal

Circuit found an accused infringer in privity with an inventor it hired to develop the accused

product based, in part, on his prior experience in the area:




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               [T]he district court noted that B/E used Mr. Pondelick’s knowledge to
               conduct the activities that are now alleged to be infringing; that he was hired
               specifically to develop the toilets that are accused of infringement; and that
               he was the Director of Engineering for B/E during his time as a consultant
               and later became Vice President and General Manager of B/E EcoSystems,
               the division that manufactured the accused toilets. Based on the extent of
               Mr. Pondelick’s involvement in the alleged infringing activity and the fact
               that B/E “availed itself of [Mr. Pondelick’s] knowledge and assistance” to
               conduct the alleged infringement, we cannot say that the district court
               abused its discretion in finding that assignor estoppel applies.

816 F.3d at 1380 (internal citation omitted). Here too, Dr. Roscigno is the “LIQ861 Program

Lead,” the product at issue in this litigation, and Liquidia has “availed itself” of Dr. Roscigno’s

expertise gained in developing Tyvaso®. See RJN No. 3 at 6; see also D.I. 23 at p. 2 (“Liquidia

admits that it submitted New Drug Application No. 213005 under § 505(b)(2) of the Federal Food,

Drug and Cosmetic Act (‘Liquidia’s NDA’) to the United States Food and Drug Administration

(‘FDA’) seeking approval to engage in the commercial manufacture, use and/or sale of LIQ861

(treprostinil) inhalation powder (the ‘Liquidia Product’ or ‘LIQ861 Product’).”). Indeed, Liquidia

“availed itself” of Dr. Roscigno’s expertise right away, filing a patent application related to its

infringing product within eight months of Dr. Roscigno starting at Liquidia. RJN No. 9.

       Shamrock Technologies is also instructive. The Shamrock court explained that privity

requires evaluating the relationship between the inventor and employer:

       Privity, like the doctrine of assignor estoppel itself, is determined upon a balance
       of the equities. If an inventor assigns his invention to his employer company A and
       leaves to join company B, whether company B is in privity and thus bound by the
       doctrine will depend on the equities dictated by the relationship between the
       inventor and company B in light of the act of infringement. The closer that
       relationship, the more the equities will favor applying the doctrine to company B.

903 F.2d at 793. Shamrock concluded that there was no genuine issue of material fact that privity

existed where, inter alia, the inventor in question left his prior employer to take a Vice President

position at the accused infringer, the infringer granted 50,000 shares of stock to the inventor, and

the accused infringer tasked the inventor with developing the accused processes. Id. at 794; see


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also Juniper Networks, 15 F. Supp. 3d at 509 (applying estoppel and noting that “the query is

whether [the inventor] was closely involved in the development of products and with the [accused

infringer]”). Here too, Liquidia leveraged Dr. Roscigno’s “knowledge and experience” in

developing Tyvaso® to develop the infringing product and rewarded him handsomely for his

efforts. See Intel, 946 F.2d at 839. Liquidia cannot now distance itself from Dr. Roscigno and his

prior work, including his role as an inventor of the ’793 patent.

       Liquidia cannot reasonably deny Dr. Roscigno’s role in the leadership at Liquidia and his

role in the development of the infringing product, LIQ861. As such, Liquidia is in privity with Dr.

Roscigno, and is estopped from contending that the ’793 patent is invalid. Liquidia’s defenses and

counterclaims directed to invalidity of the ’793 patent must be dismissed.

       C.      Alternatively, Liquidia’s Invalidity Counterclaim Defense Should be
               Dismissed for Lack of Jurisdiction under Rule 12(b)(1)

       If the Court should choose not to take judicial notice of the publicly available records

discussed above, the Court should still dismiss the invalidity counterclaim and defense related to

the ’793 patent due to lack of jurisdiction. This Court can dismiss a claim under 12(b)(1) when it

is insubstantial, implausible, or frivolous. See Steel Co., 523 U.S. at 89;3 Lamson, 101 Fed. Cl. at

287 n.6. And the Court can look outside the pleadings when determining whether to grant a motion

to dismiss under Rule 12(b)(1). E.g., Cedars-Sinai Med. Ctr. v. Watkins, 11 F.3d 1573, 1584 (Fed.

Cir. 1993) (“a court is not restricted to the face of the pleadings, but may review evidence extrinsic

to the pleadings, including affidavits and deposition testimony.”).



3
 In Steel Co., the Supreme Court was addressing a circuit split between the Sixth and Seventh
Circuits regarding the interpretation of the Emergency Planning and Community Right–To–Know
Act of 1986 (EPCRA). 523 U.S. at 88. Because the Supreme Court found that the statute was
ambiguous, and that the respondent prevailed on its claim under one interpretation of EPCRA, the
Supreme Court held that the claim was not “frivolous or immaterial,” and should not be dismissed
under Rule 12(b)(1). Id. at 88-89.

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       In Lamson, the plaintiff alleged a Fifth Amendment taking through grant funding. 101 Fed.

Cl. at 281. The U.S. government moved to dismiss this claim under Rules 12(b)(1) and 12(b)(6)

as being foreclosed based on Supreme Court and Federal Circuit precedent holding that any alleged

patent infringement by the U.S. government does not give rise to a cause of action under the Fifth

Amendment. Id. at 284. The Court of Federal Claims agreed, holding that “Count 2 of plaintiff’s

complaint—alleging an unconstitutional taking under the Fifth Amendment for patent

infringement—should be dismissed for lack of subject matter jurisdiction.” Id. Because the Court

of Federal Claims dismissed the claims under Rule 12(b)(1), it did not reach the parties’ arguments

regarding 12(b)(6). Id. at 287 n.6. The Federal Circuit has affirmed dismissals under Rule 12(b)(1)

where it has found the claim to be “entirely insubstantial.” Hunter Douglas, 153 F.3d at 1328.

       Here, Liquidia’s defense and counterclaim for invalidity of the ’793 patent are “entirely

insubstantial” because Federal Circuit precedent on assignor estoppel bars Liquidia from asserting

that the ’793 patent is invalid. As discussed above, Liquidia cannot reasonably contest that Dr.

Roscigno assigned the ’793 patent to UT. Nor can Liquidia reasonably contest that Dr. Roscigno

is in privity with Liquidia, given his significant role in developing the infringing product, his

position as project leader for the infringing product, his leadership position in the company, and

his equity stake in the company. Liquidia’s defense and counterclaims simply cannot stand in view

of controlling precedent and must be dismissed.

V.     CONCLUSION

       Because Dr. Roscigno is an inventor on the ’793 patent, assigned his interest in that patent

to UT, and is in privity with Defendant Liquidia, Liquidia is estopped from challenging the validity

of the ’793 patent. Liquidia’s defenses and counterclaims for invalidity of the ’793 patent should

be dismissed.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 26, 2020, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on August 26,

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            EXHIBIT 23
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 UNITED THERAPEUTICS
 CORPORATION,
           Plaintiff,

          v.                                             Civil Action No. 20-cv-755-RGA

 LIQUIDIA TECHNOLOGIES, INC.,

                 Defendant.



                                    MEMORANDUM ORDER

         Before me is Plaintiff’s motion to dismiss Defendant’s counterclaims pursuant to Rule

12(b)(6) or alternatively Rule 12(b)(1) of the Federal Rules of Civil Procedure. (D.I. 28). The

motion is briefed. (D.I. 29, 37, 38). For the following reasons, Plaintiff’s motion is denied.

         Plaintiff United Therapeutics filed a complaint for patent infringement against Defendant

Liquidia on June 4, 2020. (D.I. 1). The complaint was amended on July 22, 2020 to add

infringement claims for a third patent, the newly issued U.S. Patent No. 10,716,793 (the

“‘793 patent”). (D.I. 16). Defendant filed an answer to Plaintiff’s amended complaint with

counterclaims, including counterclaim count V, which alleges invalidity of the ‘793 patent. (D.I.

23). Plaintiff filed a motion to dismiss Defendant’s counterclaim and related defenses based on

assignor estoppel as one of seven named inventors of the ‘793 patent – Dr. Robert Roscigno – is

(or was) “Senior Vice President, Product Development” of Defendant and therefore in privity

with Defendant. (D.I. 28). He had previously assigned his interest in the patent to Plaintiff.

(Id.).




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        A Rule 12(b)(6) motion may be granted only if, accepting the well-pleaded allegations in

the complaint as true, and viewing them in the light most favorable to the complainant, a court

concludes that those allegations “could not raise a claim of entitlement to relief . . . .” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 558 (2007). “Rule 12(b)(1) allows a defendant to attack the

allegations in the complaint and submit contrary evidence in its effort to show that the court

lacks jurisdiction.” Davis v. Wells Fargo, 824 F.3d 333, 349 (Fed. Cir. 2016). However, “[t]he

Supreme Court has authorized courts to dismiss under Rule 12(b)(1) for lack of jurisdiction due

to merits-related defects in only narrow categories of cases . . . ‘where the alleged claim under

the Constitution or federal statutes clearly appears to be immaterial . . . or where such a claim is

wholly insubstantial and frivolous.’” Id. at 349-50 (quoting Bell v. Hood, 327 U.S. 678, 682–83

(1946)). The doctrine of “[a]ssignor estoppel also prevents parties in privity with an estopped

assignor from challenging the validity of the patent. Whether two parties are in privity depends

on the nature of their relationship in light of the alleged infringement. ‘The closer that

relationship, the more the equities will favor applying the doctrine’ of assignor estoppel.

Assessing a relationship for privity involves evaluation of all direct and indirect contacts.”

Mentor Graphics Corp. v. Quickturn Design Sys., 150 F.3d 1374, 1379 (Fed. Cir. 1998) (quoting

Shamrock Techs., Inc. v. Med. Sterilization, Inc., 903 F.2d 789, 793 (Fed. Cir. 1990)) (internal

citations omitted).

        Plaintiff asserts that Defendant’s counterclaim for a declaration of invalidity of the ‘793

patent and the related defenses should be dismissed based on assignor estoppel. (D.I. 29 at 1).

Plaintiff is correct that assignor estoppel will apply to persons or entities in privity with the

inventor. See Diamond Sci. Co. v. Ambico, Inc., 848 F.2d 1220 (Fed. Cir. 1988). And it does not




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appear that there is any contested issue about whether Dr. Roscigno made an assignment of his

rights in the patent.

        Determining whether privity exists, however, is more difficult. In order to apply assignor

estoppel based on privity requires assessing the relationship between the inventor and the

associated entity. See Shamrock, 903 F.2d at 793. Even accepting Plaintiff’s assertions as true,

it is unclear at this stage whether sufficient privity exists to apply assignor estoppel. A

determination that Defendant is in privity with a named inventor of the ‘793 patent will require a

fact intensive evaluation of their relationship and a balancing of the equities. See Mentor

Graphics, 150 F.3d at 1379. As a result, the finding of privity required for the Court to apply

assignor estoppel and dismiss Defendant’s counterclaim cannot appropriately be made in the

present posture, when the Court must consider the allegations in the light most favorable to the

nonmoving party. See Twombly, 550 U.S. at 558. Further, there is no indication that the

counterclaims at issue are “wholly insubstantial and frivolous” in order to warrant dismissal

under Rule 12(b)(1) for lack of subject-matter jurisdiction. Bell, 327 U.S. at 682–83.

        For the reasons set forth above, I deny Plaintiff’s motion to dismiss Defendant’s

counterclaim.

        IT IS SO ORDERED this 3rd day of November 2020.




                                                                        _/s/ Richard G. Andrews___
                                                                         United States District Judge




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Petition for Inter Partes Review of
U.S. Patent No. 10,716,793 B2




           UNITED STATES PATENT AND TRADEMARK OFFICE




            BEFORE THE PATENT TRIAL AND APPEAL BOARD




                       LIQUIDIA TECHNOLOGIES, INC.,

                                       Petitioner

                                           v.

                  UNITED THERAPEUTICS CORPORATION,

                                      Patent Owner




                                 IPR2021-00406
                          U.S. Patent No. 10,716,793 B2
                            Issue Date: July 21, 2020



                  Title: Treprostinil Administration by Inhalation




                  PETITION FOR INTER PARTES REVIEW
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                                EXHIBITS

Exhibit
                               Description of Document
 No.
 1001     U.S. Patent No. 10,716,793 B2 to Olschewski, et al. (“’793 Patent”)
 1002     Declaration of Dr. Nicholas Hill (“Hill Decl.”)
 1003     Curriculum Vitae of Dr. Nicholas Hill
 1004     Declaration of Dr. Igor Gonda (“Gonda Decl.”)
 1005     Curriculum Vitae of Dr. Igor Gonda
 1006     U.S. Patent No. 6,521,212 B1 to Cloutier, et al. (“’212 patent”)
 1007     Voswinckel, R., et al., Abstract 218: “Inhaled treprostinil is a potent
          pulmonary vasodilator in severe pulmonary hypertension,” European
          Heart Journal 25:22 (2004) (“Voswinckel JESC”)
 1008     Robert Voswinckel, Beate Enke, Andre Kreckel, Frank
          Reichenberger, Stefanie Krick, Henning Gall, Tobias Gessier, Thomas
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          Treatment of Chronic Pulmonary Arterial Hypertension,” “Letters”
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          2006) (“Voswinckel 2006”)
 1010     Hossein Ardeschir Ghofrani, Robert Voswinckel, et al., Neue
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          Hypertonie, 30(4) HERZ, 30(4):296–302 (June 2005) (“Ghofrani”)
          (Foreign article and English translation attached)
 1011     First Amended Complaint filed in United Therapeutics Corporation
          v. Liquidia Technologies, Inc., Case No. 1:20-cv-00755-RGA (D.
          Del.)
 1012     United Therapeutics Corporation’s Answer to Defendant Liquidia
          Technologies, Inc.’s Counterclaims filed in United Therapeutics
          Corporation v. Liquidia Technologies, Inc., Case No. 1:20-cv-00755-
          RGA (D. Del.)
 1013     United Therapeutics Corporation’s Opening Brief in Support of its
          Motion to Dismiss Defendant’s Counterclaim filed in United
          Therapeutics Corporation v. Liquidia Technologies, Inc., Case No.

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                                EXHIBITS

Exhibit
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 No.
          1:20-cv-00755-RGA (D. Del.)
 1014     Memorandum Order denying United Therapeutics Corporation’s
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          Therapeutics Corporation v. Liquidia Technologies, Inc., Case No.
          1:20-cv-00755-RGA (D. Del.)
 1015     10,716,793 Patent Prosecution History
 1016     10,376,525 Patent Prosecution History (excerpted)
 1017     9,339,507 Patent Prosecution History (excerpted)
 1018     Remodulin® 2004 Label (authenticated by EX1036, ¶¶56-58)
 1019     Stein, S.W., et al., “The History of Therapeutic Aerosols: A
          Chronological Review,” Journal of Aerosol Medicine and
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 1020     Clark, A.R., “Medical Aerosol Inhalers: Past, Present, and Future,”
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 1021     Ruan, C.-H., et al., “Prostacyclin Therapy for Pulmonary Arterial
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 1022     Walmrath, D., et al., “Direct Comparison of Inhaled Nitric Oxide and
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 1026     Denver, J. and Dyche, T., “The Adaptive Aerosol Delivery (AAD)
          Technology: Past, Present, and Future,” Journal of Aerosol Medicine
          and Pulmonary Drug Delivery, 23(1 suppl):S-1-S10 (2010) (“Denver

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 1027     U.S. Patent No. 6,242,482 B1 to Shorr, et al. (“Shorr”)
 1028     U.S. Patent Application Publication No. US 2004/0265238 A1 to
          Chaudry (“Chaudry”)
 1029     Ventavis® Label 2004
 1030     Newman, S.P., “Aerosols”, Chapter from Encyclopedia of
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 1031     Geller, D.E., “Comparing Clinical Features of the Nebulizer,
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 1032     Bender, B., et al., “Nonadherence in asthmatic patients: is there a
          solution to the problem?” Annals of Allergy, Asthma & Immunology,
          79:177-86 (1997) (“Bender 1997”)
 1033     Rau, J.L., “Determinants of Patient Adherence to an Aerosol
          Regimen,” Respiratory Care 50(10):1346-56 (2005) (“Rau 2005”)
 1034     Geller, D., et al., “Bolus Inhalation of rhDNase with the AERx
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 1039     Frijlink, H.W. and De Boer, A.H., “Dry powder inhalers for
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          Food And Drug Administration for the Treatment of Pulmonary
          Arterial Hypertension (PAH),” available at
          https://investors.liquidia.com/news-releases/news-release-
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                                EXHIBITS

Exhibit
                               Description of Document
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 1043     2009 Tyvaso® Label, available at
          https://www.accessdata.fda.gov/drugsatfda_docs/label/2017/022387s
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 1045     Reserved
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 1047     Hoeper, M.M., et al., “Long-Term Treatment of Primary Pulmonary
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 1048     Walmrath, D., et al., “Aerosolised prostacyclin in adult respiratory
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 1057     October 24, 2005 Press Release, “Aradigm Corporation And United
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          Agreement Targeting Pulmonary Hypertension,” available at
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                                 EXHIBITS

Exhibit
                                Description of Document
 No.
          https://www.biospace.com/article/releases/aradigm-corporation-and-
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          Human Lung by Respimat® Soft Mist™ Inhaler Compared to
          Deposition by Metered Dose Inhaler or by Turbuhaler® Dry Powder
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          (“Pitcairn”)
 1061     Dalby, R., et al., “A review of the development of Respimat® Soft
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                               EXHIBITS

Exhibit
                              Description of Document
 No.
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 1070     Beasley, R., et al., “Preservatives in Nebulizer Solutions: Risks
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          Information.pdf
 1075     November 17, 2008 Press Release, “Eli Lilly and Company Licenses
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          https://www.fiercebiotech.com/biotech/eli-lilly-and-company-
          licenses-u-s-rights-for-tadalafil-pah-indication-to-united
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          releases/united-therapeutics-announces-fda-approval-of-third-
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 1079     Hill, N.S., et al., “Inhaled Therapies for Pulmonary Hypertension,”
          Respiratory Care, 60(6):794-805 (2015) (“Hill 2015”)




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Petition for Inter Partes Review of
U.S. Patent No. 10,716,793 B2

       This is a petition for Inter Partes Review of claims 1-8 of U.S. Patent No.

10,716,793 B2 (EX1001) (the “’793 Patent”). The ’793 Patent is directed to a

method of treatment of pulmonary hypertension via inhalation of 15 to 90

micrograms of treprostinil in 1 to 3 breaths, through various inhalation devices.

Treprostinil products have been on the market for almost two decades, and the initial,

actually innovative patents have expired. In contrast, the ’793 Patent was issued in

July 2020, over 14 years after the application to which it claims priority. The ’793

Patent is Patent Owner (“PO”) United Therapeutics Corporation’s (“UTC”) latest

attempt to evergreen their way into blocking fair competition, and should be

invalidated based on the numerous prior art references disclosing its claim

limitations before 2006.

I.     MANDATORY NOTICES UNDER 37 C.F.R. § 42.8(A)(1)

       A.     Real Party-In-Interest Under 37 C.F.R. § 42.8(b)(1)

       Petitioner Liquidia Technologies, Inc. (“Liquidia”) is the real party-in-

interest.

       B.     Related Matters Under 37 C.F.R. § 42.8(b)(2)

       UTC has alleged infringement of the ’793 Patent by Liquidia Technologies,

Inc. in United Therapeutics Corporation v. Liquidia Technologies, Inc., 1:20-cv-

00755-RGA, in the United States District Court for the District of Delaware.



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      C.     Lead and Back-Up Counsel under 37 C.F.R. § 42.8(b)(3)

      Petitioner provides the following designation of counsel.

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                                               Suite 700
                                               Washington, DC 20004
                                               Tel: (650) 843-5673
                                               Fax: (650) 849-7400

      D.     Service Information

      The Petition is being served by FEDERAL EXPRESS to the current

correspondence address for the ’793 Patent, Foley & Lardner LLP, 3000 K Street

N.W., Suite 600, Washington, DC 20007-5109. Petitioner may be served by e-mail




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at the addresses provided above for lead and back-up counsel.

        E.     Power of Attorney

        Filed concurrently with this petition per 37 C.F.R. § 42.10(b).

II.     PAYMENT OF FEES - 37 C.F.R. § 42.103

        This Petition requests review of claims 1-8 of the ’793 Patent (8 claims) and

is accompanied by a payment of $41,500. 37 C.F.R. § 42.15. This Petition meets

the fee requirements of 35 U.S.C. § 312(a)(1). The undersigned further authorizes

the United States Patent and Trademark Office, including the Patent Trial and

Appeal Board, to charge any additional fee that might be due or required to Deposit

Account No. 50-1283.

III.    REQUIREMENTS UNDER 37 C.F.R. §§ 42.104                      AND    42.108    AND
        CONSIDERATIONS UNDER §§ 314(A) AND 325(D)

        A.     Grounds for Standing Under 37 C.F.R. § 42.104(a)

        Petitioner certifies that the ’793 Patent is eligible for inter partes review, and

Petitioner is not barred or estopped from requesting inter partes review.

        B.     Identification of Challenge Under 37 C.F.R. § 42.104(b) and
               Statement of Precise Relief Requested

        Petitioner requests the Board institute inter partes review of claims 1-8 of the

’793 Patent based on these grounds:

      Ground ’793 Claim(s)                      Basis for Challenge
        1.   1-8                   Obvious over U.S. Patent No. 6,521,212
                                   (EX1006), Voswinckel JAHA (EX1008), and

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                                  Voswinckel JESC (EX1007)
        2.       1-8              Obvious over ’212 Patent and Voswinckel JESC
        3.       1                Anticipated by Ghofrani
        4.       1, 3, 8          Obvious over Voswinckel JAHA and Ghofrani
                                  (EX1010)
        5.       1, 3             Anticipated by Voswinckel 2006 (EX1009)
        6.       2, 4-8           Obvious over Voswinckel 2006 and ’212 Patent

        Sections X to XV of this Petition detail why the challenged claims are invalid.

This Petition is supported by accompanying Declarations of Dr. Nicholas Hill

(EX1002) and Dr. Igor Gonda (EX1004), qualified experts in their fields. See

EX1003; EX1005 (Curriculum Vitae).

        C.      Threshold Requirement for Inter Partes Review 37 C.F.R.
                § 42.108(c)

        Inter partes review of claims 1-8 should be instituted because this Petition

establishes a reasonable likelihood that Petitioner will prevail with respect to each

of the challenged claims. 35 U.S.C. § 314(a).

        D.      Considerations under 35 U.S.C. § 314(a)

        Petitioner diligently filed this Petition. PO asserted the ’793 Patent against

Petitioner for the first time on July 22, 2020 (EX1011, 15-17), and identified claims

1, 4, and 6-8 as the asserted claims in infringement contentions served October 16,

2020.        This Petition is filed within three months of receiving infringement

contentions and over six months before the one-year bar.




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      The Board should not discretionarily deny this Petition because UTC filed a

motion in the district court litigation to prevent Petitioner from contesting the

validity of the ’793 Patent under the doctrine of assignor estoppel, based on one of

the inventors, Robert Roscigno, being a former Liquidia employee. EX1013.

Although the district court denied UTC’s original motion (EX1014), UTC indicated

it intends to further pursue its assignor estoppel allegations in district court. See,

e.g., EX1012, 13. Should UTC ultimately prevail on the issue of assignor estoppel

in district court, Petitioner would be foreclosed from raising invalidity of the ’793

Patent in that forum. Under this scenario, this Petition would be Petitioner’s only

available means for challenging validity of the claims, because “assignor estoppel

has no place in IPR proceedings.” Arista Networks, Inc. v. Cisco Sys., Inc., 908 F.3d

792, 804 (Fed. Cir. 2018). Accordingly, the pending district court litigation should

not be a basis for discretionary denial.

      Further, the Fintiv factors do not weigh in favor of discretionary denial. First,

this Petition includes claims not at issue in the district court litigation, namely claims

2, 3, and 5—just under half of the total claims challenged in this petition. Second,

the parties have just begun claim construction proceedings in the district court

litigation, have not yet taken any depositions, and have conducted only the initial

minimum required discovery. Third, the merits of this Petition are strong, as

exemplified by the Board’s institution of petitions involving two of the references

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here against similar claims in IPR2017-01621 and IPR2017-01622 (brought by a

different petitioner),1 as well as the fact that this Petition asserts five grounds to

challenge independent claim 1 and at least three different grounds for each of the

seven dependent claims.

        Finally, previous IPRs filed on related patents 9,358,240 (IPR2017-01621)

and 9,339,507 (IPR2017-01622) do not warrant discretionary denial. The prior IPRs

were filed by Watson Laboratories, Inc., an unrelated party, prior to PO suing

Petitioner. Alphatec Holdings, Inc. v. Nuvasive, Inc., IPR2019-00361, Paper 19 at

10 (P.T.A.B. July 9, 2019). The prior IPRs were instituted, but terminated before

final decision due to settlement between the parties. Watson Labs., Inc. v. United

Therapeutics, Corp., IPR2017-01621, Paper 64 (P.T.A.B. Aug. 27, 2018); IPR2017-

01622, Paper 64 (P.T.A.B. Aug. 27, 2018).

        E.     Considerations under 35 U.S.C. § 325(d)

        This Petition does not present a scenario in which “the same or substantially

the same prior art or arguments previously were presented to the Office.” 35 U.S.C.

§ 325(d).




1
    There is no evidence that the ’793 Examiner substantively considered the

institution decisions in the prior IPRs.


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        The art presented in this petition was listed in PO’s Information Disclosure

Statement, but in the absence of additional evidence of “consideration” by the

Examiner, discretionary denial under § 325(d) is not warranted. See Advanced

Bionics, LLC v. MED-EL Elektromedizinische Geräte GmbH, IPR2019-01469,

Paper 6 at 7-8 (P.T.A.B Feb. 13, 2020) (precedential) (art in IDS may be considered

“[p]reviously presented”); but see, e.g., Microsoft Corp. v. Parallel Networks

Licensing, LLC, IPR2015-00483, Paper 10 at 15 (P.T.A.B. July 15, 2015) (“[W]hile

[a reference] was listed on a lengthy Information Disclosure Statement initialed by

the Examiner, the reference was not applied against the claims and there is no

evidence that the Examiner considered the particular disclosures cited . . . in the

Petition.”). There is no evidence in the ’793 Prosecution History that the Examiner

substantively considered the art or arguments presented in this Petition.         The

Examiner erred in not doing so, and an analysis under the Becton factors confirms

why discretionary denial is not appropriate here.2




2
    The Becton factors are six, non-exclusive factors that are to be considered in the

§ 325(d) analysis: (1) the similarities and material differences between the asserted

art and the prior art involved during examination; (2) the cumulative nature of the



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      The Patent Office only issued one substantive rejection during prosecution —

for obviousness-type double patenting over U.S. Patent Nos. 10,376,525; 9,358,240;

and 9,339,507. EX1015, 24-28. Because no prior art was substantively relied on

during examination, under Becton factor 3, the “record of the [Patent] Office’s

previous consideration of the art is . . . silent,” and the threshold for Petitioner to

show the Office erred is lower:         Petitioner must simply show the Office

“overlook[ed] something persuasive” under Becton factors 5 and 6. Advanced

Bionics, IPR2019-01469, Paper 6 at 10. As to Becton factor 5, Petitioner details




asserted art and the prior art evaluated during examination; (3) the extent to which

the asserted art was evaluated during examination; (4) the extent of the overlap

between the arguments made during examination and the manner in which a

petitioner relies on the prior art or a patent owner distinguishes the prior art; (5)

whether a petitioner has pointed out sufficiently how the Office erred in evaluating

the asserted prior art; and (6) the extent to which additional evidence and facts

presented in the petition warrant reconsideration of the prior art or arguments. Trial

Practice Guide Update (July 2019), 29-30 (citing Becton Dickinson & Co. v. B.

Braun Melsungen AG, IPR2017-01586, Paper 8 at 17–18 (P.T.A.B. Dec. 15, 2017)

(informative)).

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below five persuasive grounds (four based on combinations) that the Examiner

overlooked even though they disclose every element of the claims and are directed

to the same disease (pulmonary hypertension), drug (treprostinil), and mode of

administration (inhalation). As to Becton factor 6, Petitioner provides two expert

declarations, as well as background art not listed in the Information Disclosure

Statement, demonstrating how much was already known in the art and how that art

would be understood by a person of ordinary skill in the art, as additional evidence

and facts that warrant reconsideration of the prior art—and consideration for the first

time of arguments involving the particular grounds and combinations presented here.

      Further, the prosecution histories of the patents to which the ’793 Patent was

terminally disclaimed (U.S. Patent Nos. 10,376,525; 9,358,240; and 9,339,507) are

not applicable to this Petition, because they do not contain the arguments (i.e., the

particular grounds) presented here, and any overlapping prior art was applied against

different claims and combinations and/or considered by a different Examiner and

cancelled.

       For the ’525 patent, certain claims to a treprostinil solution and kit with a
          different breath disclosure were rejected over the ’212 Patent under
          § 102(b) and Voswinckel JAHA in combination with Chaudry under
          § 103(a), but, tellingly, those claims were cancelled and did not issue.
          EX1016, 33-42. Those claims were replaced by claims requiring a “opto-
          acoustical” trigger on a pulsed ultrasonic nebulizer, at different

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          concentrations and breaths than the ’793 Patent claims. Id.
       For the ’240 patent, a different Examiner (Townsley, rather than the ’793
          Patent’s Examiner Schmitt) considered those claims and rejected them
          over art in combination with the ’212 patent asserted here. EX1044, 7-23.
          However, that rejection was overcome by an affidavit that overcame the
          other art (i.e., the Sandifer reference) not asserted here, and the later
          rejections did not involve the art presented here. Id.
       For the ’507 patent, a different Examiner (again, Townsley, rather than
          Schmitt) rejected the claims to nebulizer kits over Voswinckel 2006 in
          combination with Chaudry, and applicants submitted an affidavit by Dr.
          Werner Seeger that Voswinckel 2006 was not prior art because it was not
          “by others” under pre-AIA § 102(a). EX1017, 50, 35-36. Despite the
          affidavit, the Applicant cancelled the rejected claims after conducting a
          telephonic interview with the Examiner and applied for new, different
          claims, which the Examiner allowed without rejection or addressing
          whether Voswinckel 2006 was proper prior art. Id., 28-31.

See NRG Energy, Inc. v. Midwest Energy Emissions Corp., IPR2020-00926, Paper

19 at 20-21 (P.T.A.B. Dec. 2, 2020) (rejecting relevance of related patent’s

prosecution history where it did “not appear that the same or substantially the same

arguments [i.e. combinations] predicated on [the prior art] were before the Office”);

Unified Patents v. B# On Demand, LLC, IPR2020-00995, Paper 20 at 56 (P.T.A.B.

Dec. 8, 2020) (finding that a related patent application’s claims “shed[] little light

on how the Examiner would have applied those references to the materially

different” claims of the petitioned patent).
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      For these reasons, this Petition does not present a scenario in which

discretionary denial is warranted under 35 U.S.C. § 325(d).

IV.   SUMMARY OF THE ’793 PATENT

      A.     Brief Description of the ’793 Patent

      The ’793 Patent is entitled “Treprostinil Administration by Inhalation” and is

directed to methods of treating pulmonary hypertension where a single event dose

of 15 micrograms to 90 micrograms of a treprostinil formulation are delivered by

inhalation in 1 to 3 breaths. EX1001, Abstract, claims 1-8. Claim 1 is the only

independent claim.

      Dependent claims 2, 3, and 5 claim various types of inhalers that the ’793

Patent specification describes as already well-known and on the market. See, e.g.,

id., 7:15-21; 7:27-39 (listing multiple soft mist inhalers and citing to M. Hindle, The

Drug Delivery Companies Report, Autumn/Winter 2004, pp. 31-34, for “a review of

soft mist inhaler technology”); 12:58-59; 14:35-37 (describing use of a pulsed

ultrasonic nebulizer OPTINEB® by Nebutec).

      Dependent claims 4, 6, and 7 relate to the use of a dry powder (as opposed to

liquid) formulation of treprostinil and a dry powder inhaler. The ’793 Patent’s sole

description to support these claims is the following two sentences:

      The inhalation device can be also a dry powder inhaler. In such case,
      the respiratory drug is inhaled in solid formulation, usually in the form


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      of a powder with particle size less than 10 micrometers in diameter or
      less than 5 micrometers in diameter.
Id., 7:22-26.

      Finally, dependent claim 8 requires the absence of the preservative metacresol

sometimes used in formulations. Id., 15:38-41; 16:11-17; 17:36-37.

      B.        Summary of the Prosecution History of the ’793 Patent

      The ’793 Patent issued July 21, 2020, just six months after application No.

16/778,662 was filed on January 31, 2020. EX1001, 1. Application No. 16/778,662

is a continuation and divisional of several patent applications, including applications

that resulted in U.S. Patent Nos. 10,376,525, 9,339,507, and 9,358,240. Id. The

patent’s provisional application, No. 60/800,016, was filed on May 15, 2006. Id.

For purposes of this Petition, Petitioner assumes the relevant priority date for the

’793 Patent is May 15, 2006.

      After responding to missing parts, the applicants added Thomas Schmehl as

an inventor (id., 64-65, 58), and the PTO issued one substantive rejection:

obviousness-type double patenting over U.S. Patent Nos. 10,376,525; 9,358,240;

and 9,339,507, which was overcome by terminal disclaimer. Id., 24-30, 50-51.

V.    CLAIM CONSTRUCTION UNDER 37 C.F.R. § 42.104(b)(3)

      For purposes of resolving this IPR, Petitioner does not believe construction of

any claim term is required. All terms should be given their plain and ordinary


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meaning in the art as of May 15, 2006. Phillips v. AWH Corp., 415 F.3d 1303, 1312-

1313 (Fed. Cir. 2005); 37 C.F.R. § 42.100(b).

VI.   OVERVIEW OF THE GROUNDS

      Given the state of the art and the knowledge of a person of ordinary skill in

the art as of May 15, 2006, all claims are unpatentable under 35 U.S.C. §§ 102(b)

and 103. The grounds presented here rely on the ’212 Patent, Voswinckel JESC,

Voswinckel JAHA, Ghofrani, and Voswinckel 2006 prior art references as follows:

   1. Ground 1, Claims 1-8: Obvious over ’212 Patent and Voswinckel JESC
      and Voswinckel JAHA;

   2. Ground 2, Claims 1-8: Obvious over ’212 Patent and Voswinckel JESC;

   3. Ground 3, Claim 1: Anticipated by Ghofrani;

   4. Ground 4, Claims 1, 3, and 8: Obvious over Voswinckel JAHA and
      Ghofrani;

   5. Ground 5, Claims 1 and 3: Anticipated by Voswinckel 2006; and

   6. Ground 6, Claims 2, 4-8: Obvious over Voswinckel 2006 and the ’212
      Patent.

VII. PERSON OF ORDINARY SKILL IN THE ART

      The challenged claims are directed to a method of treating pulmonary

hypertension by administering an inhaled formulation of treprostinil. As such, the

challenged claims cover multiple disciplines. With respect to the method of treating

pulmonary hypertension, a person of ordinary skill in the art (“skilled artisan” or


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“POSA”), at the time of the alleged invention would have a medical degree with a

specialty in pulmonology or cardiology, plus at least two years of experience treating

patients with pulmonary hypertension as an attending, including with inhaled

therapies, or equivalent degree or experience. EX1002, ¶¶17-19. With respect to

inhaled formulations used in the method to treat pulmonary hypertension, a POSA

would be a Ph.D. in pharmaceutical science or a related discipline like chemistry or

medicinal chemistry, plus two years of experience in pharmaceutical formulations,

including inhaled products, or equivalent (e.g., an M.S. in the same fields, plus 5

years of experience). EX1004, ¶¶9-11.

VIII. TECHNICAL BACKGROUND

      The petitioned claims are not directed, generally, to treating pulmonary

hypertension (“PH”) with treprostinil, since the compound itself, and methods of

using the compound to treat PH were known, patented, and FDA approved for both

subcutaneous injection and intravenous administration by 2004. See EX1018;

EX1002, ¶¶29-30; EX1004, ¶19. Rather, the claims are directed to methods of

treating PH by the administration of inhaled treprostinil formulations, such that the

relevant technical background for this Petition is the state of inhalation therapy art

as of 2006.




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      A.     History of Inhalation Therapy

      Formulation POSA Dr. Gonda provides a history of inhalation therapy from

ancient times to 2006, explaining that nebulizers, meter dosed inhalers (“MDI”), and

dry powder inhalers (“DPI”) were well-known by the mid-1990s and FDA-approved

by 2006. EX1004, ¶¶21-25.

      B.     Inhaled Treprostinil and Its Analogues

      Dr. Gonda and clinician POSA Dr. Hill also explain that treprostinil is similar

to iloprost, both chemical compounds are analogues of epoprostenol, and all three

compounds were known to treat patients with pulmonary arterial hypertension

(“PAH”) by 2006. EX1021, 392 (“Epoprostenol, a synthetic prostacyclin, and

iloprost and treprostinil, synthetic prostacyclin analogues, are currently used to treat

patients with PAH.”); EX1004, ¶¶26-33; EX1002, ¶¶40-44. Dr. Gonda and Hill also

explain that numerous patents and patent publications on inhaled epoprostenol,

iloprost, and treprostinil existed by 2006. Id.; see, e.g., EX1027, Figs. 1-5 (depicting

effects of intravenous and aerosolized UT15/treprositinil and derivatives); EX1028,

Abstract, [0010], [0012], [0017], [0026], [0097], Claim 44 (directed to “inhalable

formulation[s] for the treatment of pulmonary hypertension” where the formulation

comprises a “hypertension-reducing agent” including a “vasodilator,” such as “the




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prostacyclin analog treprostinil sodium”).3        The ’212 Patent, detailed in the

“Overview of the Prior Art” section below, discloses use of inhaled treprostinil for

treatment of pulmonary hypertension. EX1006, Abstract, 3:1-5, 2:16-18, 2:66-3:5,

4:10-13, 4:41-54, 7:18-24.

        As both Dr. Gonda and Dr. Hill explain, the benefits of inhalation over other

forms of administration, such as intravenous delivery, were also well-known by

2006. EX1004, ¶¶32-33; EX1002, ¶¶31-33. For example, Chaudry disclosed that

“[c]ontinuous intravenous prostacyclin is far from ideal as a treatment for pulmonary

hypertension, . . . because the agent is available only in limited supply, it is very

costly, and optimal management requires that the intravenous therapy with

prostacyclin be started in specialized centers familiar with the technique, equipment,

and dose ranging. . . . Further, because the agent is delivered systemically with only

a small percentage of the agent actually absorbed by the pulmonary system, it must

be administered in high dosages.”       EX1028, [0011].      Chaudry disclosed that

“therapeutically effective amount[s] of a hypertension-reducing agent” may include

various ranges, such as from “about 0.001 mg/ml to about 20 mg/ml” and provided

extensive disclosure regarding the use of nebulizing devices for inhalation. Id.,




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    All emphasis added unless otherwise noted.

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[0037]-[0038], [0061]-[0066]. The ’212 Patent similarly disclosed inhaled delivery

was known to be more “potent” than intravenous delivery. EX1006, 8:9-17.

      In fact, iloprost had already been approved for inhaled use to treat pulmonary

arterial hypertension in 2004, under the brand name Ventavis®. “Ventavis is

breathed (inhaled) into your lungs” and “[o]ne treatment session will usually last

about 4 to 10 minutes.” EX1029, 4, 15; EX1002, ¶42; EX1004, ¶33. Ventavis®

(iloprost) is indicated for treatment of pulmonary arterial hypertension (EX1029 at

8) and has a maximum daily dose of 45 micrograms (id., 11). Id.

      C.     Well Known Considerations for Inhalation Therapies

      By 2006, it was well-known that inhalation drug particles needed to be a

certain size. For example, from modern use of inhalation therapy for asthma in the

1990s, it was well known “to avoid inertial impaction in the oropharyngeal cavity

and reach the lung,” aerosol particles needed to be 7 micrometers or less. EX1020,

374; EX1002, ¶35; EX1004, ¶34. If those particles needed to reach the peripheral

lung, they needed to be closer to 2-3 micrometers. Id. A 2006 Encyclopedia of

Respiratory Medicine confirms that it was generally known that “inhaler devices

should deliver particles smaller than approximately 5 µm in diameter in order to

enter the lungs.” EX1030, 58. The ’212 Patent also discloses particles “preferably,

less than 5 micrometers in diameter.” EX1006, 5:40-41.



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      Similarly, by 2006, there was extensive literature on pros and cons of various

inhalation devices, particularly around patient adherence concerns.           See, e.g.,

EX1031, 1313 (“Comparing clinical features of the Nebulizer, Metered-Dose

Inhaler, and Dry Powder Inhaler”); EX1002, ¶¶34, 36-39; EX1004, ¶36.

      Patient adherence was a recognized problem with inhaled medications.

EX1002, ¶¶36-39. A 1997 article discusses the challenges of patient adherence to

inhaled medications, and found that patients “on average [only] take about 50% of

prescribed medication,” and that adherence (or nonadherence) was linked to

treatment outcome. EX1032, Abstract, 179-80. Skilled artisans understood the

burden of therapy, i.e., the effort a patient needs to make to take their medication,

was one of the factors impacting adherence with the prescribed dosage regimen. See,

e.g., EX1033, Abstract (noting that a factor “related to patient adherence” was the

“complexity of the inhalation regiment (dosing frequency, number of drugs)”);

EX1004, ¶40; EX1002, ¶¶36-39.

      By 2006, it was well-understood that patient adherence could be improved by

reducing the number of breaths and overall duration of administration required for

adequate dosing with inhalation devices. See, e.g. EX1033 at Abstract (noting that

a factor “related to patient adherence” was the “complexity of the inhalation

regimens (dosing frequency, number of drugs)”); EX1034, Abstract (emphasizing

the efficiency benefit of reducing the duration of therapy from 10-20 minutes on a

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nebulizer to just 3 breaths from a soft mist inhaler AERx); EX1002, ¶¶ 37-38;

EX1004, ¶40.

        Thus, reducing the duration of the inhaled dose administration of treprostinil

was a common goal by 2006, and one that had met with success. Chaudry disclosed

that inhalation of its treprostinil formulation “may take about . . . 3 minutes”

(EX1028, [0067]), while Voswinckel JAHA and Voswinckel 2006, detailed below,

disclosed reductions in treprostinil administration duration to 3 breaths. See also

EX1004, ¶¶40-42; EX1002, ¶39.

IX.     OVERVIEW OF THE PRIOR ART

        A.     ’212 Patent

        The ’212 Patent issued on February 18, 2003, and therefore is prior art to the

’793 Patent under at least 35 U.S.C. §§ 102(a), (b), and (e).

        The ’212 Patent discloses “a method of treating pulmonary hypertension by

administering an effective amount of a benzindene4 prostaglandin” (including

treprostinil, referred to as “UT-15”) “by inhalation.” EX1006, Abstract, 3:1-5, 2:16-

18, 2:66-3:5, 4:10-13, 4:41-54, 7:18-24. A POSA in May 2006 would have known




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    Some references spell this compound as “benzindene” and others as “benzidine.”

For purposes of this Petition, both spellings refer to the same compound.


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that “UT-15” is synonymous with treprostinil sodium.5 The ’212 Patent discloses

that an “inhaler” may be used to deliver the UT-15. Id., 5:30; EX1004, ¶¶50-54;

EX1002, ¶¶53-61.

        The ’212 Patent discloses, in the same fashion as the ’793 Patent, that powder

formulations may be used. Compare EX1006, 5:30-32, 5:37-41 (“Alternatively,

solid formulations, usually in the form of a powder, may be inhaled in accordance

with the present invention. In such case, the particles are preferably less than 10

micrometers in diameter, and more preferably, less than 5 micrometers in

diameter.”), with EX1001, 7:22-26. Further, claim 9 is directed to a method of

treating pulmonary hypertension in a mammal, which would include humans, by the

administration of an inhaled powder formulation of treprostinil. EX1006, claim 9;

EX1002, ¶60.




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    See, e.g., EX1035 (“United Therapeutics Corp (UTC) is developing treprostinil
sodium (Remodulin, UT-15), a stable structural analog of prostacyclin
[prostaglandin I2 or PGI2], for the potential treatment of primary pulmonary
(arterial) hypertension (PAH), peripheral vascular disease (PVD) and other
cardiovascular conditions. . .”); see also EX1046 (“U.S. Pat No[]. 6,521,212 . . .
describe[s] administration of treprostinil by inhalation for treatment of pulmonary
hypertension, peripheral vascular disease and other diseases and conditions.”).

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      As for dosage, the ’212 Patent states “[i]n the case of treating peripheral

vascular disease by inhalation of a benzindene prostaglandin of the present

invention, the dosage for inhalation . . . should be sufficient to deliver an amount

that is equivalent to a daily infusion dose in the range of 25 µg to 250 mg; typically

from 0.5 tg [sic] to 2.5 mg, preferably from 7 µg to 285 µg, per day per kilogram

bodyweight.” EX1006, 5:54-62; see also id., Figs. 16, 18.

      For treating pulmonary hypertension, the ’212 Patent states that aerosolized

(i.e., inhaled) UT-15 “has a greater potency as compared to intravascularly

administered UT-15” and teaches the “actual amount of UT-15 delivered via

aerosolization delivery is only a fraction (10-50%) of the dosage delivered

intravascularly.” Id., 8:9-17. The ’212 Patent then discloses multiple examples of

administering treprostinil to sheep. Sheep were “the animal model of choice” for

many reasons, including, in relevant part, “sheep have been utilized for several years

as an animal model of pulmonary arterial hypertension.” Id., 9:14-27.

      The ’212 Patent relies on its disclosed sheep experiments to claim treatment

of mammals, including humans (see id., 14:7-8, claims 5, 6, 9), and to support the

overall aim of its invention—treprostinil “delivered by inhalation to a patient in need

thereof in a ‘therapeutically effective amount,’” where a “‘therapeutically effective

amount’ . . . refers to that amount in which the effects from pulmonary hypertension,

and particularly, pulmonary arterial pressure (PAP), are reduced towards a normal

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level relative to hypertensive levels, or maintained at normal levels.” Id., 6:56-66.

The ’212 Patent then explains that POSAs can readily determine the appropriate

single event dose “upon the specific circumstances of the patient being treated and

the magnitude of effect desired by the patient’s doctor,” and “[t]itration to effect . . .

to determine proper dosage.” Id., 6:66-7:3; EX1004, ¶35 (explaining that such

titration was well-known). Such UT-15 formulations can be “given in high doses

without significant non-lung effects” and are described “for human medical use.”

Id., 10:51-57, 7:4-5.

      B.     Voswinckel JESC

      Voswinckel JESC is an abstract presented at the European Society of

Cardiology (JESC) Congress from August 28 to September 1, 2004 in Munich,

Germany and published in the European Heart Journal on October 15, 2004—more

than a year before May 15, 2006—and is therefore prior art to the ’793 Patent under

at least 35 U.S.C. § 102(b). EX1036, ¶¶ 68-75; EX1004, ¶55.

      Voswinckel JESC describes a study investigating “the acute hemodynamic

response to inhaled treprostinil.” EX1007, Background. The study enrolled 29

patients: 8 received placebo and 21 were administered 16, 32, 48, and 64 µg/mL

treprostinil solutions for 6 minutes via the OptiNeb ultrasound nebulizer, then

produced by the company Nebu-tec in Germany. Id., Methods. Of the 29 patients,

10 had “idiopathic PAH”. Id., Results. The results showed that “[t]reprostinil

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inhalation results in a significant long-lasting pulmonary vasodilatation” and that, at

16 µg/mL, “near maximal pulmonary vasodilatation is achieved without adverse

effects.” Id., Conclusion.

      As Dr. Hill explains, a POSA would have expected at least 1 mL of the

treprostinil solution was used over 6 minutes of inhalation, and thus would

understand, therefore, at least 16, 32, 48, or 64 µg of treprostinil were delivered to

different dosing groups in this study. EX1002, ¶65. Such dosages would make sense

to a POSA for patients being administered treprostinil for the first time. Id. This

understanding is further confirmed by Dr. Gonda, who explains that the numerous

nebulizers used at the time were known and expected to deliver more than 1mL of

solution. EX1004, ¶56 (citing several inhalation therapies delivering 1-5mL of

solution via nebulizers). In fact, a POSA would have expected the OptiNeb® device

used at the time (before 2006) to nebulize (i.e., turned liquid to aerosol) at a rate of

0.6 mL of solution per minute. EX1002, ¶67 (citing EX1037, 28.) Assuming

continuous administration over 6 minutes, the administered volume would have been

as much as 0.6 x 6, or 3.6mL. Id. Thus, at 16 µg/mL, which is what Voswinckel

JESC recommends as the concentration at which “near maximal pulmonary

vasodilatation is achieved without adverse side effects” (EX1007, Conclusion), the

administered single event dose could be as high as 0.6 mL/min x 16 µg/mL x 6 min

= 57.6 µg. Id.

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      In sum, a skilled artisan would have understood at least 16, 32, 48, or 64 µg

of treprostinil were delivered to patients with PAH in this study, and that

understanding would have been confirmed by the volume of solution a POSA would

have expected to be nebulized by the device used in the study, as well as the

nebulizers known in the art. EX1002, ¶¶65-67; EX1004, ¶56.

      C.     Voswinckel JAHA

      Voswinckel JAHA is an abstract published in the Journal of the American

Heart Association on October 26, 2004—more than a year before May 15, 2006—

and is therefore prior art to the ’793 Patent under at least 35 U.S.C. § 102(b).

EX1036, ¶¶59-67; EX1004, ¶58.

      Voswinckel JAHA describes a study in which 17 patients with “severe

pulmonary hypertension” received a treprostinil inhalation by use of the “pulsed

OptiNeb® ultrasound nebulizer” in “3 single breaths” of a “600 µg/ml” treprostinil

solution. EX1008, Methods. The study found that treprostinil “inhalation resulted

in a sustained, highly pulmonary selective vasodilatation over 120 minutes,”

showing “strong pulmonary selective vasodilatory efficacy with a long duration of

effect following single acute dosing.” Id., Methods, Conclusion. Voswinckel JAHA

also teaches that “[t]olerability [of treprostinil] is excellent even at high drug

concentrations and short inhalation times (3 breaths)” with “very promising” long

term treatment effects. Id., Conclusion. This description has been confirmed by the

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Board in its Institution Decisions in IPR2017-01621 and IPR2017-01622. IPR2017-

01621, Paper 10 at 23; IPR2017-01622, Paper 9 at 23.

      D.     Ghofrani

      Ghofrani is a prior printed publication under 35 U.S.C. § 102(a) because it

was published before May 15, 2006. It was published in the June 2005 issue of Herz

and a translation, with a declaration attesting the accuracy of the translation, is

provided as EX1010. See also EX1036, ¶¶47-55.

      Ghofrani describes the use of inhaled treprostinil to treat pulmonary

hypertension. EX1010, 297-98. Ghofrani states the following:

      Initial trials in Giessen have shown proof of efficacy of inhaled
      treprostinil for the effective reduction of the pulmonary vascular
      resistance (PVR) [6]. In this first study, 17 patients with severe pre-
      capillary   pulmonary     hypertension     were      administered   inhaled
      treprostinil (15 mcg/inhalation). This led to a major reduction in
      pulmonary selective pressure and resistance with an overall duration of
      action of > 180 min. In direct comparison with inhaled iloprost, inhaled
      treprostinil showed a stronger pulmonary selectivity, so that it is
      possible to increase the dosage to up to 90 mcg (absolute inhaled dose
      per inhalation exercise) without adverse effects occurring [6]. Due to
      these unique properties (pronounced pulmonary selectivity and long
      duration of action after an individual inhalation), it is possible to reduce
      the number inhalations necessary to up to four per day; the inhalation
      period can be reduced to < 1 min. by selecting a suitable device.


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        Additionally, the initial data shows that it is technically feasible for
        there to be only one to two breaths in an application.

Id., 298.6

        Ghofrani is prior art “by others” under judicial interpretations of pre-AIA

§ 102(a), because there are inventors listed on the ’793 Patent that are not listed as

authors on Ghofrani, and vice versa. In re Katz, 687 F.2d 450, 454 (C.C.P.A. 1982).

The Ghofrani authors that are not ’793 inventors are Ghofrani, Reichenberger, and

Grimminger. Compare EX1010, 1, with EX1001, 1. PO encountered this issue in

IPR2017-01621 and IPR2017-01622 and submitted an affidavit attesting that these

authors did not contribute to the relevant portion of Ghofrani. See IPR2017-01621;

Paper 10 at 12-14; IPR2017-01622, Paper 9 at 12-15.

        But there are also individuals identified as inventors of the ʼ793 Patent that

are not included as authors of Ghofrani: Olschewski, Roscigno, Rubin, Schmehl,

and Sterritt. EX1001, 1. In IPR2017-01621/IPR2017-01622, PO put forth a self-

serving affidavit by one of the inventors, Dr. Seeger, as to how “any study that

formed the basis of our discussion of inhaled treprostinil” was “performed by [him

in] collaboration with Dr. Voswinckel, Olschewski, Rubin, Schmehl, Sterritt, and




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    Quotations to Ghofrani are from the English-language translation of Ghofrani.


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Roscigno.” IPR2017-01621/01622, EX2098 at ¶ 8. But Dr. Seeger fails to explain

why Drs. Olschewski, Rubin, Schmehl, Sterritt, and Roscigno were not listed as

authors on the Ghofrani article, a concurrent fact that supports the inference that they

did not make any contribution to Ghofrani’s disclosure. Dr. Seeger’s affidavit also

does not explain if and how any inventor contributed to the use of the various

inhalation devices and formulations specifically claimed in the ’793 Patent. Where

there are disputed facts, and Petitioner has not had a chance to depose declarant Dr.

Seeger, a preliminary determination that Ghofrani is by another is appropriate,7 and

the issue should not impede institution. Varian Med. Sys., Inc. v. William Beaumont

Hosp., IPR2016-00163, Paper 14 at 13-15 (P.T.A.B. May 6, 2016).

        E.     Voswinckel 2006

        Voswinckel 2006 is prior art under at least 35 U.S.C. § 102(a), because it was

published in the Annals of Internal Medicine on January 17, 2006, before May 15,

2006. EX1036, ¶¶77-84.




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    Petitioner is entitled to a presumption that “any factual dispute created by

testimonial evidence that is material to the institution decision will be resolved in

favor of the petitioner . . . for purposes of determining whether to institute.” 81 FR

18755 (April 1, 2016).


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      Voswinckel 2006 discloses a patient trial to “characterize the effects of

inhaled treprostinil with special regard to safety, tolerability, and efficacy in patients

with severe pulmonary arterial hypertension.” EX1009 (Voswinckel 2006), 149-50.

Three patients with “severe pulmonary hypertension” were given a “single 15-µg

dose of treprostinil, inhaled in 3 breaths through a modified OptiNeb ultrasonic

inhalation device.” Id., 150. One patient had a “favorable vasodilator response” and

the other two patients were given “long-term inhaled treprostinil therapy . . .

consisting of 4 daily 15-µg doses” over 3 months, resulting in “dramatic[]”

functional improvement without side effect.         Id.     The authors concluded that

treprostinil was “clinically effective, safe, and well tolerated when 15 µg was inhaled

in 3 breaths 4 times daily.” Id.

      Voswinckel 2006 is “by others” under judicial interpretations of pre-AIA

§ 102(a). In re Katz, 687 F.2d at 454. Voswinckel 2006 authors Ghofrani and

Grimminger are not listed as inventors on the ’793 Patent. Compare EX1009, 150,

with EX1001, 1. During prosecution of the related 9,339,507 patent, PO submitted

an affidavit that these two authors “are properly listed as co-authors on the

Voswinckel article because of their contributions to the Voswinckel article” but “did

not contribute to conception of the presently claimed invention.” EX1017, 35-36.

But this affidavit fails to establish that Ghofrani and Grimminger did not contribute

to the testing of the safety and efficacy of inhaled treprostinil (dosing and breaths)

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used in the patient study of Voswinckel 2006 relied on in this Petition.8 In fact, PO

would be hard pressed to identify different contributions for these authors because

the entire Voswinckel 2006 publication is only 1 page, all of which this Petition

relies on.

        Further, Olschewski, Roscigno, Rubin, Schmehl, and Sterritt are identified

as inventors of the ’793 Patent, but are not authors of Voswinckel 2006. Compare

EX1009, 150, with EX1001, 1. No evidence exists in the record of the proceedings,

before the Board or before the PTO, to indicate these inventors contributed to

Voswinckel 2006. The fact that they are not authors on Voswinckel 2006 supports

the inference they did not make any contribution to that disclosure.           Accord

EmeraChem Holdings, 859 F.3d at 1345-48.             Further, PO specifically added

Schmehl as inventor in February 2020, so, at the very least, PO cannot reasonably

claim that Schmehl somehow contributed to the Voswinckel 2006 article published

14 years prior. See EX1015, 64-65, 58.




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    Also, despite the affidavit, PO cancelled the rejected claims and applied for new,

different claims, which the Examiner allowed without addressing whether

Voswinckel 2006 was prior art. EX1017, 28-31. Thus, the issue has not been

resolved or evaluated by the Patent Office for either the ’507 or ’793 patents.

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      Thus, the Voswinckel 2006 publishing entity is different than the ’793 Patent

inventive entity. In re Land, 368 F.2d at 877. In these circumstances, a preliminary

determination that Voswinckel 2006 is by another is appropriate and the issue should

not impede institution. Varian Med. Sys., Inc., IPR2016-00163, Paper 14 at 13-15.

X.    GROUND 1: CLAIMS 1-8 ARE RENDERED OBVIOUS UNDER 35 U.S.C. § 103(A)
      OVER THE ’212 PATENT IN COMBINATION WITH VOSWINCKEL JESC AND
      VOSWINCKEL JAHA

      A.     Motivation to Combine ’212 Patent with Voswinckel JESC and
             Voswinckel JAHA With a Reasonable Expectation of Success

      A POSA would have been motivated to combine the ’212 Patent with

Voswinckel JESC and Voswinckel JAHA to arrive at the claims of the ’793 Patent.

EX1002, ¶¶75-83. All three publications are directed to solving the same problem

(treatment of pulmonary hypertension) via the same means (inhaled treprostinil).

See, e.g., EX1006, Abstract (disclosing “[a] method of delivering benzindene

prostaglandins to a patient by inhalation” for the treatment of “pulmonary

hypertension”); EX1007, Background, Results (investigating “inhaled treprostinil”

on patients with “idiopathic PAH”); EX1008 (titled “Inhaled Treprostinil Sodium

(TRE) For the Treatment of Pulmonary Hypertension”).

      A POSA starting with the ’212 Patent would understand that it discloses use

of inhaled treprostinil sodium (UT-15, see supra n.5) for the treatment of pulmonary

hypertension, discloses a dosage range for intravascular administration of


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treprostinil for the treatment of pulmonary vascular disease, and discloses that only

10-50% of the dosage delivered intravascularly would be needed via inhalation to

have the same therapeutic effect. EX1006, Abstract, 6:1-2 (disclosing “[a] method

of delivering benzindene prostaglandins” “including UT-15” “to a patient by

inhalation” for the treatment of “pulmonary hypertension”); 5:54-62 (“daily infusion

dose in the range of 25 µg to 250 mg; typically from 0.5 tg [sic] to 2.5 mg, preferably

from 7 µg to 285 µg, per day per kilogram bodyweight”), 8:9-17 (the “actual amount

of UT-15 delivered via aerosolization delivery” need only be “a fraction (10-50%)

of the dosage delivered intravascularly”).

      A POSA would also understand the ʼ212 Patent discloses experiments in

sheep and explains sheep are a model of pulmonary arterial hypertension in humans.

EX1006, 9:14-27; Examples I-V and accompanying Figs. A POSA would further

understand these sheep experiments were relied upon to support claims directed to

treating pulmonary hypertension in mammals, which include humans, via inhaled

solutions and powder formulations of treprostinil. Id., claims 6, 9; EX1002, ¶77.

Given these teachings, a POSA would have been motivated to further investigate

inhaled treprostinil as a treatment for PH in humans and would have looked to the

results of Voswinckel JESC and Voswinckel JAHA, which report on this very issue.

Id., ¶¶78.



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      Voswinckel JESC, published after issuance of the ʼ212 Patent, confirms the

results of the ʼ212 Patent that inhaled treprostinil is a safe and effective means for

treating PH in humans. EX1002, ¶79. Voswinckel JESC discloses the effective

administration of inhaled treprostinil for human patients with PAH via a nebulizer

for 6 minutes. EX1007, Methods. As detailed above at Section IX.B, a POSA would

understand Voswinckel JESC to disclose delivery of at least 16 to 64 µg of inhaled

treprostinil to achieve this effectiveness.    A POSA would have a reasonable

expectation of success in combining the ’212 Patent’s disclosure with the dosage of

Voswinckel JESC, because Voswinckel JESC’s results showed that “[t]reprostinil

inhalation results in significant long-lasting pulmonary vasodilatation” and that

“near maximal pulmonary vasodilatation is achieved without adverse effects.” Id.,

Conclusion; EX1002, ¶79.

      Having established via the ʼ212 Patent and Voswinckel JESC that inhaled

treprostinil can be used to safely and effectively treat PH, a POSA would have been

further motivated to reduce the duration of treatment to increase patient convenience

and adherence—from the 6 minutes disclosed in Voswinckel JESC to 3 breaths, as

disclosed in Voswinckel JAHA. EX1002, ¶80. As explained above, the problem of

patient nonadherence to inhaled medications was well-understood, and a POSA in

May 2006 would have readily appreciated reducing the number of breaths for drug

delivery would increase patient adherence and, in turn, treatment outcome. See

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supra, Section VIII.C.; EX1002, EX1002, ¶¶80-81. A POSA would also have

understood that reducing the duration of treatment would require increasing the

concentration of the administered treprostinil solution, which is confirmed by

Voswinckel JAHA’s use of a 600 mcg/mL solution. EX1002, ¶82 (citing EX1008,

Methods).

        A POSA would have a reasonable expectation of success with this

combination, because Voswinckel JAHA teaches that “[t]olerability is excellent

even at high drug concentrations9 and short inhalation times (3 breaths)” with

“strong pulmonary selective vasodilatory efficacy with a long duration of effect

following single acute dosing.” EX1008, Conclusion; EX1002, ¶83. Additionally,

the relevant scientific literature taught safe and effective administration of high

dosages of inhaled therapeutics in short durations.        See, e.g., EX1010, 298

(disclosing administration of inhaled treprostinil at a dose of “15 mcg/inhalation”

and that “it is possible to increase the dosage to up to 90 mcg” and that “it is

technically feasible for there to be only one to two breaths in an application.”);




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    Voswinckel JAHA’s results confirm the conclusions reached in the ʼ212 Patent

that “aerosolized UT-15 can be given in high doses without significant non-lung

effects, i.e., heart rate, cardiac output.” EX1006, 10:51-57.


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EX1034, 177 (delivery 0.45mg of drug in 3 breaths). In sum, a POSA would have

expected to succeed in reducing the number of breaths when delivering 15-90µg of

inhaled treprostinil, due to the general state of the art regarding the safety and

efficacy of such dosages of inhaled therapeutics, the known problem of patient

noncompliance, and Voswinckel JAHA’s explicit disclosure that administration of

treprostinil was successful.

      A POSA would expect Voswinckel JESC’s dosage and Voswinckel JAHA’s

breaths to be a therapeutically effective dosing regimen for PH, and would be

motivated by the ’212 Patent’s disclosure that “solid formulations, usually in the

form of a powder” could also “be inhaled in accordance with the [’212 Patent’s]

invention” to create a dry powder that provided the same single event dosage as

Voswinckel JESC and breath limitations of Voswinckel JAHA with a reasonable

expectation of success. EX1006, 5:30-32, 5:37-41, claims 6, 9; EX1004, ¶¶78-80.

      Therefore, a POSA would have been motived to and had a reasonable

expectation of success in combining the teachings of the ’212 Patent with the dosage

of Voswinckel JESC and the breaths of Voswinckel JAHA, the combination of

which renders all claims invalid, as explained below.




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        B.     The ’212 Patent in combination with Voswinckel JESC and
               Voswinckel JAHA renders obvious claims 1-8

                1.    Independent Claim 1

                     a.      The ’212 Patent discloses claim element 1[a]

      1[a]    A method of treating pulmonary hypertension comprising
              administering by inhalation to a human suffering from pulmonary
              hypertension a therapeutically effective single event dose of a
              formulation comprising treprostinil or a pharmaceutically acceptable
              salt thereof

        The ’212 Patent describes methods of delivering a therapeutically effective

amount of benzindene prostaglandin (also known as “UT-15”) by inhalation to treat

pulmonary hypertension in a single dose event. EX1006, Abstract, 2:16-18, 2:66-

3:5, 4:10-13, 4:41-54, 7:18-24.10 A POSA as of May 2006 would have readily




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     Voswinckel JESC and Voswinckel JAHA additionally disclose this limitation.

Voswinckel      JAHA      describes   treating    “patients   with   severe   pulmonary

hypertension” with “Inhaled Treprostinil Sodium (TRE)” with a single event dose

of “3 single breaths” of “TRE solution 600 µg/ml,” resulting in “strong pulmonary

selective vasodilatory efficacy with a long duration of effect following single acute

dosing.” EX1008, Title, Methods, Conclusion. Voswinckel JESC describes a study

investigating “the acute hemodynamic response to inhaled treprostinil,” in which



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understood that “UT-15” is synonymous with treprostinil sodium, and that

treprostinil is an analog of benzindene prostaglandin.11

         Specifically, the ’212 Patent discloses and claims “a method of treating

pulmonary hypertension by inhalation of a benzindene prostaglandin” (id., 7:18-20)

or a “pharmaceutically acceptable salt” thereof (id., 4:11-12). Id., claims 6, 9. The

’212 Patent further states that the “benzindene prostaglandin is delivered by

inhalation to a patient in need thereof in a ‘therapeutically effective amount.’” Id.,

6:56-58. “A ‘therapeutically effective amount’ refers to that amount that has

therapeutic effects on the condition intended to be treated or prevented.” Id., 6:58-

61. The ’212 Patent explains that “[t]he precise amount that is considered effective

for a particular therapeutic purpose will, of course, depend upon the specific

circumstances of the patient being treated and the magnitude of effect desired by the

patient’s doctor.” Id., 6:66-7:2. Dr. Hill confirms that a POSA would have the above




patients with pulmonary hypertension were enrolled and administered nebulized

treprostinil solution for 6 minutes, resulting in “significant long-lasting pulmonary

vasodilatation” with “near maximal pulmonary vasodilatation is achieved without

adverse effects.” EX1007, Background, Methods, Conclusion.
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     See infra note 5.


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understanding. EX1002, ¶¶85-92.

                     b.      The ’212 Patent discloses claim element 1[b]

      1[b]    with an inhalation device

        The ’212 Patent discloses that an inhaler may be used to deliver the

benzindene prostaglandin. EX1006, 5:30-32 (“Preferably, a nebulizer, inhaler,

atomizer or aerosolizer is used[,] which forms droplets from a solution or liquid

containing the active ingredient(s).”). A POSA as of May 2006 would have readily

understood that an inhaler is an inhalation device.12 EX1002, ¶¶93-94.

                     c.      Voswinckel JESC renders obvious claim element 1[c]

      1[c]    wherein the therapeutically effective single event dose comprises from
              15 micrograms to 90 micrograms of treprostinil or a pharmaceutically
              acceptable salt thereof

        The ’212 Patent discloses that “[i]t has been discovered that aerosolized UT-

15 has both greater potency and efficacy” for “attenuating chemically induced

pulmonary hypertension” as compared to intravascular delivery. EX1006, 8:5-8.

The ’212 Patent quantifies this potency, teaching that “aerosolized UT-15 has a




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     Voswinckel JESC and Voswinckel JAHA additionally disclose this limitation, as

both use the pulsed OptiNeb® ultrasound nebulizer as the inhalation device.

EX1007, Methods; EX1008, Methods.


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greater potency as compared to intravascularly administered UT-15, since the actual

amount of UT-15 delivered via aerosolization delivery is only a fraction (10-50%)

of the dosage delivered intravascularly.” Id., 8:8-12.

      Given these teachings, the successful sheep data, and the claims of the ’212

Patent, a POSA would have been motivated to look for data administering inhaled

treprostinil in humans with PH and the doses used therein. EX1002, ¶¶96-98. A

POSA would have been readily led to Voswinckel JESC, which discloses the

effective administration of inhaled treprostinil for human patients with pulmonary

arterial hypertension for 6 minutes on the OptiNeb® nebulizer of treprostinil solution

at a concentrations of 16 to 64 µg/mL. EX1007, Methods.

      As explained above at Section IX.B., a skilled artisan would have understood

at least 16, 32, 48, or 64 µg of treprostinil were delivered to patients with PAH in

this study, and that understanding would have been confirmed by the volume of

solution a POSA would have expected to be nebulized by the OptiNeb® device used

in the study, as well as the nebulizers known in the art. EX1002, ¶99; EX1004, ¶56.

      This understanding is confirmed by the intravascular dosing of UT-15 to treat

pulmonary hypertension approved by the FDA in 2004 for intravascular treatment

of pulmonary hypertension at a dosage of 1.25 ng/kg/min. EX1018. The label

provides calculations based on a 60kg and 65kg patient. Id., 10. Accordingly, a

POSA administering Remodulin would have known he was giving his patients a

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daily treprostinil dose of 1.25ng x 60kg x (24x60)min to 1.25ng x 65kg x

(24x60)min, which is to 108 to 117 micrograms. EX1002, ¶100. A POSA would

apply the ’212 Patent’s 10-50% adjustment between intravascular and inhaled

dosing (EX1006, 8:5-12) and understand the ’212 Patent to be teaching that an FDA-

approvable effective dosage of aerosolized treprostinil for the treatment of

pulmonary hypertension would be 10.8 to 58.5 micrograms. Id. This range covers

over half of the claimed 15 to 90 µg dosage.13




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     In addition, the ’212 Patent discloses that “[i]n the case of treating peripheral

vascular disease . . . [,] the dosage for inhalation . . . should be sufficient to deliver

an amount that is equivalent to a daily [intravascular] infusion dose in the range of

25µg to 250mg.” EX1006, 5:54-62; see also id., Figs. 16, 18. By teaching that only

10-50% is needed for inhalation (id., 8:5-12), the ’212 Patent discloses that the

effective dosage of inhaled treprostinil for treating peripheral vascular disease would

be 2.5µg (micrograms) to 125mg (milligrams). This encompasses the full 15 to 90

micrograms claimed by the ’793 Patent. Accordingly, given the fact that the ʼ212

Patent is directed to methods of treating both pulmonary hypertension and peripheral

vascular disease (see id., 13:26-14:29, claims 6 and 9), a POSA would understand



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      Accordingly, a POSA would understand the ’212 Patent in combination with

Voswinckel JESC to disclose an inhaled dosage range of 15 to 90 µg of treprostinil

as claimed.

                   d.     Voswinckel JAHA discloses claim element 1[d]

  1[d]     delivered in 1 to 3 breaths.

      As explained above in Sections X.A and VIII. C., a POSA would have known

to increase patient compliance and convenience, it would be desirable to reduce the

number of breaths required for delivery of treprostinil by inhalation. A POSA who

understood the necessary amount of dosing for aerosolized delivery of treprostinil

would then look to the art for the fewest number of breaths in which that delivery

could occur. EX1002, ¶102.

      Voswinckel JAHA discloses a low number of breaths for the aerosolized

delivery of treprostinil specifically for treatment of pulmonary hypertension. Thus,

a POSA would understand the ’212 Patent and Voswinckel JESC’s dosage teachings

would be readily applicable to the breath disclosure of Voswinckel JAHA. Id.,

¶¶102, 104 (also explaining that a “subset of the Voswinckel JESC authors”




that an inhaled dosage of 15 to 90 micrograms of treprostinil for treatment of

pulmonary hypertension would be equally possible. EX1002, ¶100n4.

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published Voswinckel JAHA, additionally motivating a POSA to look at

Voswinckel JAHA in combination with the ’212 Patent and Voswinckel JESC).

      In particular, Voswinckel JAHA states “[p]atients received a TRE [inhaled

treprostinil sodium] by use of the pulsed OptiNeb® ultrasound nebulizer (3 single

breaths, TRE solution 600 µg/ml)” and further observes that “[t]olerability is

excellent even at high drug concentrations and short inhalation times (3 breaths)”

with “strong pulmonary selective vasodilatory efficacy with a long duration of affect

following single acute dosing.” See EX1008, Methods, Conclusion. A POSA

therefore would have applied the 3-breath delivery disclosure of Voswinckel JAHA

to the teachings of the ’212 Patent to improve patient adherence to treatment.

EX1002, ¶¶103, 104.

      Accordingly, a POSA reading the ’212 Patent and Voswinckel JESC and

applying Voswinckel JAHA’s teachings to increase patient compliance and ease of

use would have thought it obvious to administer treprostinil via inhalation in 3

breaths, thereby rendering 1[d] obvious.

             2.     Dependent Claim 2

     2     The method of claim 1, wherein the inhalation device is a soft mist
           inhaler.

      The ’212 Patent discloses use of an “inhaler,” (EX1006, 5:30-32), and soft

mist inhalers were known as of 2004. The ’793 Patent itself acknowledges that


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multiple soft mist inhalers were already known in the prior art and on the market,

including “the Respimat® Inhaler (Boehringer Ingelheim GmbH), the AERx®

Inhaler (Aradigm Corp.), the Mystic™ Inhaler (Ventaira Pharmaceuticals, Inc) and

the Aira™ Inhaler (Chrysalis Technologies Incorporated).” EX1001, 7:33-39 (also

citing to M. Hindle, The Drug Delivery Companies Report, Autumn/Winter 2004,

pp. 31-34, for “a review of soft mist inhaler technology”); see also EX1034, Abstract

(demonstrating successful use of the AERx soft mist inhaler for treatment of

pulmonary exacerbations in cystic fibrosis).

      A POSA would find it obvious that the treprostinil disclosed in the ’212 Patent

could be used in such soft mist inhalers and be motivated to do so. EX1002, ¶¶106-

110; EX1004, ¶¶66-71. As Dr. Gonda explains, a POSA would have known that the

aqueous solution described in the ’212 Patent would be suitable for soft mist

inhalation in 3 breaths, and would have been motivated to develop/found it obvious

to try using a soft mist inhaler because “soft mist inhalers were known to offer

numerous advantages,” particularly “repeatable and consistent” drug delivery

“regardless of ambient temperature (T = 15-30°C), pressure, or humidity” without

the use of propellants. EX1004, ¶¶68-69 (citing EX1069, 932). A POSA would

have a reasonable expectation of success in delivering 15 to 90 micrograms of

treprostinil in 1 to 3 breaths with a soft mist inhaler, because Voswinckel JAHA

successfully delivered treprostinil in 3 breaths and because soft mist inhalers

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approved for market use were well characterized as suitable for inhaled delivery of

drugs at similar dosages in one or a small number of breaths. Id., ¶70.

      Accordingly, to a POSA, the ’212 Patent in combination with Voswinckel

JESC and Voswinckel JAHA renders this claim obvious.

             3.     Dependent Claim 3

     3     The method of claim 1, wherein the inhalation device is a pulsed
           ultrasonic nebulizer.

      The ’212 Patent discloses use of an ultrasonic nebulizer, teaching that “[o]ne

preferred nebulizer is the AM-601 MEDICATOR AEROSOL DELIVERY

SYSTEMTM (a nebulizer manufactured by Healthline Medical in Baldwin Park,

Calif.).” EX1006, 5:33-36. Voswinckel JESC discloses use of the “OptiNeb

ultrasound nebulizer”, and Voswinckel JAHA use of the “pulsed OptiNeb®

ultrasound nebulizer.”    EX1007, Methods; EX1008, Methods.           Also, pulsed

ultrasonic nebulizers were well-known and already on the market by 2006. See, e.g.,

EX1001, 12:58-59, 14:35-37 (describing use of a pulsed ultrasonic nebulizer

OPTINEB® by Nebutec). Thus, to a POSA, the ’212 Patent in combination with

Voswinckel JESC and Voswinckel JAHA renders this claim obvious. EX1002,

¶¶112-114; EX104, ¶¶73-75.

             4.     Dependent Claim 4

     4     The method of claim 1, wherein the inhalation device is a dry powder

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            inhaler.

      Claim 4 is disclosed in the ’212 Patent, which discloses an “inhaler” may be

used to deliver the benzindene prostaglandin. EX1006, 5:30-32. The ’212 Patent

further states “solid formulations, usually in the form of a powder, may be inhaled

in accordance with the present invention.” Id., 5:37-39. And finally, claim 9 of the

ʼ212 Patent is specifically directed to an inhaled powder formulation of treprostinil.

Accordingly, a POSA would have readily understood the “inhaler” disclosed in the

’212 Patent could be used as a “dry powder inhaler,” as claimed, to deliver powder

formulations. EX1004, ¶¶77-80; EX1002, ¶¶116-117. Such dry powder inhalers

were well known and “widely accepted” as of 2006. See id.; EX1038, 1311 (October

2005 “Dry Powder Inhalers: An Overview”).

              5.       Dependent Claim 5

     5      The method of claim 1, wherein the inhalation device is a pressurized
            metered dose inhaler.

      The ’793 Patent defines a pressurized metered dose inhaler as “a device which

produces the aerosol clouds for inhalation from solutions and/or suspensions of

respiratory drugs in chlorofluorocarbon (CFC) and/or hydrofluoroalkane (HFA)

solutions.” EX1001, 7:17-21. The ’212 Patent discloses use of an “inhaler,”

(EX1006, 5:30-32), and pressurized metered dose inhalers were well-known as of

2004, offered the advantage of being “reasonably efficient” while being “inherently


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portable and very convenient to use” and were readily available, well understood,

and offered for “[n]early all major respiratory drugs. See EX1004, ¶¶82-85 (citing

EX1020, 379; EX1019, 29, 32); EX1002, ¶119.

             6.     Dependent Claim 6

     6     The method of claim 4, wherein the formulation is a powder.

      Claim 6 is disclosed in the ’212 Patent, which discloses and specifically

claims that powder formulations may be used to treat pulmonary hypertension.

EX1006, 5:37-39 (“Alternatively, solid formulations, usually in the form of a

powder, may be inhaled in accordance with the present invention.”), claim 9.

             7.     Dependent Claim 7

     7     The method of claim 6, wherein the powder comprises particles less
           than 5 micrometers in diameter.

      Claim 7 is disclosed in the ’212 Patent, which expressly discloses and claims

that “the particles are preferably less than 10 micrometers in diameter, and more

preferably, less than 5 micrometers in diameter.” EX1006, 5:39-41, claim 9.

             8.     Dependent Claim 8

     8     The method of claim 1, wherein the formulation contains no
           metacresol.

      Claim 8 is disclosed in the ’212 Patent, which has no disclosure requiring the

presence of metacresol in the described formulation. EX1006, 5:25-29 (disclosing

formulation of a “more preferred solution” that does not include metacresol), 8:39-
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44 (disclosing steps of formulating treprostinil inhalation solution that do not include

metacresol).    A POSA would thus understand the ’212 Patent to disclose a

formulation of UT-15 (i.e., treprostinil) that contains no metacresol. EX1004, ¶¶92-

93 (explaining that “use of preservatives in inhalation products was strongly

discouraged by 2006”).

      Voswinckel JAHA also specifically states that a “preservative free solution of

inhaled TRE” was used (Voswinckel JAHA at Methods), which a POSA would

understand to mean that the solution contained no metacresol, because metacresol

was known in 2006 to be a preservative. EX1004, ¶94; see also EX1001, 15:40-41

(referring to a “metacresol preservative” in “treprostinil solution”).

      Accordingly, a POSA would have understood the combination of the ’212

Patent, Voswinckel JESC, and Voswinckel JAHA to render this claim obvious.

EX1002, ¶123.

XI.   GROUND 2: CLAIMS 1-8 ARE RENDERED OBVIOUS UNDER 35 U.S.C. § 103(a)
      OVER THE ’212 PATENT IN COMBINATION WITH VOSWINCKEL JESC

      A.       Motivation to Combine With a Reasonable Expectation of Success

      A POSA would have been motivated to combine the ’212 Patent with

Voswinckel JESC, because both disclose use of the same drug (treprostinil/UT-15)

for the same disease (pulmonary arterial hypertension) through the same route of

administration (inhalation of solution of treprostinil). The first four paragraphs of


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Section X.A. explain why a POSA would have been motivated to combine these

references with a reasonable expectation of success.

      B.     The ’212 Patent in combination with Voswinckel JESC renders
             obvious claims 1-8

                1.   Independent Claim 1

                     a.    The ’212 Patent in combination with Voswinckel JESC
                           renders obvious claim elements 1[a], 1[b], and 1[c]

    1[a]    A method of treating pulmonary hypertension comprising
            administering by inhalation to a human suffering from pulmonary
            hypertension a therapeutically effective single event dose of a
            formulation comprising treprostinil or a pharmaceutically acceptable
            salt thereof
    1[b]    with an inhalation device
    1[c]    wherein the therapeutically effective single event dose comprises
            from 15 micrograms to 90 micrograms of treprostinil or a
            pharmaceutically acceptable salt thereof

      As explained above at Sections X.B.1.a to X.B.1.c, the ’212 Patent discloses

elements 1[a] and 1[b], and the ’212 Patent in combination with Voswinckel JESC

discloses element 1[c].

                     b.    Claim element 1[d] is obvious via routine optimization

    1[d]    delivered in 1 to 3 breaths.

      Element 1[d] would have been obvious over the ’212 Patent and Voswinckel

JESC in view of a POSA’s general knowledge in the field and/or by applying routine

optimization.



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      A POSA reading the ’212 Patent and Voswinckel JESC would have been

motivated to minimize the number of breaths required for administration of

treprostinil by inhalation, to increase patient compliance and convenience. See

EX1002, ¶¶128, 130. In addition, by May 2006, the general state of the art had

established the safety and efficacy of high dosages of inhaled therapeutics delivered

over a small number of breaths. See, e.g., id., ¶129; EX1034, 177 (delivery of

0.45mg of drug in 3 breaths); EX1010, 298 (“[I]t is technically feasible for there to

be only one to two breaths in an application.”); EX1008, Methods (administration

of 600 µg/mL treprostinil in 3 breaths); EX1009, 150 (administration of 15µg

treprostinil in 3 breaths). Further, claim 9 of the ʼ212 Patent is specifically directed

to an inhaled powder formulation of treprostinil, which is commonly delivered by

dry powder inhalers. EX1006, claim 9. Dry powder inhalers are breath-actuated as

opposed to delivering doses over a set period of time. EX1039, 81 (“Advantages

such as the potential ability to generate high FPFs and a relatively high lung

deposition, fast and easy administration, the ability to prepare stable formulations

(compared with solutions), and the fact that DPIs are breath-actuated and easily

portable, justify their existence.”). Therefore, a POSA would have been encouraged

to and found it obvious to modify the teachings of the ’212 Patent and Voswinckel

JESC to deliver inhaled treprostinil in 1 to 3 breaths. EX1002, ¶¶126-131.

      Relying on the ’212 Patent and Voswinckel JESC to deliver inhaled

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treprostinil in 1 to 3 breaths would have amounted to mere routine optimization. See,

e.g., Genzyme Therapeutic Prods. L.P. v. Biomarin Pharm. Inc., 825 F.3d 1360,

1365, 1373 (Fed. Cir. 2016) (affirming decision finding dosing claims obvious when

“the claimed dosing schedule would have been arrived at by routine optimization”);

see also Hoffmann-La Roche Inc. v. Apotex Inc., 748 F.3d 1326, 1329-31 (Fed. Cir.

2014) (affirming decision finding dosing claims obvious because “[a] relatively

infrequent dosing schedule has long been viewed as a potential solution to the

problem of patient compliance”); see also Merck & Co., Inc. v. Teva Pharms. USA,

Inc., 395 F.3d 1364, 1373 (Fed. Cir. 2005) (reversing decision to find claims obvious

that covered slightly different dosages from those of the prior art). In fact, the ’212

Patent itself contemplates dose optimization as a matter of routine. EX1006, 6:56-

7:3 (“Titration to effect may be used to determine proper dosage.”), 7:25-33; see

also generally id., 1:10-2:64. Such titration to effect was well known in similar

aerosolized prostacyclin therapy. EX1004, ¶35 (citing EX1047, EX1048); EX1002,

¶127, 130. A POSA therefore would have understood the benzindene prostaglandin

(i.e., treprostinil) disclosed in the ’212 Patent and Voswinckel JESC could be

“delivered in 1 to 3 breaths.”

              2.    Dependent Claims 2-8

     2      The method of claim 1, wherein the inhalation device is a soft mist
            inhaler.


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     3      The method of claim 1, wherein the inhalation device is a pulsed
            ultrasonic nebulizer.
     4      The method of claim 1, wherein the inhalation device is a dry powder
            inhaler.
     5      The method of claim 1, wherein the inhalation device is a pressurized
            metered dose inhaler.

            The method of claim 4, wherein the formulation is a powder.
     6
     7      The method of claim 6, wherein the powder comprises particles less
            than 5 micrometers in diameter.
     8      The method of claim 1, wherein the formulation contains no
            metacresol.

      The additional limitations of dependent claims 2-8 are disclosed in the ’212

Patent, as explained above in Sections X.B.2 to X.B.8. Further, for claim 3,

Voswinckel JESC specifically teaches use of the “OptiNeb® ultrasound nebulizer,”

which the ’793 patent confirms is pulsed. EX1007, Methods; EX1001, 14:35-37.

XII. GROUND 3: CLAIM 1 IS ANTICIPATED BY GHOFRANI

      Ghofrani explicitly discloses every element of claim 1.

      A.     Ghofrani Discloses Claim Element 1[a]

    1[a]    A method of treating pulmonary hypertension, comprising
            administering by inhalation to a human suffering from pulmonary
            hypertension a therapeutically effective single event dose of a
            formulation comprising treprostinil or a pharmaceutically acceptable
            salt thereof

      Element 1[a] is disclosed by Ghofrani, which teaches the recited method of

treating pulmonary hypertension. Ghofrani, in relevant part, discloses the efficacy

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of “inhaled treprostinil” for 17 patients with “pulmonary hypertension” at a dosage

of “15mcg/inhalation” for total dosage of “up to 90mcg . . . without adverse effects

occurring.” EX1010, 298; EX1002, ¶¶136-138. Ghofrani further discloses that

“initial data shows that it is technically feasible for there to be only one to two

breaths in an application.” EX1010, 298.

        B.     Ghofrani Discloses Claim Element 1[b]

    1[b]      with an inhalation device

        Element 1[b] is disclosed by Ghofrani, which states patients were

administered “inhaled treprostinil,” which would require an inhalation device.

EX1010, 298. Ghofrani further discloses that “it is possible to reduce the number

[of] inhalations necessary to up to four per day; the inhalation period can be reduced

to <1min. by selecting a suitable device.” Id. A POSA as of May 2006 would have

readily understood such a “suitable device” to be an inhalation device. EX1002,

¶139.

        C.     Ghofrani Discloses Element 1[c]

    1[c]      wherein the therapeutically effective single event dose comprises from
              15 micrograms to 90 micrograms of treprostinil or a pharmaceutically
              acceptable salt thereof

        Ghofrani discloses a study in which patients “were administered [a single




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event dose of] inhaled treprostinil (15 mcg14/inhalation).” EX1010 (Ghofrani), 298.

That dose “led to a major reduction in pulmonary selective pressure and resistance

with an overall duration of action of >180 min.” Id. Ghofrani further discloses “it

is possible to increase the dosage to up to 90 mcg (absolute inhaled dose per

inhalation exercise) without adverse effects occurring.” Id. Ghofrani thus discloses

a per inhalation exercise (i.e., single event dose) that covers the claimed dosage

range. EX1002, ¶140.

        D.     Ghofrani Discloses Claim Element 1[d]

      1[d]    delivered in 1 to 3 breaths.

        Ghofrani discloses that “it is technically feasible for there to be only one to

two breaths in an application” of the claimed dosage, disclosing element 1[d] to a

POSA. EX1010, 298; EX1002, ¶141-142.

XIII. GROUND 4: CLAIMS 1, 3, AND 8 ARE RENDERED OBVIOUS UNDER 35 U.S.C.
      § 103(A) OVER VOSWINCKEL JAHA IN COMBINATION WITH GHOFRANI

        A.     Motivation to Combine With A Reasonable Expectation of Success

        The Board has found that “Voswinckel [2004] references a 17 patient study

that appears to be the same as the 17 patent study discussed in the relevant portions

of Ghofrani.” IPR2017-01621, Paper 10 at 14. Dr. Hill agrees and explains why a




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     A POSA would have understood that “mcg” and “µg” refer to micrograms.
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POSA would have expected the disclosures of Ghofrani to apply to Voswinckel

JAHA. EX1002, ¶¶143-144.

      Even if not the same study, every author of Ghofrani is also an author of

Voswinckel JAHA, motivating a POSA to look at Ghofrani for additional details

after reviewing the Voswinckel JAHA Abstract. Compare EX1010, with EX1008;

EX1002, ¶145. Since Voswinckel JAHA does not expressly provide the total dose

administered in its single event dose of 1 to 3 breaths, a POSA would have been

motivated to look to Ghofrani for the optimal dosing range in Voswinckel JAHA’s

breath range. Ghofrani discloses a study in which patients “were administered

inhaled treprostinil (15 mcg/inhalation),” teaches that “it is possible to increase the

dosage to up to 90 mcg (absolute inhaled dose per inhalation exercise) without

adverse effects occurring,” and discloses that “it is technically feasible for there to

be only one to two breaths in an application” with these dose ranges. EX1010, 298.

Thus, a POSA would have been motivated to combine Voswinckel JAHA with the

15-90 mcg dosage disclosure of Ghofrani. EX1002, ¶145.

      A POSA would have had a reasonable expectation of success in combining

the two, because both references teach successful safety and efficacy of inhaled

treprostinil at their respective breath and dosage levels. EX1002, ¶145. Voswinckel

JAHA teaches that its “inhalation resulted in a sustained, highly pulmonary selective

vasodilatation over 120 minutes,” showing “strong pulmonary selective vasodilatory

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efficacy with a long duration of effect following single acute dosing” with “[n]o side

effects.” EX1008, Methods, Conclusion. Ghofrani teaches that its dosing “led to a

major reduction in pulmonary selective pressure and resistance with an overall

duration of action of >180 min . . . without adverse effects occurring.” EX1010,

298.

        B.      Voswinckel JAHA in combination with Ghofrani renders obvious
                claims 1, 3, and 8

                 1.    Independent Claim 1

                      a.      Voswinckel JAHA and Ghofrani disclose claim
                              element 1[a]

       1[a]    A method of treating pulmonary hypertension comprising
               administering by inhalation to a human suffering from pulmonary
               hypertension a therapeutically effective single event dose of a
               formulation comprising treprostinil or a pharmaceutically acceptable
               salt thereof

        Element 1[a] is disclosed by Voswinckel JAHA, which teaches the recited

method of treating pulmonary hypertension. Voswinckel JAHA describes treating

“17 patients with severe pulmonary hypertension” with “Inhaled Treprostinil

Sodium (TRE).” EX1008, Title, Methods. Voswinckel JAHA also describes a

single event dose of “3 single breaths” of “TRE solution 600 µg/ml” having “strong

pulmonary selective vasodilatory efficacy with a long duration of effect following

single acute dosing.” Id., Methods, Conclusion.

        Ghofrani also discloses element 1[a]. See supra Section XII.A.

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                   b.      Voswinckel JAHA and Ghofrani disclose claim
                           element 1[b]

    1[b]    with an inhalation device

      Element 1[b] is disclosed by Voswinckel JAHA, which expressly discloses

“inhaled TRE” through the “use of the pulsed OptiNeb® ultrasound nebulizer.” Id.,

Methods. A POSA as of May 2006 would have readily understood that this nebulizer

is an inhalation device. EX1002, ¶150.

      Ghofrani also discloses element 1[b]. See supra Section XII.B.

                   c.      Voswinckel in combination with Ghofrani discloses
                           element 1[c]

    1[c]    wherein the therapeutically effective single event dose comprises from
            15 micrograms to 90 micrograms of treprostinil or a pharmaceutically
            acceptable salt thereof

      Element 1[c] would have been obvious over Voswinckel JAHA in

combination with Ghofrani. Because Voswinckel does not expressly provide the

total dose administered in its single event dose, a POSA would have looked to

Ghofrani to fill in the optimal single event dosing range, since “both references

disclose that inhaled administration of treprostinil at these doses in 1-3 breaths was

an effective treatment for pulmonary hypertension.” EX1002, ¶155. In Ghofrani,

patients “were administered inhaled treprostinil (15 mcg/inhalation).” EX1010, 298.

Ghofrani further discloses that “it is possible to increase the dosage to up to 90 mcg

(absolute inhaled dose per inhalation exercise) without adverse effects occurring.”

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Id. Ghofrani further discloses that “it is technically feasible for there to be only one

to two breaths in an application.” Id. Thus, a POSA would have understood that

Ghofrani was disclosing a 15 to 90 µg single event dose—the entire claimed range—

in the same 1-3 breath range as Voswinckel JAHA. EX1002, ¶154. A POSA

administering treprostinil in accordance with the teachings of Voswinckel JAHA

would have been motivated to use the range of doses disclosed by Ghofrani because

such doses “led to a major reduction in pulmonary selective pressure and resistance

with an overall duration of action of > 180 min . . . without adverse effects

occurring,” i.e. a POSA would understand that this dose was therapeutically

effective and safe. EX1010, 298; EX1002, ¶¶153-154.

                    d.     Voswinckel JAHA and Ghofrani disclose claim
                           element 1[d]

    1[d]    delivered in 1 to 3 breaths.

      Element 1[d] is disclosed by Voswinckel JAHA, which discloses treating

patients with a single event dose of “3 single breaths.” EX1008, Methods. Ghofrani

further discloses that “it is technically feasible for there to be only one to two breaths

in an application” of the claimed dosage. EX1010, 298. Thus, both Voswinckel

JAHA and Ghofrani disclose element 1[d].

              2.     Dependent Claim 3

      3     The method of claim 1, wherein the inhalation device is a pulsed
            ultrasonic nebulizer.

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      The limitation of claim 3 is disclosed by Voswinckel JAHA, which

specifically teaches use of the “pulsed OptiNeb® ultrasound nebulizer.” EX1008,

Methods.

                3.     Dependent Claim 8

     8        The method of claim 1, wherein the formulation contains no
              metacresol.

      The limitation of claim 8 is disclosed by Voswinckel JAHA, which states that

a “preservative free solution of inhaled TRE” was used (EX1008, Methods), which

a POSA would understand to mean that the solution contained no metacresol,

because metacresol was known in 2006 to be a preservative. EX1004, ¶¶94, 104;

see also EX1001, 15:40-41 (referring to a “metacresol preservative” in “treprostinil

solution”).

XIV. GROUND 5: CLAIMS 1 AND 3 ARE ANTICIPATED BY VOSWINCKEL 2006

      A.       Independent Claim 1

                1.     Voswinckel 2006 discloses claim element 1[a]

   1[a]       A method of treating pulmonary hypertension comprising
              administering by inhalation to a human suffering from pulmonary
              hypertension a therapeutically effective single event dose of a
              formulation comprising treprostinil or a pharmaceutically acceptable
              salt thereof

      Element 1[a] is disclosed in Voswinckel 2006, which teaches the recited

method of treating pulmonary hypertension. Voswinckel 2006 describes treating
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“three patients with severe pulmonary hypertension” with “inhaled treprostinil.”

EX1009, 150. Voswinckel 2006 also describes “a single 15-µg dose of treprostinil,

inhaled in 3 breaths” inducing “highly pulmonary selective and sustained

vasodilatation” proving that “[t]he drug was clinically effective” at the dosage and

number of breaths. Id.

             2.     Voswinckel 2006 discloses claim element 1[b]

  1[b]     with an inhalation device,

      Element 1[b] is disclosed in Voswinckel 2006, which expressly discloses

“inhaled treprostinil” administered “through a modified OptiNeb ultrasonic

inhalation device.” Id.


             3.     Voswinckel 2006 discloses claim element 1[c]

  1[c]     wherein the therapeutically effective single event dose comprises from
           15 micrograms to 90 micrograms of treprostinil or a pharmaceutically
           acceptable salt thereof

      Element 1[c] is disclosed in Voswinckel 2006, which teaches that “a single

15-µg dose of treprostinil” was inhaled by patients “through a modified OptiNeb

ultrasonic inhalation device.” Id.

             4.     Voswinckel 2006 discloses claim element 1[d]

  1[d]     delivered in 1 to 3 breaths.




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      Element 1[d] is disclosed in Voswinckel 2006 which teaches that “15-µg dose

of treprostinil” was inhaled by patients “in 3 breaths through a modified OptiNeb

ultrasonic inhalation device.” Id.

      B.     Claim 3

  3         The method of claim 1, wherein the inhalation device is a pulsed
            ultrasonic nebulizer.

      Voswinckel 2006 discloses use of a “modified OptiNeb ultrasonic inhalation

device” (EX1009 (Voswinckel 2006), 150), which was a known pulsed ultrasonic

nebulizer as of May 2006. EX1004, ¶108; EX1002, ¶172; EX1001, 14:35-37

(describing use of a “pulsed ultrasonic nebulizer” OPTINEB® by Nebutec).

XV. GROUND 6: CLAIMS 2 AND 4-8 ARE OBVIOUS OVER VOSWINCKEL 2006 IN
    COMBINATION WITH THE ’212 PATENT

      As explained above, Claim 1 is anticipated by Voswinckel 2006.             The

additional limitations of claims 2 and 4-8 are obvious over Voswinckel 2006 in view

of the ’212 Patent.

      A.     Motivation to Combine With a Reasonable Expectation of Success

      Both the ’212 Patent and Voswinckel 2006 are directed to the use of inhaled

treprostinil (also known as benzindene prostaglandin UT-15), for the treatment of

pulmonary hypertension. See, e.g., EX1006, Abstract (disclosing “[a] method of

delivering benzindene prostaglandins to a patient by inhalation” for the treatment of

“pulmonary hypertension”); see also EX1009 (Voswinckel 2006), 149 (titled
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“Inhaled Treprostinil for Treatment of Chronic Pulmonary Arterial Hypertension”).

Indeed, Voswinckel 2006, like Voswinckel JESC and Voswinckel JAHA, puts into

clinical practice the express teachings of the ʼ212 Patent, with success.         But

Voswinckel 2006 is limited to one form of inhalation delivery, and other forms were

well-known by 2006. Each form had various advantages and disadvantages that

made it useful for different patients and scenarios. See, e.g., EX1031 (“Comparing

Clinical Features of the Nebulizer, Metered-Dose Inhaler, and Dry Powder Inhaler”).

As Dr. Gonda and Dr. Hill explain, a POSA would have been motivated to apply the

’212 Patent’s teachings as to various forms of inhalers and dry powder formulations,

while maintaining the dosage and breath limitations of Voswinckel 2006, with a

reasonable expectation of success because Voswinckel 2006 had shown that

treprostinil was “clinically effective, safe, and well tolerated” at the dosage and

breath of “15 µg … inhaled in 3 breaths.” See EX1009, 150; EX1004, ¶110-113;

EX1002, ¶¶173-176.

      B.     Voswinckel 2006 in combination with the ’212 Patent renders
             obvious claims 2 and 4-8

              1.    Dependent Claim 2

     2      The method of claim 1, wherein the inhalation device is a soft mist
            inhaler.

      As explained above at Sections X.B.2 and XV.A., a POSA would understand

the ’212 Patent’s teachings to apply to soft mist inhalers, and expect Voswinckel

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2006’s dosage and breath disclosures to be realizable via a soft mist inhaler.

EX1004, ¶115-116. Thus, Voswinckel 2006 in combination with the ’212 Patent

render obvious “wherein the inhalation device is a soft mist inhaler.”

              2.    Dependent Claim 4

  4        The method of claim 1, wherein the inhalation device is a dry powder
           inhaler.

      The ’212 Patent discloses this element, as detailed above at Section X.B.4.

See also EX1002, ¶180; EX1004, ¶118. A POSA would have readily understood

that “inhaled treprostinil” dosage and breath disclosure of Voswinckel 2006 could

be utilized as a powder delivered in a “dry powder inhaler” as disclosed and claimed

by the ’212 Patent. EX1004, ¶119. A POSA would have been motivated to do so

because dry powder inhalers were well-known to be very portable and quick to use,

breath-actuated, could be designed as single-dose or multi-dose devices, provided

the “lowest cost dose,” and were easier for patients (especially children) to use than

the pulsed ultrasonic nebulizer disclosed in Voswinckel 2006. Id.; EX1030, 58, 61-

62, 63; EX1031, 1316-17; see also EX1039, 81 (“Advantages such as the potential

ability to generate high FPFs and a relatively high lung deposition, fast and easy

administration, the ability to prepare stable formulations (compared with solutions),

and the fact that DPIs are breath-actuated and easily portable, justify their

existence.”). A POSA would thus have had a reasonable expectation of success that


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the “inhaled treprostinil” described in Voswinckel 2006 could be delivered using a

dry powder inhaler. EX1004, ¶119.

              3.    Dependent Claim 5

     5     The method of claim 1, wherein the inhalation device is a pressurized
           metered dose inhaler.

      The ’793 Patent defines a pressurized metered dose inhaler (pMDI) as “a

device which produces the aerosol clouds for inhalation from solutions and/or

suspensions    of   respiratory   drugs    in    chlorofluorocarbon    (CFC)    and/or

hydrofluoroalkane (HFA) solutions. EX1001, 7:17-21. The ’212 Patent discloses

use of an “inhaler,” (EX1006, 5:30-32) and pMDIs were well-known inhalers as of

2004. See EX1004, ¶121; EX1002, ¶183.

      A POSA would have been motivated to deliver the “inhaled treprostinil”

described in Voswinckel 2006 using pMDIs with a reasonable expectation of

success. As Dr. Gonda explains, pMDIs were known to be “efficient” while being

“inherently portable and very convenient to use” (EX1020 at 379), which would

motivate a POSA to deliver the “inhaled treprostinil” using a pMDI, because patient

adherence was a known problem that could be eased by portability and convenience.

EX1004, ¶122. And a POSA would have had a reasonable expectation that the

“inhaled treprostinil” disclosed in Voswinckel 2006 could be delivered using a

pMDI, because they were readily available, well understood, and offered for


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“[n]early all major respiratory drugs.” Id.

      Thus, a POSA would have understood the combination of Voswinckel 2006

and the ’212 Patent to render claim 5 obvious. EX1002, ¶184.

              4.    Dependent Claim 6

  6        The method of claim 1, wherein the formulation is a powder.

      Claim 6 would have been obvious over Voswinckel 2006 in combination with

the ’212 Patent, which discloses and claims that powder formulations may be used

to treat pulmonary hypertension.         EX1006, 5:37-39 (“Alternatively, solid

formulations, usually in the form of a powder, may be inhaled in accordance with

the present invention.”), claims 6 and 9. A POSA would have been motivated to

convert Voswinckel 2006’s treprostinil solution to a powder because powders were

known to be more stable formulations than solutions by May 2006, and the ʼ212

Patent specifically claims such powder formulations for the same indication as

Voswinckel 2006. See EX1004, ¶125; EX1039, 81; EX1006, claim 9. A POSA

would have had a reasonable expectation of success in doing so because converting

a solution to dry powder was well known by 2006, and the ʼ212 Patent discloses and

claims that treprostinil can be formulated as a powder for delivery by inhalation.

See, e.g., EX1004, ¶125; EX1040, 51-53 (“Preparation of Powders” section).




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             5.     Dependent Claim 7

  7        The method of claim 1, wherein the powder comprises particles less
           than 5 micrometers in diameter.

       Claim 7 would have been obvious over Voswinckel 2006 in combination with

the ’212 patent, which discloses that “the particles are preferably less than 10

micrometers in diameter, and more preferably, less than 5 micrometers in diameter.”

EX1006, 5:39-41.

             6.     Dependent Claim 8

  8        The method of claim 1, wherein the formulation contains no
           metacresol.

       Claim 8 is disclosed in Voswinckel 2006 and the ’212 Patent. Voswinckel

2006 does not disclose the presence of metacresol in the described formulation of

“inhaled treprostinil,” and the ’212 Patent discloses formulations without

metacresol. See generally EX1009; EX1006, 5:25-29 (disclosing formulation of a

“more preferred solution” that does not include metacresol), 8:39-44 (disclosing

steps of formulating treprostinil inhalation solution that do not include

metacresol). Voswinckel 2006 in combination with the ’212 Patent therefore

discloses a formulation of treprostinil that contains no metacresol. EX1004, ¶130-

131.

XVI. NO SECONDARY CONSIDERATIONS OF NON-OBVIOUSNESS EXIST

       No secondary considerations of non-obviousness were presented to the PTO.

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To the extent PO argues, similar to their arguments in IPR2017-01621 and IPR2017-

01622 and in the ’793 Patent, that the claims recite unexpected results, address a

long-felt but unmet need, have been copied, and have been commercially successful,

those considerations do not preserve validity, particularly because PO cannot

establish a nexus between those considerations and the claims.

      First, the fact that treprostinil by inhalation was safe and effective at the

dosage range claimed by the ’793 patent was not an unexpected result by 2006.

This result was already disclosed by the prior art discussed in this Petition (see, e.g.,

EXS1007-1010.       Thus, the success of administering 15 to 90 micrograms of

treprostinil in 1 to 3 breaths was entirely expected as of May 2006. EX1004, ¶133.

      Second, no long-felt, but unmet need for a “treatment for pulmonary

hypertension that can be administered using a compact inhalation device” (EX1001,

2:60-62) existed in 2006, such that it was allegedly addressed by PO’s Tyvaso®

(treprostinil) inhalation solution. By 2006, pulmonary hypertension treatment with

a compact inhalation device, like a nebulizer, could be achieved in more breaths,

lower concentrations, and by iloprost.          See supra, Sections VIII.B-C.     These

treatments meet the articulated “long-felt need,” regardless of whether they practice

the ’793 Patent claims—exemplifying why there is no nexus between the ’793

Patent’s treprostinil, dosage, or breath claim limitations and the purported need. In

addition, treprostinil was already available for subcutaneous and intravenous

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administration well before Tyvaso® (see, e.g., EX1018), and there are disadvantages

to oral inhalation, such that even today, doctors prescribe subcutaneous or

intravenous dosing of treprostinil over inhaled treprostinil. See EX1002, ¶¶189-190;

EX1004, ¶135. So, more accurately, Tyvaso® was approved by the FDA as another

option, useful in certain circumstances, for an already met need.15 EX1004, ¶137.

To the extent there was any need for the other claimed, non-nebulizer inhalation

devices, PO actively gave up on those paths and instead pursued minor

advancements in its nebulizer and non-inhaled routes like oral delivery.         See

EX1004, ¶136. PO simply claimed use of the other devices without producing a

product for the market, because they did not believe they met a long-felt need worth

pursuing and instead wanted to force out companies, like Petitioner, who developed

dry powder formulations and inhalers. Id.

        Third, as for copying, PO cannot show evidence of copying simply because




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     Further, as Dr. Gonda explains, a POSA would have known that pulmonary

hypertension treatment with compact inhalation devices, like a soft mist inhaler or a

dry powder inhaler, could be achieved in a smaller number of breaths using a higher

concentration of the drug, and the safety, tolerability, and efficacy of such

formulations was tested in patients. EX1004, ¶134.


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they have accused Petitioner of infringing the ’793 Patent claims. As Dr. Gonda

explains, a POSA would not consider Liquidia’ s product “copying,” because PO

UTC never developed a dry powder formulation or inhaler. EX1004, ¶138. Further,

considering the ’793 Patent issued after Liquidia developed LIQ861 and submitted

its NDA, a skilled artisan would not consider Liquidia’s product a “copy” of the

alleged claimed invention. Compare EX1001 (issued July 21, 2020), with EX1042

(announcing Liquidia’s NDA submission in January 27, 2020 Press Release);

EX1049 (announcing FDA acceptance of LIQ861 NDA on April 8, 2020.)

      PO may argue, as they have in district court, that because inventor Roscigno

is a former employee of the Petitioner, Petitioner must have copied the claimed

invention. But any inference that Roscigno’s involvement resulted in any alleged

“copying” is unsupported speculation by the PO, and is belied by the fact that

Roscigno had been working at Liquidia since 2015, years before the application for

the ’793 Patent was even filed in 2020.

      Finally, PO has not produced evidence that Tyvaso®’s market share is tied to

the ’793 Patent claims. In fact, while the Tyvaso® label recommends an initial

dosage of 3 breaths, it expressly instructs increasing the dosage by “an additional 3

breaths per session” every “1-2 week[s]” as tolerated. See EX1043, 1 (Dosage and

Administration). All but the initial dosing usage of Tyvaso® would not practice the

’793 Patent claims, which are limited to a single event dose of 1 to 3 breaths. In

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addition, Tyvaso®, a solution of treprostinil, is approved for oral inhalation through

a pulsed ultrasonic delivery device, and therefore does not practice any claims

directed to a soft mist inhaler, dry powder, DPI or MDI. Id., 2 (Section 2.1). In sum,

any evidence of Tyvaso®’s commercial success lacks the required nexus to the

claims.

      Accordingly, the secondary considerations of non-obviousness do not warrant

a finding that the Petitioned Claims are patentable.

XVII. CONCLUSION

      Petitioner respectfully requests that the Board institute inter partes review of

claims 1–8 of the ’793 Patent.


                                                Respectfully submitted,
Dated: January 7, 2021
                                                COOLEY LLP
COOLEY LLP
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Tel: (212) 479-6840                             Counsel for Petitioner
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         CERTIFICATE OF COMPLIANCE WITH WORD COUNT


      Pursuant to 37 C.F.R. § 42.24(d), I certify that this preliminary response

complies with the type-volume limits of 37 C.F.R. § 42.24(c)(1) because it

contains 13,689 words, according to the word-processing system used to prepare

this petition, excluding the parts of this preliminary response that are exempted

by 37 C.F.R. § 42.24(c) (including the table of contents, a table of authorities,

an exhibits list, a listing of facts, a certificate of service or this certificate of

word count, or appendix of exhibits).

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                          CERTIFICATE OF SERVICE


      I hereby certify, pursuant to 37 C.F.R. §§ 42.6(e) and 42.105(b), that a
complete and entire copy of this PETITION FOR INTER PARTES REVIEW OF
U.S. PATENT NO. 10,716,793 including all exhibits (Nos. 1001-1079) and related
documents, were served via FEDERAL EXPRESS on the 7th day of January, 2021,
the same day as the filing of the above-identified document in the United States
Patent and Trademark Office/Patent Trial and Appeal Board, upon the Patent Owner
by serving the correspondence address of record with the USPTO as follows:
                          Foley & Lardner LLP
                          3000 K Street N.W.
                          Suite 600
                          Washington, DC 20007-5109

And, via FEDERAL EXPRESS upon counsel of record for Patent Owner in the
litigation pending before the U.S. District Court for the District of Delaware
entitled United Therapeutics Corporation v. Liquidia Technologies, Inc., Case No.
1:20-cv-00755-RGA as follows:

Jack B. Blumenfeld                         Douglas H. Carsten
Michael J. Flynn                           Joshua Mack
MORRIS, NICHOLS, ARSHT & TUNNELL           Art Dykhuis
LLP                                        WILSON SONSINI GOODRICH & ROSATI
1201 North Market Street, 16th Floor       12235 El Camino Real
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Case: 23-1805   Document: 13   Page: 204   Filed: 06/02/2023




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            EXHIBIT 26
                                      Case: 23-1805                      Document: 13                 Page: 213                 Filed: 06/02/2023
                                                                                                                                                                             3
                                                                                      1
                                                                                                   09:51:47    1   Huiya Wu from Goodwin Procter. Adam Burrowbridge, Art
                 1                  IN THE UNITED STATES DISTRICT COURT                            09:51:51    2   Dykhuis and Doug Carsen from McDermott Will & Emery.
                 2                    FOR THE DISTRICT OF DELAWARE
                                                                                                   09:51:56    3                 THE COURT: Good morning. Way faster than I
                 3
                                                                                                   09:51:58    4   could possibly absorb that.
                 4   UNITED THERAPEUTICS CORPORATION, )
                                                      )                                            09:52:01    5                 Who do you have over on this side here?
                 5                    Plaintiff,      )
                                                      ) C.A. No. 20-755-RGA
                 6   v.                               )
                                                                                                   09:52:04    6                 MR. HOESCHEN: Good morning, again, Your Honor.
                                                      )
                 7   LIQUIDIA TECHNOLOGIES, INC.,     )                                            09:52:06    7   Nate Hoeschen from Shaw Keller on behalf of Defendant. With
                                                      )
                 8                    Defendant.      )                                            09:52:08    8   me at counsel table, I have Sanya Sukduang, and Jonathan
                 9                                                                                 09:52:11    9   Davies from Cooley, as well as Rusty Schundler from
                                                              J. Caleb Boggs Courthouse
                10                                            844 North King Street
                                                              Wilmington, Delaware
                                                                                                   09:52:15   10   Liquidia. And behind us here we have Brittany Cazakoff,
                11
                                                              Friday, March 4, 2022                09:52:19   11   Doug Cheek and Robert Minn from Cooley.
                12                                            9:51 a.m.
                                                              Pretrial Conference                  09:52:21   12                 THE COURT: Okay. All right. Well, good
                13
                                                                                                   09:52:24   13   morning to you all.
                14   BEFORE:   THE HONORABLE RICHARD G. ANDREWS, U.S.D.C.J.

                15   APPEARANCES:
                                                                                                   09:52:24   14                 So, I read the Pretrial Order. I've read the

                16                  MORRIS NICHOLS ARSHT & TUNNELL LLP                             09:52:30   15   motions in limine. I'm prepared to rule on them. Prepared,
                                    BY: MICHAEL J. FLYNN, ESQUIRE
                17                                                                                 09:52:40   16   I think, to rule on basically the issues that were
                                              -and-
                18                                                                                 09:52:44   17   highlighted in the Pretrial Order.
                                    GOODWIN PROCTER LLP
                19                  BY: WILLIAM JACKSON, ESQUIRE
                                    BY: HUIYA WU, ESQUIRE
                                                                                                   09:52:48   18                 There was one thing that I had a question about
                20
                                                      -and-                                        09:52:55   19   which was: So, there's a motion filed by the Plaintiff for
                21
                                    McDERMOTT WILL & EMERY                                         09:53:00   20   what I would call the 295 presumption. And even though
                22                  BY: DOUGLAS H. CARSTEN, ESQUIRE
                                    BY: ADAM BURROWBRIDGE, ESQUIRE                                 09:53:05   21   we're a few weeks away from trial, the parties stipulated to
                23                  BY: ART P. DYKHUIS, ESQUIRE

                24                                            For the Plaintiff                    09:53:15   22   delay that briefing, which I denied because it didn't make

                25                                                                                 09:53:24   23   much sense to me from what I could see.
                                                                                                   09:53:26   24                 But does somebody want to explain to me, is this
                                                                                                   09:53:29   25   important to you all or why are we talking about delaying
                                                                                  2
                                                                                                                                                                             4
            1
                                                                                                   09:53:32    1   the 295 briefing?
            2                                                                                      09:53:34    2                 MR. DAVIES: Your Honor, I can address the

            3    APPEARANCES CONTINUED:                                                            09:53:37    3   request for extension. The request for extension was made
                                                                                                   09:53:40    4   because we thought it was untimely. The parties were trying
            4             SHAW KELLER, LLP
                          BY: NATHAN R. HOESCHEN, ESQUIRE                                          09:53:43    5   to complete a Pretrial Order.
            5                                                                                      09:53:45    6                 That being said, Your Honor, our response will
                                    -and-
            6                                                                                      09:53:47    7   be ready on Tuesday, and we'll be prepared to file opposing
                          COOLEY LLP                                                               09:53:50    8   responses on Tuesday.
            7             BY: SANYA SUKDUANG, ESQUIRE
                          BY: JONATHAN R. DAVIES, ESQUIRE                                          09:53:51    9                 THE COURT: Okay. Thank you.
            8             BY: DOUG CHEEK, ESQUIRE
                                                                                                   09:53:59   10                 All right. So, let's go through the Pretrial
                          BY: BRITTANY CAZAKOFF, ESQUIRE
            9             BY: ROBERT J. MINN, ESQUIRE                                              09:54:01   11   Order. And when I say go through, I'm going through the
                                                                                                   09:54:05   12   things that I marked as being disputes. If I miss a
           10                               For the Defendant
                                                                                                   09:54:09   13   dispute, you know, there will be -- let me know.
           11    Also Present:
                                                                                                   09:54:16   14                 So, one was on Page 12, and it had to do with

           12         Mr. Rusty Schundler                                                          09:54:27   15   using deposition designations of the parties' own officers
09:46:23
                                                                                                   09:54:32   16   and employees. And the Plaintiff said, Well, let's go by
09:46:23   13
09:46:23                            *** PROCEEDINGS ***                                            09:54:37   17   the rules here. And the Defendant said, No, let's change
09:51:09   14                                                                                                      the rules.
                                                                                                   09:54:42   18
09:51:09   15               DEPUTY CLERK: All rise. Court is now in
09:51:11   16    session. The Honorable Richard G. Andrews presiding.                              09:54:43   19                 So, my question is: Why shouldn't I go with
09:51:19   17               THE COURT: All right. Please be seated.                                09:54:48   20   Plaintiff since they're saying, Let's follow the rules?
09:51:22   18               This is the pretrial conference in United
09:51:26   19    Therapeutics vs. Liquidia Technologies, Civil Action Number                       09:54:53   21                 MR. SUKDUANG: Your Honor, this is just simply a
09:51:29   20    20-755.                                                                           09:54:54   22   matter of trial housekeeping. We have three days. I think
09:51:35   21               And so, for the Plaintiff, Mr. Flynn, good
09:51:40   22    morning.                                                                          09:54:58   23   it pertains to really one witness from Liquidia.
09:51:41   23               MR. FLYNN: Good morning, Your Honor.                                   09:55:02   24                 THE COURT: Who is that?
09:51:42   24               THE COURT: Who's sitting at the table with you?
09:51:43   25               MR. FLYNN: Sure. I have William Jackson and                            09:55:05   25                 MR. SUKDUANG: Mr. Kindig. And it really just
1 of 27 sheets                                                                            Page 1 to 4 of 68                                                    03/05/2022 11:15:55 PM
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                                                                     5                                                                                        7
09:55:07    1   pertains to what evidence Plaintiff presents at trial with            09:58:30    1               MR. JACKSON: Yes, Your Honor.
09:55:13    2   respect to infringement. If it's really -- they took his              09:58:31    2               THE COURT: All right. On Page 60 at the bottom
09:55:18    3   deposition. It's probably a few minutes of deposition                 09:58:38    3   going over to the next page, there's a dispute about closing
09:55:21    4   transcripts. If you need him live, then we'll bring him,              09:58:42    4   argument. So, basically closing argument is not going to
09:55:24    5   but really it's a matter of trying to be --                           09:58:48    5   count against the ten-and-a-half hours of trial time. And
09:55:27    6               THE COURT: All right. Well, if you need him               09:58:54    6   if you want to have closing argument, we can have it on the
09:55:29    7   live, you should bring him. So, I will go with the                    09:59:00    7   Thursday morning following the three days of trial. And I
09:55:32    8   Plaintiff's proposal.                                                 09:59:06    8   think I had a time, but I lost track of what that is.
09:55:32    9               All right. On Page 15 to 16, there's a dispute,           09:59:10    9               I think I have something else. In any event, if
09:55:49   10   which as I could see it, is contingent upon the outcome of            09:59:16   10   I don't come up with it, let me ask: What do I have
09:55:54   11   the 295 briefing. So, what I thought, since I take it                 09:59:19   11   scheduled on that Thursday morning?
09:55:59   12   you're in agreement that if the 295 motion is not granted, I          09:59:21   12               (Discussion held off the record:)
09:56:05   13   think your proposals are the same; right?                             09:59:28   13               THE COURT: Okay. Well, we can have closing
09:56:15   14               MR. JACKSON: William Jackson on behalf of                 09:59:30   14   argument at 8:30 a.m. on the Thursday, and that will just
09:56:19   15   United Therapeutics. Yes, that's my understanding as well.            09:59:34   15   be -- it will be limited to some amount of time in the
09:56:21   16               THE COURT: Okay. Let's put it in the Pretrial             09:59:40   16   neighborhood of 30 to 45 minutes per side, but we can
09:56:27   17   Order what you both agree on, and you can put in a footnote           09:59:49   17   discuss that more later.
09:56:32   18   saying if the 295 motion is granted, then the Order will be           09:59:53   18               Oh, yeah. Okay. Right. 8:30 a.m. on Thursday.
09:56:47   19   as Plaintiff proposes it in that alternative.                         09:59:58   19               So, then there's somewhere in here. Oh, yeah,
09:56:53   20               Okay?                                                     10:00:03   20   then we started to have the additional matters. So, as I
09:56:54   21               MR. SUKDUANG: I have a question on that, if I             10:00:13   21   understand it, Liquidia wants to try the invalidity or
09:56:56   22   may, Your Honor. In Plaintiff's alternative if the 295 is             10:00:24   22   validity of the '901 patent.
09:56:59   23   granted, they've requested presenting their case-in-chief on          10:00:28   23               Besides for retrying the case that you did in
09:57:04   24   infringement on '793. We present our opposition, but then             10:00:31   24   front of the PTAB, do you have other invalidity and '901
09:57:09   25   they get to rebut infringement on '793 and rebut                      10:00:37   25   patent cases that you want to try?

                                                                     6                                                                                        8
09:57:14    1   infringement on '066. Our understanding is, and we had                10:00:39    1               MR. SUKDUANG: Yes, Your Honor. We actually
09:57:18    2   asked for rebuttal on invalidity and they said, no. So, it            10:00:41    2   made an offer to Defendant when we had our meet and confer
09:57:22    3   doesn't seem to be appropriate if they present their                  10:00:44    3   for the pretrial submission, and we had offered to
09:57:24    4   evidence on '793 that they don't get a rebuttal on '793.              10:00:46    4   streamline the case, given that there's three days and
09:57:28    5   And if the presumption has shifted, they've already admitted          10:00:49    5   ten-and-a-half hours that we would forego any invalidity on
09:57:32    6   that that's the best they can present. Why do they get a              10:00:53    6   the '901 at trial here. If UTC appeals the Court's claim
09:57:35    7   rebuttal on the '066?                                                 10:01:00    7   construction that led to non-infringement to the Federal
09:57:37    8               THE COURT: All right. Well, to the extent that            10:01:03    8   Circuit and is remanded, we would bring those issues at that
09:57:41    9   what you're saying is --                                              10:01:06    9   time.
09:57:47   10               MR. SUKDUANG: It's bullet point four.                     10:01:07   10               So, we're willing to get rid of the '901 now
09:57:49   11               THE COURT: No, no. I'm sorry. I was just                  10:01:09   11   reserving our right to bring our invalidity if there's a
09:57:51   12   checking to make sure, because what you have on the thing             10:01:12   12   remand. But to your question --
09:57:55   13   you agree on is basically whoever has the burden of proof             10:01:14   13               THE COURT: Well, wait. Hold on. Because I
09:57:59   14   goes first. The other side goes second and we're done.                10:01:16   14   understood that was not your position when the Pretrial
09:58:02   15               MR. SUKDUANG: Right. First, correct, Your                 10:01:21   15   Order was written.
09:58:04   16   Honor, they're changing that in their proposal.                       10:01:23   16               Is that what the Plaintiff wants to do?
09:58:07   17               THE COURT: Right. Well, that's the way it                 10:01:27   17               MR SUKDUANG: We're not sure. They haven't
09:58:09   18   should be if the 295 motion is granted.                               10:01:28   18   responded to our offer.
09:58:14   19               MR. JACKSON: Agreed, Your Honor.                          10:01:29   19               THE COURT: Yes, now they're about to.
09:58:15   20               THE COURT: So, you may need to change it                  10:01:31   20               MR. JACKSON: So, Your Honor, the offer was
09:58:17   21   because it does -- you know, I didn't pay a lot of attention          10:01:34   21   actually conditioned on some other things as well. In our
09:58:19   22   to it because it wasn't objected to on the basis that has             10:01:37   22   view, the '901, considering that, A, there's a stipulation
09:58:23   23   just been raised, but it does look like perhaps there was a           10:01:42   23   of --
09:58:29   24   point there.                                                          10:01:43   24               THE COURT: Well, I understand.
09:58:30   25               Okay?                                                     10:01:44   25               MR. JACKSON: -- non-infringement, it should all
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                                                                        9                                                                                       11
10:01:46    1   be pushed to --                                                        10:05:01    1   that might happen here, too.
10:01:47    2               THE COURT: Well, so let me tell you what I'm               10:05:02    2               THE COURT: No, I appreciate that and, you know,
10:01:49    3   going to do, which is this: You can keep talking about it              10:05:08    3   I'm certainly not -- I have zero interest in racing the PTAB
10:01:54    4   between yourselves, but as we get to the motions in limine,            10:05:13    4   to a decision here. And I don't -- you said the PTAB's
10:02:00    5   I'm not going to let the Defendant do anything that they               10:05:26    5   decision, that's due in mid-August?
10:02:10    6   could have done in front of the PTAB. That's, in my                    10:05:29    6               MR. JACKSON: I believe it's August 11th, if I'm
10:02:16    7   opinion, statutorily estopped because of the final written             10:05:31    7   not mistaken.
10:02:20    8   decision. My view is, and this actually includes the things            10:05:33    8               MR. SUKDUANG: That could get first pushed, Your
10:02:27    9   that you won on, it certainly includes things that you lost            10:05:35    9   Honor, because Plaintiffs have continued to ask for
10:02:30   10   on because or that you -- where you say, well, the claim               10:05:37   10   extensions in that even as of yesterday. So, it's still up
10:02:37   11   construction was wrong.                                                10:05:40   11   in the air, but yes, it should be some time in August some
10:02:40   12               So, if they have other '901 defenses that they             10:05:43   12   time.
10:02:44   13   want to do, I think we ought to get them done. But if                  10:05:43   13               THE COURT: Well, put it like this, so, you can
10:02:50   14   there's a dispute between you, but if -- but I'm also                  10:05:45   14   put the case on or, I mean, you can put your case on.
10:02:55   15   agreeable if you want to stipulate or otherwise agree to               10:05:53   15   There's no guarantee that I will actually decide it. But,
10:03:02   16   the -- that the rest of the '901 defenses are preserved for            10:05:59   16   and to the extent you have, of course, non, you know, 112 or
10:03:09   17   in the event of a remand on the stipulated non-infringement.           10:06:05   17   defenses or something else, you can obviously put them on
10:03:14   18   I'm good with that, too. But the default is that we'll try             10:06:08   18   because the PTAB won't decide because they're not barred and
10:03:19   19   everything that the Defendant wants to try at the trial.               10:06:12   19   PTAB won't rule on those. So, okay. So, in any event, the
10:03:26   20               MR. SUKDUANG: Your Honor, and we do have some              10:06:24   20   Defendant can put that on.
10:03:28   21   112 defenses, but we'll speak to counsel and we're willing             10:06:27   21               All right. So, the 295 presumption, I will
10:03:31   22   to push those if there's --                                            10:06:32   22   decide that after we finish the briefing.
10:03:32   23               THE COURT: Yeah, so speak -- you don't need                10:06:37   23               There is an argument in here about the plain and
10:03:33   24   to -- you should speak to each other. Like I said, it's in             10:06:43   24   ordinary meaning of pulmonary hypertension. And I read what
10:03:37   25   your ball park now. Okay?                                              10:06:46   25   the parties submitted because it's in the Pretrial Order.

                                                                        10                                                                                      12
10:03:40    1               MR. JACKSON: Yeah.                                         10:06:50    1   Other than reading it, I didn't do anything else. It
10:03:41    2               THE COURT: Okay. All right.                                10:06:54    2   certainly struck me, just based on reading it, that the
10:03:47    3               So, then there was a question about the                    10:07:00    3   opinion of the Plaintiff's expert, pulmonary hypertension is
10:03:51    4   statutory estoppel on the '793 patent which is at Pages 19             10:07:06    4   pulmonary arterial hypertension struck me as a losing
10:04:00    5   and 20 of the Pretrial Order. And so, as I understand it,              10:07:12    5   position. But, you know, I don't usually decide these
10:04:05    6   there's no final written description at the PTAB. So, by               10:07:18    6   things just based on, I don't know, kind of offhand remarks
10:04:12    7   law, Defendant can present whatever it wants to in terms of            10:07:23    7   in a Pretrial Order.
10:04:17    8   the '793 patent; right?                                                10:07:24    8               So, the question is: What do you want to do
10:04:21    9               MR. SUKDUANG: Yes, Your Honor. If you're                   10:07:29    9   about this? You know, we can do some expedited claim
10:04:22   10   following the '901, then the similar applies to '793.                  10:07:35   10   construction before trial. We can have people testify at
10:04:25   11   There's no statutory estoppel.                                         10:07:39   11   trial. There's probably other things that creative lawyers
10:04:27   12               THE COURT: Well, there's no final written                  10:07:44   12   can think of that we can do.
10:04:30   13   decision, so it's the same thing; right?                               10:07:45   13               And have you all talked to each other about
10:04:32   14               MR. SUKDUANG. Right. The estoppel is based on              10:07:48   14   this?
10:04:33   15   the final decision. There's none in the '793, so we agree              10:07:49   15               MR. SUKDUANG: No, but we've thought about it,
10:04:36   16   with you. That's our position.                                         10:07:50   16   Your Honor.
10:04:37   17               THE COURT: Sorry. I didn't get what you --                 10:07:50   17               THE COURT: Okay. Well, that's a start.
10:04:39   18   what about you?                                                        10:07:53   18               MR. SUKDUANG: Yeah. Well, again, we're trying
10:04:39   19               MR. JACKSON: So, Your Honor, Axinn agreed                  10:07:54   19   to expedite. We're trying to not put additional papers
10:04:41   20   there's no final written decision, so estoppel would not               10:07:57   20   because you've got the 295 now. If the testimony wants to
10:04:45   21   apply. To the degree if this would extend beyond August                10:08:00   21   go in at trial, we're fine with that, but the witness,
10:04:49   22   11th, I believe the date is, I recall the Court in another             10:08:06   22   Dr. Waxman, should not now submit a new report on his
10:04:53   23   case had the circumstance where the PTAB issued a final                10:08:11   23   intrinsic evidence or extrinsic evidence relying --
10:04:55   24   written decision after trial, but before the decision. And             10:08:14   24   supporting his construction because his report simply says
10:04:58   25   we just wanted to identify that there's the possibility that           10:08:17   25   in one paragraph, the '793 patent, which is the question
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            EXHIBIT 27
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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

  UNITED THERAPEUTICS
  CORPORATION,

                          Plaintiff,

                 V.                                       Civil Action No. 20-755-RGA

  LIQUIDIA TECHNOLOGIES, INC. ,

                          Defendant.



                                 ORDER ON MOTIONS IN LIMINE

         Plaintiff's MIL #1 (D.I. 323). The parties agree that the ' 393 patent is not prior art.

  Thus, for purposes of deciding obviousness, it is irrelevant. Whether the same product-

  trepostinol-is the product of the claims of the ' 393 , ' 901 , and ' 066 patents is also irrelevant to

  obviousness. Thus, any obviousness arguments directed to the '901 and ' 066 patents based the

  two patents "claiming the same product" as the ' 393 patent are not probative. Plaintiff's motion

  is GRANTED to the extent it seeks to exclude that argument. Based on what counsel said at the

  pretrial conference, it appears that the only theory Defendant wanted to offer this evidence for

  was disputed factual issues relating to collateral estoppel. I ruled that factual issues relating to

  collateral estoppel would not be tried at the March 28 th trial.

         As to the ' 901 patent, non-infringement is stipulated. Defendant, I believe, has a

  counterclaim for invalidity. Defendant can pursue its counterclaim. What it cannot do, however,

  is to pursue that counterclaim based on "any ground that [it] raised or reasonably could have

  raised during [its instituted IPR that has resulted in a final written decision]. " There is no

  exception for "successful" grounds. Perhaps if there were a jury and if there were infringement

  claims, I would have to consider any claimed issues of unfairness to Defendant in excluding its
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 "successful" grounds. But those issues are not present in the posture of this case. Statutory

 estoppel applies, and Plaintiffs motion is GRANTED on this issue too.

          Plaintiffs MIL #2 (D.I. 325). Plaintiffs motion is DENIED. Ghofrani and Voswinckel

  on their face each have a different inventive entity than the ' 793 patent. In the absence of any

  other evidence, that is enough to make them art "by others." But it seems like there will be other

  evidence. Thus, whether Ghofrani and Voswinckel are in fact prior art is therefore an issue for

  trial to be decided after consideration of the relevant admissible evidence.

          Defendant's MIL (D.I. 320). Dr. Fawzi may not opine that the PTAB got the invalidity

  decision as to the ' 393 patent wrong or that there are "clear errors in" "the '393 IPR panel' s

  conclusions." It is not clear from the briefing how much more Defendant is trying to limit Dr.

  Fawzi. There was further elucidation during the pretrial conference, and the issues overlap with

  the issues in the pending motion for summary judgment (D.I. 281), which is referred to a

  magistrate judge. I may need to consider that motion' s resolution before reaching any further

  conclusions.

          The balance of the dispute, including whether Dr. Fawzi' s opinions involving column

  chromatography are "non-sensical," appear to relate to invalidity challenges to the ' 066 and ' 901

  patents and are best handled by cross-examination and/or opposing testimony from Defendant' s

  experts.

          Thus, Defendant' s motion is GRANTED in part, DENIED in part, and LEFT OPEN in

  part.

          IT IS SO ORDERED this 4th day of March 2022.




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                             No. 2022-2217

          UNITED STATES COURT OF APPEALS
             FOR THE FEDERAL CIRCUIT
                          ____________________

                UNITED THERAPEUTICS CORPORATION,
                         Plaintiff-Appellee,

                                    v.

                    LIQUIDIA TECHNOLOGIES INC.,
                        Defendant-Appellant,
                        ____________________

    On Appeal from a Judgment of the United States District Court
       for the District of Delaware, No. 20-cv-755 (Andrews, J.)
                          ____________________

   UNITED THERAPEUTICS’ OPPOSITION TO LIQUIDIA’S
  MOTION TO EXPEDITE BRIEFING AND ORAL ARGUMENT
                 ____________________

     The Court should deny Liquidia’s request to drastically shorten

United Therapeutics’ (UT’s) briefing deadlines and to expedite the oral

argument in this appeal (and two other appeals that have been

designated as companion cases). Liquidia has failed to establish any

reason—let alone good cause—for that extraordinary relief. The harm it

asserts is one that all losing Hatch-Waxman defendants face: an order

under 35 U.S.C. §271(e)(4)(A) setting the earliest date on which the FDA

may approve Liquidia’s proposed product. This routine scenario does not
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justify relief that is “not routinely granted.” Fed. Cir. R. 27, Practice

Note.

        Liquidia asserts that this case nevertheless warrants expedited

consideration, but the central premises of its argument are flawed—if not

misleading. On Liquidia’s telling, the PTAB has finally invalidated UT’s

’793 Patent, and the district court’s decision finding that patent valid and

infringed conflicts with both precedent and the PTAB’s decision. None of

that is correct.

        First, the PTAB’s final written decision will not take effect—and

the Patent Office will not cancel any claims of the ’793 Patent—unless

and until (1) the PTAB denies UT’s pending request for rehearing and (2)

any future appeal from that IPR decision “has terminated” in Liquidia’s

favor. 35 U.S.C. §318(b). Second, the one decision that Liquidia cites for

the proposition that a not-yet-final invalidity ruling in the PTAB compels

a finding of noninfringement in district court says no such thing. On the

contrary, that case makes clear that validity and infringement are two

entirely separate inquiries. Third, there is no “conflict” between the

district court and PTAB decisions because each considered entirely

different invalidity arguments—a consequence of Liquidia’s decision to



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abandon its obviousness arguments midway through the district-court

trial and pursue only enablement and written-description challenges

there. In other words, the issue that Liquidia’s motion focuses on, the

obviousness of the ’793 Patent, will not arise in the three appeals that

are currently pending in this Court. Obviousness will come up, if at all,

only in a potential future appeal from the PTAB’s final written decision

on the ’793 Patent—which no party can even bring until the PTAB acts

on UT’s rehearing request.

     Moreover, the prejudicial impact of Liquidia’s requested schedule

on UT is particularly inappropriate because Liquidia’s request flows from

its own strategic decision to pursue an IPR on the ’793 Patent and

abandon those arguments in the district-court litigation. Liquidia knew

when it made that choice, well after the ’793 Patent was asserted, that

the IPR could not result in cancellation of the ’793 Patent until after any

appeals from the PTAB’s decision. See, e.g., D. Del. Dkt. No. 428, at 1-2;

Liquidia Mot. Ex. 3 (Trial Op.) at 36. Liquidia also knew that, if the

district court found the ’793 Patent valid and infringed, it would have no

choice but to order the effective date of final FDA approval of Liquidia’s

product to be a date “which is not earlier than the date of the expiration”



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of that patent. 35 U.S.C. §271(e)(4)(A). UT should not have to prepare

its briefs in half-time simply because Liquidia made a strategic choice to

pursue an IPR instead of presenting its anticipation and obviousness

defenses in district court.

     Liquidia is free to self-expedite its own briefs, and UT takes no

position on when the Court should schedule oral argument—UT will

appear at the Court’s convenience. But Liquidia has not come close to

justifying the compression of UT’s briefing schedule.

          BACKGROUND AND PROCEDURAL HISTORY

     UT brought this patent-infringement suit because Liquidia plans to

market an inhalation powder that will infringe three of UT’s patents: the

’066, ’901, and ’793 Patents. Liquidia Mot. at 1; Trial Op. at 1. When

seeking FDA approval to market that product, Liquidia certified that

UT’s patents were invalid and not infringed, triggering this litigation in

accordance with the Hatch-Waxman framework. Liquidia Mot. at 1-2;

Trial Op. at 2. Liquidia advanced its invalidity and noninfringement

arguments in the district court, see, e.g., D. Del. Dkt. No. 365, Ex. 3, and

also brought parallel IPRs challenging all three patents, see Nos.

IPR2020-00769, IPR2020-00770, IPR2021-00406. The PTAB instituted



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reviews on the ’901 and ’793 Patents but declined to institute review of

the ’066 Patent.

      The PTAB concluded that claims 1-5, 8, and 9 of the ’901 Patent

were obvious, while claims 6-7 were not. Liquidia Mot. Ex. 5 (’901 FWD)

at 2. Both parties have appealed the PTAB’s final written decision. In

district   court,   following    claim       construction,   UT   stipulated   to

noninfringement of the asserted ’901 Patent claims. Liquidia Mot. Ex. 6

(Stipulation). Thus, the ’901 Patent does not currently have any effect

on Liquidia’s ability to market its product.

      With respect to the ’793 Patent, Liquidia’s invalidity defenses in the

district   court    originally   included      obviousness    and   anticipation

arguments. See D. Del. Dkt. No. 365, Ex. 3, at 150-185 (advancing these

arguments in final pretrial submissions). But then, on the second day of

trial, Liquidia made a strategic choice: it dropped these arguments,

leaving them to be litigated solely in the parallel IPR proceeding, and

limited its district-court invalidity defenses on the ’793 Patent to written-

description and enablement issues only. See Trial Op. at 39-53.

      Thereafter, in the ’793 Patent IPR, the PTAB concluded that the

claims of the ʼ793 Patent are obvious. Liquidia Mot. Ex. 7 (’793 FWD) at



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2, 46-47. UT filed requests for rehearing and for review of that decision

by the PTAB’s Precedential Opinion Panel. See No. IPR2021-00406,

Papers 79-80. Both requests are still pending. If they are denied, UT

intends to appeal the PTAB’s decision to this Court.

     Meanwhile, in district court, Judge Andrews found after a four-day

bench trial that Liquidia will infringe claims 1, 4, 6, 7, and 8 of the ’793

Patent, and that Liquidia had not shown that the patent was invalid for

lack of enablement or adequate written description. Trial Op. at 53.

Because Liquidia had abandoned its obviousness challenges in the

district-court litigation, the district court made no findings regarding

obviousness. The district court also found that Liquidia had proven that

claims 1, 2, 3, 6, and 9 of the ’066 patent are invalid; had not proven the

invalidity of claim 8; and will not infringe claim 8. Id.

     The district court subsequently entered final judgment. Consistent

with 35 U.S.C. §271(e)(4)(A), the court “ordered that the effective date of

any final approval by the FDA of Liquidia’s [application for its inhaled

powder product] shall be a date which is not earlier than the expiration

date of the ’793 patent.”     Liquidia Mot. Ex. 4 (Final Judgment) ¶4.

Liquidia appealed the district court’s judgment as to the ’793 Patent, and



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UT cross-appealed the district court’s judgment as to the ’066 Patent.

                               ARGUMENT

     “[M]otions to expedite proceedings are not routinely granted,” Fed.

Cir. R. 27, Practice Note. Liquidia asserts that it will be harmed without

expedited briefing.1 But Liquidia has been harmed no more than any

other Hatch-Waxman defendant that loses at trial.            Liquidia took

advantage of the Hatch-Waxman statutory framework to rely on UT’s

data and thereby secure abbreviated FDA review of its application and

pre-approval district court litigation. It cannot turn around and argue

that a routine element of that same framework—the §271(e)(4)(A)

remedy—justifies extraordinary relief.

     Nothing about this case justifies departing from the Court’s

standard practice or imposing shortened deadlines on UT.              Liquidia

suggests that, unless the Court indulges Liquidia’s request for an

expedited schedule, it will be wrongly foreclosed from marketing its



1 Liquidia also suggests that patients will be harmed without expedited
briefing, Liquidia Mot. at 3, but that conclusory assertion ignores the fact
that patients already have access to treprostinil drugs, including UT’s
own dry powder inhalation formulation (Tyvaso DPI). Other drugs
include injection products (Remodulin and Liquidia’s own generic copy),
a liquid formulation for inhalation (Tyvaso), and a tablet formulation
(Orenitram).

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product. But there is nothing wrong with following the statute that

Congress enacted, and Liquidia misrepresents both the effect of the

PTAB’s ’793 Patent final written decision and the differences between

that pending case and the ones currently on appeal before the Court.

Moreover, Liquidia’s manufactured sense of urgency arises from its own

actions and strategic choices. Liquidia remains free to self-expedite its

own briefs, but the Court should deny Liquidia’s motion.

I.   The PTAB’s final written decision regarding the ’793 Patent
     is irrelevant to this appeal and its briefing schedule.

     Liquidia’s motion rests on three premises: that the PTAB has

already invalidated the ’793 Patent; that the Supreme Court’s decision in

Commil USA, LLC v. Cisco Systems, Inc., 575 U.S. 632 (2015), somehow

compels the district court to find noninfringement; and that the district

court’s decision in this case “conflict[s]” with the PTAB’s final written

decision on the ’793 Patent. Liquidia Mot. at 4. Liquidia is wrong on all

counts. There is no urgency on these facts.

     First, it is false to suggest that the PTAB has already invalidated

the ’793 Patent. See, e.g., Liquidia Mot. at 3 (suggesting that the patent

“has been rendered unpatentable”); id. at 5 (suggesting that this Court

should expedite the appeal “given the PTAB’s decision rendering


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unpatentable all asserted claims of the ʼ793 patent”). Rehearing is still

pending in the PTAB, and even if it were not, the PTAB’s final written

decision on the ’793 Patent is not self-executing. Instead, 35 U.S.C.

§318(b) provides that such a decision takes effect only if affirmed on

appeal:

     If the Patent Trial and Appeal Board issues a final written
     decision under subsection (a) and the time for appeal has
     expired or any appeal has terminated, the Director shall issue
     and publish a certificate canceling any claim of the patent
     finally determined to be unpatentable, confirming any claim
     of the patent determined to be patentable, and incorporating
     in the patent by operation of the certificate any new or
     amended claim determined to be patentable.

(emphasis added). This plain language makes clear that the claims of

the ’793 Patent can be cancelled only if and when the Director issues the

required certificate—which can happen only after any appeals are over

and only if those appeals are resolved in Liquidia’s favor. Cf. Bettcher

Indus., Inc. v. Bunzl USA, Inc., 661 F.3d 629, 645 (Fed. Cir. 2011)

(explaining, in applying §318’s predecessor, that “a determination of

patentability [can] occur only after all appeals have terminated”). Until

then, the ’793 Patent remains valid.

     Second, Liquidia incorrectly argues (Mot. at 5) that the district

court’s “fail[ure] to properly take into account the PTAB’s decision”


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conflicts with the Supreme Court’s decision in Commil USA, LLC v. Cisco

Systems, Inc., 575 U.S. 632 (2015). The very language that Liquidia

quotes makes clear why that is wrong. The Supreme Court explained

that “if [a] patent is indeed invalid, and shown to be so under the proper

procedures, there is no liability.” 575 U.S. at 644 (emphasis added). As

discussed above, the “proper procedures” here include the issuance of an

appropriate certificate by the PTO. Liquidia agreed that the PTAB’s

decision “does not compel [the district court] to enter a decision finding

the ’793 patent invalid,” arguing instead that it makes it impossible to

find infringement. D. Del. Dkt. No. 427, at 1. Commil itself contradicts

Liquidia’s argument: “infringement and invalidity are separate matters

under patent law.” 575 U.S. at 643 (“When infringement is the issue, the

validity of the patent is not the question to be confronted.”). In other

words, as Judge Andrews correctly explained, “[t]he Supreme Court

never stated . . . that a PTAB decision invalidating patent claims in an

IPR will preclude liability before it becomes final and nonappealable.” D.

Del. Dkt. No. 433, at 36. Unless and until the PTO Director issues a

certificate after all appeals have been exhausted, the patent is valid and

remains in force—and an infringer is subject to liability.



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     Third, it is false to suggest that the district court’s decision and the

PTAB’s decision are “conflicting decision[s] on [the] validity” of the ’793

Patent.     Liquidia Mot. at 4.     The two decisions considered entirely

different invalidity challenges. In the IPR proceedings, Liquidia argued

that the ’793 Patent was invalid as obvious or anticipated over several

references. See supra, p. 5. In the district-court proceedings, Liquidia

abandoned those arguments at trial for its own strategic reasons and

ultimately pressed only written-description and enablement challenges

at trial.     See id.   Thus, those written-description and enablement

challenges are the only invalidity arguments it can make in this appeal.2

There is simply no “conflict.” Liquidia chose to pursue its anticipation

and obviousness arguments in a separate forum on a separate timeline.

     For all those reasons, the grounds that Liquidia has offered for

expediting these appeals do not withstand scrutiny. In the end, Liquidia




2 Even when Liquidia sought a partial stay of judgment in the district
court permitting it to launch its infringing product immediately, it never
argued that it is likely to prevail in appealing the district court’s written-
description, enablement, or infringement findings. Instead, it has always
hinged its argument on the outcome of the PTAB proceedings, which, as
noted above, are still pending. Thus, Liquidia has never even attempted
to make a showing that the outcome of this appeal is likely to permit
Liquidia to launch its infringing product.

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simply seeks to expedite for the sake of expediting.

II.   Liquidia’s self-inflicted sense of urgency does not justify
      expediting UT’s briefing schedule.

      Even if Liquidia could persuade the Court that there is some need

for expedited briefing, the Court should not entertain Liquidia’s request

because the claimed need resulted from Liquidia’s own conduct.           As

discussed, Liquidia chose to pursue an IPR knowing full well that the

PTAB’s final written decision would not bind the district court unless and

until affirmed on appeal. See supra, p. 3. Liquidia chose not to move to

stay the district court proceedings when IPR was instituted on the ’793

Patent. And it chose to abandon its obviousness arguments as to the ’793

Patent in the district court, even though it knew that if the court found

the ’793 Patent infringed and not invalid, UT would be entitled to an

order barring final FDA approval of Liquidia’s product under 35 U.S.C.

§271(e)(4)(A). See supra, pp. 3-5.

      This Court should not order expedited proceedings—a form of relief

that is “not routinely granted,” Fed. Cir. R. 27, Practice Note—solely to

save Liquidia from the statutory consequences of its own strategic

decisions to secure a more favorable burden of persuasion on its

obviousness challenges to the ’793 Patent. Liquidia is free to file its own


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briefs early.   But the fact that Liquidia is now unhappy with the

consequences of its litigation strategy is no reason to burden UT by

artificially compressing UT’s briefing deadlines for three (soon-to-be-

four) appeals,3 two of which address a completely different patent.

III. Liquidia’s proposed schedule is prejudicial to UT.

     At the very least, the Court certainly should not adopt the lopsided

briefing deadlines that Liquidia has proposed. Liquidia has had the

district court’s decision in hand since August 31. Yet it proposes to have

its own opening brief due 45 days later, on October 14, while giving UT

only 20 days for its principal and response brief. And it would give UT

only 12 days for its cross-appeal reply, of which the first four are

Thanksgiving and the holiday weekend.

     Liquidia also insists that this appeal must remain on the same

schedule as the ’901 IPR appeals—seeking to obscure the fact that it has

absolutely no basis for expediting the ’901 IPR appeals, which concern a

patent that is not currently affecting Liquidia’s ability to market its

product. Even if the Court were to deem expedition appropriate in this



3 UT noticed its cross-appeal from the district court’s judgment after
Liquidia filed its motion; that cross-appeal will presumably be
consolidated with this appeal.

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appeal, it certainly should not expedite the ’901 IPR appeals just because

the Court linked them as companion cases. The Court could simply

decouple the appeals and keep the ’901 IPR appeals on a normal

schedule. It certainly should not force UT to file its opening brief in those

appeals barely two weeks from now, and only about three weeks after

Liquidia broached the subject of expedition.

                             CONCLUSION

     The Court should deny Liquidia’s motion.




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October 4, 2022                       Respectfully submitted.

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FORM 9. Certificate of Interest                                                  Form 9 (p. 1)
                                                                                    July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 22-2217
   Short Case Caption United Therapeutics Corporation v. Liquidia Technologies, Inc.
   Filing Party/Entity United Therapeutics Corporation



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        10/04/2022                                       /s/ Jaime A. Santos
  Date: _________________                   Signature:

                                            Name:        Jaime A. Santos




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FORM 9. Certificate of Interest                                                      Form 9 (p. 2)
                                                                                        July 2020


     1. Represented                   2. Real Party in           3. Parent Corporations
         Entities.                        Interest.                 and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).       Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of      Provide the full names of
 all entities represented         all real parties in interest   all parent corporations
 by undersigned counsel in        for the entities. Do not       for the entities and all
 this case.                       list the real parties if       publicly held companies
                                  they are the same as the       that own 10% or more
                                  entities.                      stock in the entities.

                                  ✔ None/Not Applicable
                                  ☐                              ☐ None/Not Applicable

United Therapeutics Corp.                                             BlackRock Inc.




                                     Additional pages attached


                                              17
                 Case:
                 Case:23-1805
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FORM 9. Certificate of Interest                                                                                             Form 9 (p. 3)
                                                                                                                               July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
            None/Not Applicable                                                Additional pages attached
            JACK B. BLUMENFELD                                 JIAXIAO ZHANG                        SARAH ELIZABETH SIMONETTI
      Morris, Nichols, Arsht & Tunnell LLP              McDermott, Will & Emery LLP                Morris, Nichols, Arsht & Tunnell LLP


            TIMOTHY M. DUNKER                                  JOSHUA MACK
         McDermott, Will & Emery LLP                   Wilson, Sonsini, Goodrich & Rosati


             KATHERINE PAPPAS                                MICHAEL J. FLYNN
         McDermott, Will & Emery LLP                 Morris, Nichols, Arsht & Tunnell LLP




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
            None/Not Applicable                                                Additional pages attached
CAFC Nos. 22-2133, -2174, United Therapeutics   PTAB No. IPR2021-00406, Liquidia Technologies,
   Corporation v. Liquidia Technologies, Inc.       Inc. v. United Therapeutics Corporation




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔         None/Not Applicable                                                Additional pages attached




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                 CERTIFICATE OF COMPLIANCE

     This response complies with the type-volume limitation of Federal

Rule of Appellate Procedure 27(d)(2)(A) because, excluding the parts of

the document exempted by Federal Rule of Appellate Procedure 32(f) and

Federal Circuit Rule 27(d), it contains 2,710 words.

     This response complies with the typeface requirements of Federal

Rule of Appellate Procedure 32(a)(5) and the type-style requirements of

Federal Rule of Appellate Procedure 32(a)(6) because it has been

prepared using Microsoft Word for Office 365 in 14-point Century

Schoolbook, a proportionally spaced typeface.



                    CERTIFICATE OF SERVICE

     I hereby certify that on October 4, 2022, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of

Appeals for the Federal Circuit using the Court’s CM/ECF system.

Counsel for all parties to the case are registered CM/ECF users and will

be served by the CM/ECF system.



                                        /s/ Jaime A. Santos
                                       Jaime A. Santos


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            EXHIBIT 29
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                       Deposition of:
           Transcription 03/14/2019
                    October 26, 2021


                     In the Matter of:

BTG International Limited Vs. Amneal
       Pharmaceuticals LLC




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          800-734-5292 | calendar-dmv@veritext.com |
     Case: 23-1805     Document: 13   Page: 241          Filed: 06/02/2023



                                                                             Page 1

1      1               IN THE UNITED STATES COURT OF APPEALS
                              FOR THE FEDERAL CIRCUIT
2      2
           BTG INTERNATIONAL LIMITED,     )
3      3    JANSSEN BIOTECH, INC.,        )
            JANSSEN ONCOLOGY, INC.,       )
4      4    JANSSEN RESEARCH &            )
            DEVELOPMENT, LLC,             )
5      5                                  )
                  Plaintiffs-Appellants, )
6      6                                  )
           v.                             )
7      7                                  )
           AMNEAL PHARMACEUTICALS LLC, ) March 14, 2019
8      8    AMNEAL PHARMACEUTICALS OF )
            NEW YORK, LLC, DR. REDDY’S )
9      9    LABORATORIES, INC., DR.     )
            REDDY’S LABORATORIES, LTD.,
10                                          )
      10    WOCKHARDT BIO AG, WOCKHARDT
11                                          )
            USA LLC, WOCKHARDT LTD.,    )
12    11
            MYLAN PHARMACEUTICALS INC.,
13                                                   )
            MYLAN INC., WEST-WARD            )
14    12
            PHARMACEUTICALS CORP., NKA )
15          HIKMA PHARMACEUTICALS USA )
      13
16          INC., HIKMA PHARMACEUTICALS
                                                     )
17    14    LLC, TEVA PHARMACEUTICALS        )
            USA, INC,                            )
18    15                                 )
                     Defendants-Appellees,
                                         )
19    16                                 )
           PAR PHARMACEUTICAL, INC., PAR )
20    17    PHARMACEUTICAL COMPANIES,    )
            INC., RISING PHARMACEUTICALS, )
21    18    INC.,                        )
                                         )
22    19          Defendants.            )
                                NO. 2019-1147
23    20
                       ON APPEAL FROM THE ORDER OF THE
24    21             UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF NEW JERSEY
25    22    CASE NOS.: 2:15-cv-05909-KM-JBC; 2:17-cv-06435-KM-JBC
      23
26    24
      25

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                                                                         Page 2

1    BTG INTERNATIONAL LIMITED,    )
      JANSSEN BIOTECH, INC.,       )
2     JANSSEN ONCOLOGY, INC., AND  )
      JANSSEN RESEARCH &           )
3     DEVELOPMENT, LLC,            )
                                   )
4           Plaintiffs-Appellants, )
                                   )
5    v.                            )
                                   )
6    AMERIGEN PHARMACEUTICALS,     )
      INC., AMERIGEN               )
7     PHARMACEUTICALS LIMITED,     )
                                   )
8           Defendants-Appellees.  )
                          NO. 2019-1148
 9
10                 ON APPEAL FROM THE ORDER OF THE
                 UNITED STATES DISTRICT COURT FOR THE
11                      DISTRICT OF NEW JERSEY
                    CASE NO. 2:16-CV-02449-KM-JBC
12
     JANSSEN ONCOLOGY, INC.,        )
13                                  )
             Appellant,             )
14                                  )
     v.                             )
15                                  )
     AMERIGEN PHARMACEUTICALS       )
16    LIMITED, ARGENTUM             )
      PHARMACEUTICALS LLC,          )
17                                  )
            Appellees.              )
18                         NO. 2019-1323
19
                  ON APPEAL FROM THE ORDER OF THE
20           UNITED STATES PATENT AND TRADEMARK OFFICE
                   PATENT TRIAL AND APPEAL BOARD
21              NOS. IPR2016-00286 AND IPR2016-01317
22
23
24
25

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                                                                         Page 3

1    JANSSEN ONCOLOGY, INC.,       )
                                   )
2           Appellant,             )
                                   )
3    v.                            )
                                   )
4    MYLAN PHARMACEUTICALS INC.,   )
      AMNEAL PHARMACEUTICALS LLC, )
5     AMNEAL PHARMACEUTICALS OF    )
      NEW YORK, LLC, DR. REDDY’S   )
6     LABORATORIES, INC., DR.      )
      REDDY’S LABORATORIES, LTD., )
7     TEVA PHARMACEUTICALS USA,    )
      INC., WEST-WARD              )
8     PHARMACEUTICAL CORPORATION, )
      HIKMA PHARMACEUTICALS LLC,   )
9                                  )
            Appellees.             )
10                        NO. 2019-1324
11
                 ON APPEAL FROM THE ORDER OF THE
12           UNITED STATES PATENT AND TRADEMARK OFFICE
                  PATENT TRIAL AND APPEAL BOARD
13             NOS. IPR2016-01332 AND IPR2017-00853
     JANSSEN ONCOLOGY, INC.,       )
14                                 )
            Appellant,             )
15                                 )
     v.                            )
16                                 )
     WOCKHARDT BIO AG,             )
17                                 )
            Appellee.              )
18                        NO. 2019-1325
19               ON APPEAL FROM THE ORDER OF THE
            UNITED STATES PATENT AND TRADEMARK OFFICE
20                PATENT TRIAL AND APPEAL BOARD
                        NO. IPR2016-01582
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                                                                     Page 4

1
2
3
4                           BEFORE APPELLATE PANEL:
5                HON. KIMBERLY A. MOORE, Circuit Judge
                  HON. EVAN J. WALLACH, Circuit Judge
6                 HON. RAYMOND T. CHEN, Circuit Judge
7
8
9
10   APPEARANCES
     (see next page)
11
12
13
14
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16
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18
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21
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                                                                     Page 32

1    I'd suggest.       But, Judge Chen, to your question -- and
2    I will say that I don't think that there's expert
3    testimony in the record on this.                 But I will tell you
4    what I think "directly" and "indirectly" mean here.
5    "Directly", I think, means what's called a cytotoxic
6    effect.     It actually -- it's a poison for those cells
7    which is much like chemotherapy.                 That's the way
8    chemotherapy works.
9                        "Indirect", I think means in this
10   invention cutting off the supply of hormones that
11   those cells need to survive.               I think that would be an
12   indirect effect on the cancer cells or tissue.                        The
13   direct effect would be you directly poison them with a
14   -- for example, a chemo type agent.                  I think that's
15   the -- that's what that means in that context.
16                       HON. MOORE:         Okay.     Thank you, Mr.
17   Trela.    Let's hear from the collection of people on
18   the other side.
19                       Mr. Krause, are you going first?
20                       MR. KRAUSE:         May it please the Court.
21   The USPTO is here at the Court's invitation to address
22   the questions related to the --
23                       HON. CHEN:        I have a logistical
24   question first.        The Board issued all three IPRs in
25   the final written decision in January of 2018.                        The

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                                                                    Page 33

1    patent (indiscernible) file (indiscernible) hearing
2    requests in February of 2018.              For some strange reason
3    that I don't understand, and there's no earthly
4    justification I can think of of good reason the Board
5    lollygagged and took 10 full months before it issued
6    its -- the hearing decisions in December of 2018.                    Why
7    in the world did it take so long for the Board to
8    issue its re-hearing decision?
9                       HON. MOORE:         In fact, it only seemed to
10   happen after our order which they have, my guess,
11   prompted those decisions.
12                      MR. KRAUSE:         I honestly don't know the
13   answer to either of those questions.                  The Board
14   aspires to answer re-hearing requests --
15                      HON. CHEN:        I mean, don't you think
16   it's a little embarrassing?             I mean, the Board
17   certainly was well aware that there was a concurrent
18   litigation going on.          You know, it understands it
19   needs to be working with special dispatch.                    I mean, it
20   took about as long as it takes for a regular
21   (indiscernible) review itself to be completed for it
22   to handle a re-hearing request.               It doesn't make any
23   sense.
24                      MR. KRAUSE:         Well, I haven't looked at
25   the underlying merits of this case.                 I understand it

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1    is a complicated case.          There might have been
2    different views within the Board panel itself.                      There
3    is no absolute deadline.           I'm sure the Board did its
4    best to get the decision issued in a timely manner.                         I
5    can convey your concerns to Board management but I
6    don't have much standing here to say -- standing here
7    before you today to say to explain what happened.
8                      HON. MOORE:         So unlike IPRs where there
9    are certain timelines that the PTO is required to
10   comply with for completion, are you telling me there
11   is absolutely no timeline placed on the hearing
12   decisions?
13                     MR. KRAUSE:         There's no statutory
14   timeline.     There's an aspiration --
15                     HON. MOORE:         Or regulatory?
16                     MR. KRAUSE:         I believe the trial
17   practice --
18                     HON. MOORE:         No.    Is there a regulatory
19   timeline placement?
20                     MR. KRAUSE:         I don't believe there's a
21   regulatory timeline.         There's a --
22                     HON. MOORE:         Wouldn't that seem to
23   significantly undermine Congress' goal to have an
24   expeditious and fully resolved IPR proceeding within
25   the PTO to avoid unnecessary duplicative district

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                                                                   Page 35

1    court litigation?
2                      MR. KRAUSE:         I think it potentially
3    can.
4                      HON. MOORE:         And like in this case.
5                      MR. KRAUSE:         In --
6                      HON. MOORE:         Don't you think it did in
7    this case?
8                      MR. KRAUSE:         This case is extremely
9    unusual for --
10                     HON. MOORE:         No.     Do you think it did
11   in this case?
12                     MR. KRAUSE:         In this case, it would
13   have been better if they had issued it sooner and we
14   could have gotten the invalidity arguments before this
15   Court --
16                     HON. MOORE:         And it would have
17   avoided --
18                     MR. KRAUSE:         -- sooner.
19                     HON. MOORE:         -- a lot of unnecessary
20   litigation and briefing, right?
21                     MR. KRAUSE:         I believe that's correct.
22                     HON. MOORE:         And how long did it take
23   for the Board to resolve the entire underlying IPR in
24   this case?
25                     MR. KRAUSE:         There were issues in this

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                                                                     Page 36

1    case involving joinder of multiple parties as the
2    right complex case arising out of a Hatch-Waxman
3    dispute.     In the joinder situation, the deadlines also
4    are off.     So again, it took longer than usual.                     That's
5    why this is a very unusual case for resolving or even
6    for evaluating the estoppel issue.
7                        HON. CHEN:        What made the re-hearing
8    request so unusual?
9                        MR. KRAUSE:         I --
10                       HON. MOORE:         The opinion certainly
11   doesn't give any indication that anybody was
12   struggling with anything.
13                       MR. KRAUSE:         I only know from the fact
14   that it took a long time that something must have been
15   going on.
16                       HON. MOORE:         Do you know how long it
17   normally takes for panels?              Are you aware within the
18   Agency how long it normally takes for panels to deal
19   with re-hearing requests?
20                       MR. KRAUSE:         I believe normally it
21   takes in the time frame of the aspirational two
22   months.     Re-hearing requests often are just a check on
23   the Board to make sure that they didn't overlook
24   something or misapprehend the law.                  And they can
25   normally get them done in a timely manner.                     I don't

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1    know what happened in this case.
2                       HON. CHEN:       Is it your sense that 10
3    months is an outlier for the Board?
4                       MR. KRAUSE:        That would be my --
5                       HON. CHEN:       Or -- I'm trying to
6    understand how meaningful is this so-called
7    aspirational goal of yours to respond to a re-hearing
8    request in one month or two months.
9                       MR. KRAUSE:        I'm not aware of
10   statistics on the time to re-hearing so I'd rather not
11   speculate on that.        But my basic belief from seeing
12   re-hearing requests is that they're done reasonably
13   promptly.
14                      HON. MOORE:        I mean, I just -- I don't
15   -- I share Judge Chen's concern which when a panel is
16   aware of a concurrent district court ongoing
17   litigation, why they wouldn't promptly turn to that
18   particular re-hearing request.              Not all IPRs and
19   re-hearings have concurrent district court
20   litigations.      But here there was one that the panel
21   board were clearly aware of.             I'm baffled.
22                      MR. KRAUSE:        Your Honor, it seems like
23   a fair point and I will take it back to Board
24   management.
25                      HON. CHEN:       Board management, yes.

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